    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 1 of 149




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

DAVID LONGORIA, INDIVIDUALLY                §
AND ON BEHALF OF THE ESTATE OF              §
DAVID JOHNSON, DECEASED,                    §
                                            §
        Plaintiffs                          §
                                           §
V.                                          §         CIVIL ACTION****
                                           §
NUECES COUNTY, TEXAS,                       §
JAVIER ZAPATA, JR., in his individual       §
capacity;                                   §
WILLIAM FIELDER,                            §
in his individual capacity;                 §
RICHARD CULP, in his individual capacity; §
JOHN CHRIS HOOPER, NUECES                   §
COUNTY SHERIFF, in his individual capacity; §
WELLPATH LLC, formerly known as             §
CORRECT CARE SOLUTIONS, LLC;                §
TERA PEELER, in her individual capacity;    §
EDRA BOCANEGRA, in her individual           §
capacity; RANDEE ROBERSON,                  §
in her individual capacity; and             §
STACEY DAWN FLINT,                          §
in her individual capacity,                 §
                                            §
        Defendants.                         §         JURY TRIAL REQUESTED

                      PLAINTIFF’S ORIGINAL COMPLAINT

      Comes now Plaintiff, David Longoria, Individually and on behalf of the Estate of

David Johnson, Deceased, by and through counsel, and in support of his claims against the

above-named Defendants, Nueces County, Texas; Javier Zapata, Jr., in his individual

capacity; William Fielder, in his individual capacity; Richard Culp, in his individual

                                            1
      Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 2 of 149




capacity; John Chris Hooper, Nueces County Sheriff, in his individual capacity; Wellpath

LLC, formerly known as Correct Care Solutions, LLC; Tera Peeler, in her individual

capacity; Edra Bocanegra, in her individual capacity; Randee Roberson, in her individual

capacity; and Stacey Dawn Flint, in her individual capacity respectfully states:

                                    I. NATURE OF THE ACTION

        1. This case presents serious, disturbing, malicious, sadistic, and intentional

violations of Mr. Johnson’s federal constitutional rights by Defendants including engaging

in a cover-up. Mr. Johnson was an individual with mental health disabilities. While a pre-

trial detainee at the Nueces County Jail, Mr. Johnson was subjected to impermissible

punishment by correctional officers Defendants Zapata,1 Fielder and Culp, namely assault

causing serious bodily injury; without his consent, being photographed in the bathroom

and/or changing room of the Nueces County Jail; and having his privacy invaded without

his consent by having his genitals and/or pubic area and/or anus and/or buttocks

photographed; and having inadequate medical care. Defendants Zapata, Fielder and Culp

made false statements concerning the facts surrounding the investigation of the custodial

death of Mr. Johnson. These constitutional violations resulted in Mr. Johnson’s death. Mr.

Johnson did nothing to invite or cause his injuries and death.

        2. Despite having a well-known and developed medical record and history of mental

illness, Mr. Johnson was housed in general population of the jail. Both Nueces County,


1
  Defendant Javier Zapata, Jr. had engaged in at least two prior incidents involving injury of pre-trial detainees in
violation of the Fourteenth Amendment and his chain of command and Nueces County, Texas were aware of these
incidents.
                                                         2
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 3 of 149




Texas and Wellpath, LLC were responsible for providing adequate medical care to Mr.

Johnson. On the day of the assault by Defendants Zapata, Fielder and Culp, approximately

4 hours before his death, Mr. Johnson frantically and repeatedly yelled, “Help me.” Instead

of providing adequate medical care, Defendants Tera Peeler and Stacey Dawn Flint, who

were Wellpath, LLC employees, made arrangements for a medical appointment the

following day. Approximately 2 hours later, it was clear that Mr. Johnson was experiencing

a medical emergency when blood was found on Mr. Johnson’s head with an injury and as

he tried to stand up, he fell to his knees. Instead of providing adequate medical care for Mr.

Johnson, Defendant Randee Roberson, RN, who was an employee of Wellpath LLC,

allowed Mr. Johnson to be sent back to his cell. Less than 2 hours later, Mr. Johnson was

found lying in a prone position on his bunk, pulseless, not breathing, with yellowish

secretions covering his face, eyes and forehead and bright red blood and vomit was found

on his bunk and on the floor.

       3. Former Nueces County Sheriff Jim Kaelin and Defendant Sheriff Hooper,

following established policy, practices and customs, allowed all three correctional officers,

Defendants Zapata, Fielder and Culp to continue to work for Nueces County, Texas as

jailers after the incident despite clear evidence that each violated Mr. Johnson’s civil rights.

Former Nueces County Sheriff Jim Kaelin and Defendant Sheriff Hooper’s actions in

allowing Defendants Zapata, Fielder and Culp to continue working, ratified their civil

rights violations against Mr. Johnson showing that their actions were in conformity with

Nueces County policy.
                                               3
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 4 of 149




       4. Plaintiff brings the following claims in this lawsuit which, to the extent that the

claims are factually or legally inconsistent, are pleaded alternatively pursuant to Federal

Rule of Civil Procedure 8:

       Claims against Nueces County, a municipality, by implementing policies,
       customs and practices which are the moving force behind violations of §1983
       - Fourteenth Amendment (Excessive Force - Pretrial Detainee); 42 U.S.C.
       §1983 - Fourteenth Amendment (Bodily Integrity); 42 U.S.C. §1983 -
       Fourteenth Amendment (Inadequate Medical Care or Conditions of
       Confinement -Pretrial Detainee); and 42 U.S.C. §1983 - Fourteenth
       Amendment (Medical Care - Pretrial Detainee/Episodic Acts) and violation
       of the Americans with Disabilities Act.

       Claims against Javier Zapata, Jr., in his individual capacity, who was a
       correctional officer employed by Nueces County, Texas acting under color of
       state law, for violation of §1983 - Fourteenth Amendment (Excessive Force -
       Pretrial Detainee); 42 U.S.C. §1983 - Fourteenth Amendment (Bodily
       Integrity); 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate Medical
       Care or Conditions of Confinement - Pretrial Detainee); 42 U.S.C. §1983 -
       Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic Acts);
       and violation of 42 U.S.C. §1983 - Liability in Connection with the Actions
       of Another Failure to Intervene/Bystander Liability.

       Claims against William Fielder, in his individual capacity, who was a
       correctional officer employed by Nueces County, Texas acting under color of
       state law, for violation of for violation of §1983 - Fourteenth Amendment
       (Excessive Force - Pretrial Detainee); 42 U.S.C. §1983 - Fourteenth
       Amendment (Bodily Integrity) ; 42 U.S.C. §1983 - Fourteenth Amendment
       (Inadequate Medical Care or Conditions of Confinement - Pretrial Detainee);
       and 42 U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial
       Detainee/Episodic Acts); and violation of 42 U.S.C. §1983 - Liability in
       Connection with the Actions of Another Failure to Intervene/Bystander
       Liability.

       Claims against Richard Culp, in his individual capacity, who was a
       correctional officer employed by Nueces County, Texas acting under color of
       state law, for violation of for violation of §1983 - Fourteenth Amendment
       (Excessive Force - Pretrial Detainee); 42 U.S.C. §1983 - Fourteenth
       Amendment (Bodily Integrity); 42 U.S.C. §1983 - Fourteenth Amendment
                                             4
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 5 of 149




 (Inadequate Medical Care or Conditions of Confinement - Pretrial Detainee);
 and 42 U.S.C. §1983 - Fourteenth Amendment (Medical Care — Pretrial
 Detainee/Episodic Acts); and violation of 42 U.S.C. §1983 - Liability in
 Connection with the Actions of Another Failure to Intervene/Bystander
 Liability.

 Claims against John Chris Hooper, Nueces County Sheriff, in his
 individual capacity, who was acting under color of state law, by failing to
 train and/or supervise the subordinates and by implementing
 unconstitutional policies, practices and customs that caused the
 constitutional violations under §1983 - Fourteenth Amendment (Excessive
 Force - Pretrial Detainee); 42 U.S.C. §1983 - Fourteenth Amendment (Bodily
 Integrity); 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate Medical
 Care or Conditions of Confinement - Pretrial Detainee); 42 U.S.C. §1983 -
 Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic Acts)
 and violation of 42 U.S.C. §1983 - Liability in Connection with the Actions
 of Another Failure to Intervene/Bystander Liability.

 Claims against Wellpath, LLC, who was acting under color of state law, in
 implementing policies, customs and practices which are the moving force
 behind violations of 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate
 Medical Care or Conditions of Confinement -Pretrial Detainee); and 42
 U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial
 Detainee/Episodic Acts) and violation of the Americans with Disabilities Act.

 Claims against Tera Peeler, in her individual capacity, who was a Mental
 Health Professional employed by Wellpath, LLC, acting under color of state
 law, for violation of 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate
 Medical Care or Conditions of Confinement -Pretrial Detainee); and 42
 U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial
 Detainee/Episodic Acts).

 Edra Bocanegra, in her individual capacity, who was a Mental Health
 Professional employed by Wellpath, LLC, acting under color of state law, for
 violation of 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate Medical
 Care or Conditions of Confinement -Pretrial Detainee); and 42 U.S.C.
 §1983 - Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic
 Acts).

 Randee Roberson, in her individual capacity, who was a RN employed by
 Wellpath, LLC, acting under color of state law, for violation of 42 U.S.C.
                                      5
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 6 of 149




       §1983 - Fourteenth Amendment (Inadequate Medical Care or Conditions of
       Confinement -Pretrial Detainee); and 42 U.S.C. §1983 - Fourteenth
       Amendment (Medical Care - Pretrial Detainee/Episodic Acts).

       Stacey Dawn Flint, in her individual capacity, who was a LPN employed
       by Wellpath, LLC, acting under color of state law, for violation of 42 U.S.C.
       §1983 - Fourteenth Amendment (Inadequate Medical Care or Conditions of
       Confinement -Pretrial Detainee); and 42 U.S.C. §1983 - Fourteenth
       Amendment (Medical Care - Pretrial Detainee/Episodic Acts).

                                      II. PARTIES

       5. Plaintiff, David Longoria, Individually and on behalf of the estate of David

Johnson, deceased, is currently a citizen of Texas and resident of Dallas County, Texas.

Mr. Longoria is the sole heir and son of David Johnson. Individuals who are within the

class of people entitled to recover under Texas's wrongful death statute have standing

to sue under Section(s) 1983 for their own injuries resulting from the deprivation of

decedent's constitutional rights. Tex. Civ. Prac. Rem. Code Ann. Section 71.004; Rhyne

v. Henderson County, 973 F.2d 386, 391 (5th Cir. 1992). The statute clearly recognizes

the right of the surviving children and parents of the deceased to bring an action for the

benefit of all. Therefore, Mr. Longoria as the surviving son of David Johnson is within

the class of people entitled to recover. As to David Johnson’s estate: a) at the time of Mr.

Johnson’s death, he was not married; b) Mr. Johnson’s estate had no debts and/or fewer

than two debts; c) Mr. Johnson died intestate; d) no administration of Mr. Johnson’s estate

is pending; e) no administration of Mr. Johnson’s estate was necessary; f) no administration

was desired by any interested party in Mr. Johnson’s estate; g) Mr. Johnson died without

owning any real property; and h) David Longoria is the sole heir of David Johnson and the
                                             6
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 7 of 149




only individual who may receive under Texas law from Mr. Johnson’s estate. Therefore,

David Longoria has the legal right and capacity to bring this lawsuit both on his own behalf

and on behalf of the estate of David Johnson, deceased.

         6. Nueces County, Texas is a county located in the State of Texas, and pursuant to

Tex. Civ. Prac. & Rem. Code Ann. §17.024 (a) it may be served with process by serving

its County Judge, Barbara Canales, at 901 Leopard Street, Corpus Christi, Nueces County,

Texas.

         7. Defendant, Javier Zapata, Jr., is sued in his individual capacity. Mr. Zapata is a

citizen of Texas and resident of Nueces County, Texas and he may be served with process

at: 314 Mainer Road, Robstown, Texas 78380-2103.

         8. Defendant, William Fielder, is sued in his individual capacity. Mr. Fielder is a

citizen of Texas and resident of Nueces County, Texas and he may be served with process

at: 1027 Northcliff Drive, Portland, San Patricio County, Texas 78374

         9. Defendant, Richard Culp, is sued in his individual capacity. Mr. Culp is a citizen

of Texas and resident of Nueces County, Texas and he may be served with process at: 1106

Dorothy, Corpus Christi, Texas 78412-3454.

         10. Defendant, John Chris Hooper, Nueces County Sheriff, is sued in his individual

capacity. Sheriff Hooper is a citizen of Texas and resident of Nueces County, Texas and

he may be served with process at: 901 Leopard St, Corpus Christi, TX 78401.

         11. Defendant Wellpath LLC, formerly known as Correct Care Solutions, LLC,

(“Wellpath”) is a foreign limited liability company registered to do business and doing
                                               7
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 8 of 149




business in Texas and it may be served with summons upon its registered agent: Corporate

Creations Network, Inc., 2425 W. Loop South #200, Houston, Texas 77027.

       12. Defendant, Tera Peeler, in her individual capacity. Ms. Peeler is a citizen of

Texas and resident of Nueces County, Texas and he may be served with process at: 522

Parade Drive, Corpus Christi, Texas 78412-3150.

       13. Defendant, Edra Bocanegra, in her individual capacity. Ms. Bocanegra is a

citizen of Texas and resident of Nueces County, Texas and he may be served with process

at: 3014 Saint Eustatius Way, Corpus Christi, TX 78418-4469.

       14. Defendant, Randee Roberson, in her individual capacity. Ms. Roberson is a

citizen of Texas and resident of Nueces County, Texas and he may be served with process

at: 3206 Cedar Hollow Ct, Corpus Christi, TX 78414-3799.

       15. Defendant, Stacey Dawn Flint, in her individual capacity. Ms. Flint is a citizen

of Texas and resident of Nueces County, Texas and he may be served with process at: 6213

Cornell Drive, Corpus Christi, Texas 78414-3643.

                          III. JURISDICTION AND VENUE

       16. This Court has jurisdiction over this action by reason of 28 U.S.C. §1331 and

§1343, because this action arises under 42 U.S.C. §1983 and the Fourteenth Amendment

to the United States Constitution and the Americans with Disabilities Act as Plaintiff seeks

to redress civil rights violations suffered at the hands of Defendants. Venue is proper

pursuant to 28 U.S.C. §1391 because the events made the basis of this lawsuit occurred


                                             8
      Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 9 of 149




within the geographical boundaries of the United States District Court for the Southern

District of Texas, Corpus Christi, Division.

                            IV. FACTS RELATED TO THE INCIDENT
                                 INVOLVING DAVID JOHNSON

                           A. Mr. Johnson’s background and disabilities

         17. Mr. Johnson was a Black male with disabilities as defined by the Americans

with Disabilities Act. 2 Mr. Johnson’s disabilities included schizoaffective disorder,

depressive type, which was his primary diagnosis and he was in treatment for his

disabilities with the Behavioral Health Center of Nueces County. Schizoaffective disorder

is a mental health condition that includes features of both schizophrenia and a mood

disorder such as depression. Mr. Johnson experienced disordered thinking and

concentration, inappropriate emotional responses, hallucinations and hearing voices,

erratic speech and behavior, and difficulty with everyday tasks. 3 Mr. Johnson’s

schizoaffective disorder, depressive type, limited his major life activities of caring for

himself, thinking, communicating and working.                          Mr. Johnson was determined to be

disabled by the Social Security Administration due to his mental health condition.

         18. Unfortunately, Mr. Johnson has a history of arrests and incarcerations for minor

offenses because of conduct caused by his disabilities. These arrests resulted in


2
  Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12131-12134.
3
   According to the National Center for Biotechnology Information, U.S. National Library of Medicine,
Schizoaffective disorder, depressive type.…signs and symptoms of psychosis in people with schizoaffective disorder
include false perceptions called hallucinations, such as hearing voices no one else can hear or experiencing visions,
smells, or tactile (touch) sensations. Strongly held false beliefs (delusions) are also a characteristic feature. … People
with this condition often have difficulty functioning at work and in social settings.

                                                            9
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 10 of 149




confinement in the Nueces County Jail. During Mr. Johnson’s previous incarcerations,

Nueces County officials learned that Mr. Johnson suffered from serious mental health

conditions including schizoaffective disorder. Mr. Johnson had prior suicide watch

placement in jail documented in his medical records maintained by Wellpath. Therefore,

the Nueces County officials and Wellpath officials were aware of Mr. Johnson’s mental

health, related history and that he was an individual with a disability.

                    B. Mr. Johnson’s arrest and incarceration at the
                       Nueces County Jail on November 29, 2018

       19. On November 29, 2018, while suffering from the effects of his mental health

condition, Mr. Johnson was arrested for aggravated assault on a peace officer which is a

felony. Mr. Johnson was booked by the City of Corpus Christi Detention Center at 14:15:25

on November 29, 2018 and Mr. Johnson was transferred to the Nueces County Jail at

21:00:08.

            C. Nueces County, Texas contracted with Correct Care Solutions,
                 later known as Wellpath LLC, for health services for
                          inmates at the Nueces County Jail

       20. On December 1, 2015, the Nueces County Commissioners Court and Nueces

County Judge entered into a Health Services Agreement with Correct Care Solutions (CCS)

for Medical Services for Inmates at Jail Facilities and Residents at the Juvenile Center.

(Nueces County, RFP No. 2993-15). In or about the end of 2018 or early 2019, CCS

changed its name to Wellpath LLC and it operated under both the CCS and Wellpath name




                                             10
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 11 of 149




at the time of Mr. Johnson’s incarceration in the Nueces County Jail made the basis of this

lawsuit.

                 D. Nueces County did not follow the Sandra Bland Act

       21. The Sandra Bland Act, Texas SB1849, was filed after the 2015 incident where

Sandra Bland was found hanged in her cell in the Waller County Jail after being arrested

during a routine traffic stop. The Act shortens the time periods for completing a mental

health assessment and providing notices to the magistrate; requires law enforcement to

divert persons suffering a mental health crisis or from the effects of substance abuse to

treatment; it requires independent law enforcement agencies to investigate jail deaths; and

it requires training. On July 24, 2017, the Texas Commission on Jail Standards (TCJS) sent

communications to all sheriffs, including the Nueces County Sheriff, and jail

administrators in Texas regarding the implementation of the Sandra Bland Act and the

requirements for county jail compliance.

       22. The Sandra Bland Act amended Texas Code of Criminal Procedure Art. 16.22.

Early identification of defendant suspected of having mental illness or intellectual

disability and it states in part:

       (a)(1) not later than 12 hours after the sheriff or municipal jailer having
       custody of a defendant for an offense punishable as a Class B misdemeanor
       or any higher category of offense receives credible information that may
       establish reasonable cause to believe that the defendant has a mental illness
       or is a person with an intellectual disability, the sheriff or municipal jailer
       shall provide written or electronic notice to the magistrate. The notice must
       include any information related to the sheriff’s or municipal jailer’s
       determination, such as information regarding the defendant’s behavior
       immediately before, during, and after the defendant’s arrest and, if
                                             11
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 12 of 149




       applicable, the results of any previous assessment of the defendant. On a
       determination that there is reasonable cause to believe that the defendant has
       a mental illness or is a person with an intellectual disability, the magistrate,
       except as provided by Subdivision (2), shall order the service provider that
       contracts with the jail to provide mental health or intellectual and
       developmental disability services, the local mental health authority, the local
       intellectual and developmental disability authority, or another qualified
       mental health or intellectual and developmental disability expert to:

              (A) interview the defendant if the defendant has not previously been
              interviewed by a qualified mental health or intellectual and
              developmental disability expert on or after the date the defendant was
              arrested for the offense for which the defendant is in custody and
              otherwise collect information regarding whether the defendant has a
              mental illness as defined by Section 571.003, Health and Safety Code,
              or is a person with an intellectual disability as defined by Section
              591.003, Health and Safety Code , including, if applicable,
              information obtained from any previous assessment of the defendant
              and information regarding any previously recommended treatment or
              service; and

              (B) provide to the magistrate a written report of an interview
              described by Paragraph (A) and the other information collected
              under that paragraph on the form approved by the Texas Correctional
              Office on Offenders with Medical or Mental Impairments
              under Section 614.0032(c) 614.0032(b), Health and Safety Code.
              ……………..

       23. The Nueces County Jail failed to comply with the legal requirements under

Texas Code of Criminal Procedure Art. 16.22. Early identification of defendant suspected

of having mental illness or intellectual disability relevant to Mr. Johnson by failing to have

him properly evaluated and by failing to provide required notices to the magistrate which

denied him protections and rights under the Act.

       24. Instead of housing Mr. Johnson in a separate treatment facility for mentally ill

inmates, he was housed at the Nueces County Jail in a jail cell as a pretrial detainee inmate
                                             12
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 13 of 149




in the regular population. The correctional officers that staff the regular jail population,

including Defendants Zapata, Fielder and Culp, were not properly hired and trained to

recognize and manage inmates with mental health conditions by Defendant Sheriff Hooper,

and by failing to properly house and provide adequate mental health care to these inmates,

the Nueces County Jail fails to protect vulnerable inmates with mental health conditions,

such as Mr. Johnson, from violent acts of others towards them. Further, Defendant Sheriff

Hooper failed to provide training to Defendants Zapata, Fielder and Culp to recognize

when and how adequate medical care should be administered to inmates such as Mr.

Johnson.

              E. Mr. Johnson’s medical records for November 29, 2018
           show that he had no physical injuries; he had schizophrenia and
                      he was to be housed in general population

       25. Mr. Johnson was medically evaluated on November 29, 2018 at 2110 and that

report states that Mr. Johnson did not have any physical injuries, no wounds or bleeding.

The medical report also states that Mr. Johnson had not been involved in an accident or

physical alteration in the past 12 hours.

       26. The medical report also states that Mr. Johnson felt vulnerable and that he had

been diagnosed as having schizophrenia. Despite the mental health diagnosis, the medical

report also states that Mr. Johnson would be housed in general population. The following

were not checked as applicable on the medical report for Mr. Johnson: Medical

Observational Housing; Medical Isolation; Mental Health Lockdown (if Mental Health not


                                             13
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 14 of 149




on-site); Emergency Room for Evaluation/Treatment; IMMEDIATE placement on Suicide

Precautions (if Mental Health not on-site)



            F. Mr. Johnson’s mental health conditions escalated starting
          on or about December 9, 2018 and he was placed on suicide watch

       27. Mr. Johnson’s medical records support that the Nueces County Jail employees

and Wellpath employees were aware of Mr. Johnson’s mental health disabilities including

his diagnosis of schizophrenia and that he hears voices. Mr. Johnson experienced mental

health problems during his incarceration. For example, on or about December 9, 2018, Mr.

Johnson flooded his cell and then he complained about his cell being full of water. Also,

on or about December 9, 2018, Mr. Johnson began making suicidal statements and he was

placed on suicide watch. Mr. Johnson had prior suicide watches in the Nueces County Jail.

On December 10, 2018, Mr. Johnson’s actions were delusional. For example, he stated that

he received a PR bond because he returned from court and then asked for his disability

check. Mr. Johnson yelled when speaking because he was upset because he was hungry

and asked for a sandwich he spotted on the floor. Mr. Johnson’s medical records

maintained by Defendant Wellpath for December 9, 2018 state that a “consultation” is not

indicated and, although “refer to” was checked, there was nothing documented for a referral

or the type of referral. Defendant Bocanegra made this entry and signed the record. Ms.

Bocanegra is identified as a Mental Health Professional in Mr. Johnson’s medical records,




                                             14
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 15 of 149




but Ms. Bocanegra is neither a medical doctor nor a psychiatrist. The following is this

portion of Mr. Johnson’s record:




                    G. Mr. Johnson was taken off of suicide watch
                           on or about December 11, 2018

       28. On or about December 11, 2018, Mr. Johnson was taken off of suicide watch

and returned to a regular cell in general population. After Mr. Johnson returned to his

regular cell, his behavior remained depressive, he tore up his mat and displayed other

behavior related to his untreated mental health condition.

                          H. Mr. Johnson refused medication

       29. On December 13, 2018, Mr. Johnson refused medication and his records were

documented that his medical conditions may worsen as a consequence. As a result of his

mental health condition and not taking his medication, Mr. Johnson’s appearance was

marked as disheveled, his mood euphoric, his thought form was not coherent, but loose



                                            15
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 16 of 149




association4, and his thought content delusional. All of these acts put Nueces County Jail

officials and Wellpath officials, including, but not limited to Defendants, Zapata, Fielder,

Culp, Peeler, Bocanegra, Roberson, and Flint, on notice that Mr. Johnson’s serious mental

illness was not being treated and that he was not being provided with adequate medical

care.

          I. Mr. Johnson’s medical records do not support that he ever saw a
         physician or psychiatrist while incarcerated at the Nueces County Jail

        30. Mr. Johnson’s medical records from Wellpath during his incarceration made the

basis of this lawsuit show that he did not see a psychiatrist or physician.

                    J. Mr. Johnson did not take his morning medication
                                  on December 15, 2018

        31. Defendant Flint recorded in Mr. Johnson’s medical records from Wellpath that

he refused his medication, Respiridone, and that he was aggressive towards staff at 9:00

a.m. on December 15, 2018. However, the medication record entry by Japeth Fernandez,

LPN shows that Mr. Johnson was “out of unit” and that was the reason for his not taking

his medicine on that date and time.

        32. If the account by Defendant Flint is correct, there is nothing in Mr. Johnson’s

records that Defendant Flint took any action to treat Mr. Johnson for his mental health

condition or refer him to a higher level of care for his mental health condition.

            K. On December 15, 2018, Defendants Zapata, Fielder and Culp
                  assaulted Mr. Johnson causing him serious injury


4
 Loose association is also known as derailment which is spontaneous speech with marked impairments in topic
maintenance. John Hopkins Psychiatry Guide, Thought Disorder
                                                     16
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 17 of 149




         33. On December 15, 2018, while in custody at the Nueces County Jail as a pre-trial

detainee inmate, Mr. Johnson was subjected to impermissible punishment, namely assault

by Defendants Zapata, Fielder and Culp which caused him serious bodily injury; without

his consent, being photographed in the bathroom and/or changing room of the Nueces

County Jail; and having his privacy invaded without his consent by having his genitals

and/or pubic area and/or anus and/or buttocks photographed.5

               L. At approximately noon on December 15, 2018, Mr. Johnson
                   shook and pulled on his cell doors yelling, “Help me”

         34. At approximately noon on December 15, 2018, Mr. Johnson shook and pulled

on his cell doors yelling, “Help me.” Clearly, Mr. Johnson needed urgent medical care and

attention. Instead of providing immediate and appropriate medical care and attention to Mr.

Johnson, the LPN assigned to Mr. Johnson, Defendant Flint, contacted Defendant Peeler,

and Defendant Peeler advised Defendant Flint that she would see Mr. Johnson the next

day. Defendant Peeler is identified as a Mental Health Professional in the Wellpath records,

but she is neither a physician nor a psychiatrist. Defendant Nueces County, Texas,

Wellpath, Peeler and Flint’s failure to provide acute and emergency medical care to Mr.

Johnson lead to his death.

            M. At approximately 2:30 pm. on December 15, 2018, Mr. Johnson
               was taken to the nursing unit for “blood in hair” and he was
                              so weak that he fell to his knees



5
  State of Texas v. Javier Zapata, Jr., Case No. 19FC-4813E, In the 148th Nueces County District Court; State of Texas
v. Fielder, Case No. 19FC-4815E, In the 148th Nueces County District Court; State of Texas v. Culp, Case No. 19FC-
4816E, In the 148th Nueces County District Court.
                                                         17
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 18 of 149




        35. Mr. Johnson’s health condition continued to decline, and it was clear that he was

experiencing a medical emergency and needed urgent medical attention. On or before 2:44

p.m. on December 15, 2018, Mr. Johnson was escorted to the intake nursing unit for

assessment for report of blood on the back of his head. Defendant Roberson, a registered

nurse, watched another registered nurse employed by Wellpath place Mr. Johnson in a

chair in the middle of intake with correctional officers’ present. Mr. Johnson did not speak

and would not make eye contact. He was handcuffed behind his back.

        36. The nurse found a wound with bloody ooze on the back of Mr. Johnson’s head.

Other than taking his vital signs, looking at his pupils and asking Mr. Johnson to wiggle

his fingers, no other assessment or treatment were performed. This was inadequate medical

care.

        37. After the assessment was completed, Mr. Johnson being too weak to stand, he

fell to his knees after getting out of the chair. Instead of providing Mr. Johnson with

adequate medical care to address his acute and emergency needs, he was brought to his feet

by the correctional officers. Mr. Johnson’s handcuffs were still in place. The officers took

Mr. Johnson back to his cell. None of these medical events were documented at the time

of the occurrence. These events were documented in Mr. Johnson’s Wellpath medical

records on December 16, 2018 at 9:24 a.m. by Defendant Roberson which was the morning

after Mr. Johnson’s death. Nueces County and Wellpath LLC maintained a policy of not

having an appropriate level of medical staff on duty to handle acute and emergency medical

situations; not including an on-duty jail supervisory staff with authority to transfer an
                                             18
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 19 of 149




inmate to a medical facility and a policy of inadequate monitoring of pretrial detainees

which amounted to a denial of medical care. Defendant Wellpath and Roberson’s failure

to take action to provide adequate medical care or refer Mr. Johnson for adequate medical

care lead to Mr. Johnson’s death.

       N. At approximately 4:15 p.m. on December 15, 2018, Mr. Johnson was
       found prone on his bunk with blood and vomit around his head and on
            the floor and bed, unresponsive, pulseless, and not breathing

      38. At approximately 4:15 p.m. on December 15, 2018, Jean Knutson, LPN who

is a Wellpath employee, found a unit officer standing at Mr. Johnson’s cell door while Mr.

Johnson was prone on his bunk with blood around his head area, unresponsive, pulseless

and not breathing. There was blood and vomit on the floor, including the cell entrance, and

on Mr. Johnson’s bunk.

      39. On December 15, 2018 at 6:01 p.m., Nurse Cynthia Ann Morgan, a Wellpath

employee, wrote in Mr. Johnson’s medical records:

      Emergency response cell location called by custody staff.

      Upon arrival cell side/bedside CPR in progress and EMS was called to the
      facility.

      CPR held. Assessment performed.

      Pulseless, nonbreathing, skin cold to touch. Bruising with possible scrape for
      forehead however unable to assess secondary to yellowish covering
      face/eyes/forehead. bright red blood noted on the bunk, bright red blood
      noted on the floor. Unable to locate wound or source of bleeding, no obvious
      blood notes in the mouth or eyes. AED applied and CPR resumed with AED
      prompts followed, PR maintained with 3 supervised medical staff rotations
      maintaining quality and timely compressions. During CPR copious oral
      secretions noted 02 with bag/mask and rescue breaths provided by prompt
                                            19
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 20 of 149




      during CPR with carotid pulse assessment during each AED prompt to CPR.
      Upon arrival of EMS personnel Wellpath medical staff providing emergency
      care response were relieved by EMS staff. At that time Wellpath medical
      staff exited the cell but remained on the deck. At approx. 1630 medical staff
      informed by EMS staff that lifesaving attempts were stopped. Wellpath
      medical staff had no further contact with the body and the Lt on duty closed
      the cell door pending further custody action.

      40. On December 15, 2018 at 10:42 p.m., LPN Carla Romeo, a Wellpath employee,

wrote in Mr. Johnson’s medical records:

      LE: around 1615 in 4R lower tier by stairs for detox and diabetic checks,
      signal 35U called from cell 30 arrived pt positioned supine on bunk notable
      blood to right forehead, bunk and floor near cell entrance. PT unresponsive,
      pulseless, not breathing and cold to touch. Alternated chest compressions
      with first responder nurse. Copious oral secretions noted, no blood from
      mouth detected, AED was applied continued rescue effort chest compression
      and rescue breathing until relieved by EMS.

      41. On December 15, 2018 at 6:05 p.m., LPN Allison Jean Knutsen, a Wellpath

employee, wrote in Mr. Johnson’s medical records:

      LE. During Diabetic/Detox medpass at approximately 1615 noticed unit
      officer standing at cell 30’s door upper tier 4R. This nursed approached cell
      door noted blood on northside of cell. Patient presented in prone position on
      bunk. Blood noted around head area. Patient unresponsive, pulseless, and not
      breathing. Turned pt to supine position. Advised officer to call a 35 U and
      called for the nurse that was done stairs to come up to the cell. Started
      compressions. Alternated compressions with other rescuer. Called over the
      radio for an AED and to call EMS. Continued compressions. Charge nurse
      arrived with rescue bag. AED applied. Compressions and rescue breaths
      were alternated between the three nurses until EMS arrived and took over.

                      O. EMS arrived to find Mr. Johnson dead

      42. EMS arrived to find Mr. Johnson dead and documented the following:

      AOS to find a 49 y.o. male pt unconscious and unresponsive with CPR being
      performed by facility staff. Reporting party on scene state that the pt was last
                                            20
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 21 of 149




       seen alive approx one hour prior to arrival. Pt was switched to EMS monitor.
       Compressions were taken over by E1 crew. Physical assessment revealed
       skin that was cold to the touch. Pupils fixed and dilated. Pulseless and apneic.
       Pt had a laceration superior the right eye with dried blood found next to the
       pt. Pt was surrounded by vomitus. Asystole was confirmed in multiple leads.
       Medical control was contacted. Medical control advised to cease all
       resuscitative measures at 16:33. Option 2 was signed by the medical
       representative of the pt and for the facility. The representative advised she
       would contact the ME.

             P. The Assaults by Defendants Zapata, Fielder and Culp and
              failure of these Defendants and Nueces County to provide
                adequate medical care resulted in Mr. Johnson’s death

       43. The assaults by Defendants Zapata, Fielder and Culp and the failure of

Defendants Zapata, Fielder, Culp, Nueces County, Texas, Wellpath, Peeler, Bocanegra,

Roberson, and Flint to provide adequate medical care to Mr. Johnson resulted in his

custodial death.

         Q. Defendant Bocanegra, Licensed Professional Counselor entered
       notes for a Psychiatric referral of Mr. Johnson on 12/17/2018 03:10 PM
                          CST – after Mr. Johnson’s death

       44. Defendant Bocanegra, a licensed professional counselor, entered notes in Mr.

Johnson’s medical records on December 17, 2018 at 3:10 pm purportedly for a visit on

December 14, 2018. The notes added to Mr. Johnson’s medical records after his death,

state that on December 14, 2018, he was not medication compliant and his appearance was

marked as disheveled, his mood euphoric, his thought form was not coherent, but loose

association, and his thought content delusional. These records show that there was a referral

to Psychiatry, but no action had been taken to effectuate the referral and Mr. Johnson

remained in his jail cell with regular population until his death on December 15, 2018.
                                             21
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 22 of 149




       R. The Nueces County Chief Medical Examiner conducted an autopsy
           on Mr. Johnson’s body on December 17, 2018 finding that Mr.
         Johnson’s cause of death was acute bronchopneumonia, bilateral

       45. On December 17, 2018, Ray Fernandez, M.D., the Chief Medical Examiner for

Nueces County, conducted an autopsy on Mr. Johnson’s body and determined that Mr.

Johnson’s manner of death was natural and the cause of death was acute

bronchopneumonia, bilateral. However, the findings and evidence contained in Dr.

Fernandez’ report show facts supporting that assault was the cause of death. Further, the

normal course of action is for a medical examiner to review the medical history of the

individual upon which the autopsy is performed and to consider that information as part of

the report. There is no evidence in Mr. Johnson’s medical records maintained by the

Nueces County Jail and Wellpath that support that Mr. Johnson had acute

bronchopneumonia, bilateral, or that his death was natural. If Mr. Johnson did have a

condition such as acute bronchopneumonia, bilateral, he should not have been in his cell,

but in a hospital, with his vital signs being monitored, receiving appropriate medication,

medical care and treatment. Mr. Johnson’s medical records during his incarceration show

that his vital signs, such as temperature, blood pressure, pulse, respirations, pulse ox were

not being monitored or documented. Mr. Johnson did not receive any medication to fight

an infection. Plead alternatively under FRCP 8, if Mr. Johnson did in fact have

bronchopneumonia, bilateral, Defendants Zapata, Culp, Fielder, Nueces County, Texas,

Wellpath, Peeler, Bocanegra, Roberson, and Flint failed to provide him with adequate
                                             22
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 23 of 149




medical care for this medical condition resulting in his death. Failure to provide adequate

medical treatment for acute bronchopneumonia, bilateral, leading to Mr. Johnson’s death

is a violation of Mr. Johnson’s constitutional rights under 42 U.S.C. §1983 - Fourteenth

Amendment (Inadequate Medical Care or Conditions of Confinement - Pretrial Detainee)

and 42 U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic

Acts).

         S. Facts Contained in the Report of Postmortem Examination Support
                   that an Assault of Mr. Johnson Caused His Death

         46. Dr. Fernandez documented several facts in the Report of Postmortem

Examination for Mr. Johnson that support that the assault by Defendants Zapata, Fielder

and Culp were the cause of his death:

         • Finding: Laceration to right lower forehead and left back of head
         • External examination: the right orbital area has scleral hemorrhage.
         • External examination: the left orbital area has petechial hemorrhages.
         • External examination: The lower face area and the upper back has a
           moist, vomitous-type deposit.
         • Evidence of injury: The upper lip, has a ¼ inch laceration. The upper
           frenulum and lower frenulum are intact. The right lower forehead has an
           oblique angled ½ inch laceration which, at the mid portion, has a ¼ inch
           laceration extending upward. The underlying subscalp area is slightly
           hemorrhagic.6 …The left back of the head has a 1 inch oblique angled
           laceration. The underlying left subscalp area and left temporal are slightly
           hemorrahagic7….
         • Evidence of injury: The lower left back has a ½ inch irregular abrasion.
           The lateral surface of the left knee has a ½ inch irregular abrasion.




6
  To the contrary, Dr. Fernandez documents in his Findings” No intracranial hematomas.” Hemorrahagic
means accompanied by or produced by hemorrhage.
7
  Id.
                                                23
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 24 of 149




      47. As telling as what was documented in the Report of Postmortem Examination

by Dr. Fernandez that supports that the assault was Mr. Johnson’s cause of death is what

Dr. Fernandez did not document to support his findings. The Nueces County Jail and

Wellpath maintain medical records for inmates, including Mr. Johnson. A review of those

records by Dr. Fernandez would show that his conclusion about the cause of death was not

supported by Mr. Johnson’s medical history as there is absolutely nothing in Mr. Johnson’s

medical records that supports that Mr. Johnson had any condition like, near, similar

associated with acute bronchial pneumonia, bilateral. An individual with such the condition

of acute bronchopneumonia, bilateral, would be regularly monitored by health care

providers who would have documented something to support that finding. Plead

alternatively under FRCP 8, if Mr. Johnson did in fact have bronchopneumonia, bilateral,

Defendants Zapata, Culp, Fielder, Nueces County, Texas, Wellpath, Peeler, Bocanegra,

Roberson, and Flint failed to provide him with adequate medical care for this medical

condition resulting in his death. Failure to provide adequate medical treatment for acute

bronchopneumonia, bilateral, leading to Mr. Johnson’s death is a violation of Mr.

Johnson’s constitutional rights under 42 U.S.C. §1983 - Fourteenth Amendment

(Inadequate Medical Care or Conditions of Confinement - Pretrial Detainee) and 42 U.S.C.

§1983 - Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic Acts).

      48. Dr. Fernandez did not refer to any of the findings of blood, vomit, wounds to

Mr. Johnson’s body documented in Mr. Johnson’s medical records in his Report of

Postmortem Examination.
                                            24
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 25 of 149




                   T. Texas law requires a Custodial Death Report
                        no later than the 30th day after death

      49. A Custodial Death Report is required under Texas Code of Criminal Procedure

Art. 49.18. Death in Custody which states:

      if a person dies while in the custody of a peace officer or as a result of a peace
      officer's use of force or if a person incarcerated in a jail, correctional facility,
      or state juvenile facility dies, the director of the law enforcement agency of
      which the officer is a member or of the facility in which the person was
      incarcerated shall investigate the death and file a written report of the cause
      of death with the attorney general no later than the 30th day after the date on
      which the person in custody or the incarcerated person died. The director
      shall make a good faith effort to obtain all facts relevant to the death and
      include those facts in the report. The attorney general shall make the report,
      with the exception of any portion of the report that the attorney general
      determines is privileged, available to any interested person.

      50. According to this law, the Nueces County Sheriff’s Office was required to file

a Custodial Death Report for Mr. Johnson’s death by January 14, 2019.

        U. Nueces County Sheriff’s Office filed the Original Custodial Death
        Report for Mr. Johnson 9 days late and it states Mr. Johnson’s death
                was “accidental” by means of a “fall in the shower”

      51. The original Custodial Death Report filed by the Nueces County Sheriff’s Office

reporting Mr. Johnson’s death to the Attorney General of Texas was filed on January 23,

2019. This report was filed 37 days after the autopsy was performed by Dr. Fernandez

which gave the Nueces County Sheriff’s Office more than adequate opportunity to review

the autopsy, complete an investigation and timely file the Custodial Death Report.

      52. The original Custodial Death Report for Mr. Johnson stated:

      Death Date and Time:12/15/2018 4:33 PM

                                              25
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 26 of 149




  Has a medical examiner or coroner conducted an evaluation to determine a
  cause of death?

  Medical Examiner/Coroner Evaluation? Yes, pending results

  What was the manner of death? (select only one):

  Manner of Death: Accidental

  Medical Cause of Death: Pending Autopsy.

  Had the decedent been receiving treatment for the medical condition that
  caused the death after admission to your jail’s jurisdiction?

        Medical Treatment: No.

        Who Caused the Accident: Decedent.

        Was the cause of death the result of a pre-existing medical condition or
        did the decedent develop the condition after admission?

        Pre existing medical condition?: Pre-existing medical condition

        If death was an accident, homicide or suicide, what was the means of
        death?

              Means of Death Other: Fall in shower.
              ……..

              Specific Type of Custody/Facility: Jail – single cell

              Where did death occur? Scene of incident.
              ………..

  Summary of How the Death Occurred: (max. 30,000 characters)

  Summary: On Saturday, December 15, 2018 at approximately 1616 hours, Signal
  35U (Inmate Down-Unknown) was called in Unit 4R, Cell #30 via radio after
  Officer Gage Hinojosa and Nurse A. Knutson found Inmate David Johnson
  unresponsive in his cell during medication pass. Upon Lt. Christopher Gomez's
  arrival to the scene, he observed Nurse A. Knutson already in progress of
                                     26
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 27 of 149




          administering chest compression as Nurse C. Morgan assisted. Nurse C. Morgan
          then advised Lt. Gomez to call EMS as she then applied the automatic external
          defibrillator. EMS was contacted and Medic 1/Engine 1 (CCFD) arrived at
          approximately 1622 hours and immediately took over and administered aid. After
          several minutes, EMS was unsuccessful at resuscitating Inmate Johnson. EMS-Lead
          Medic (Brannon Thompson) then pronounced Inmate Johnson deceased after
          conferring with hospital ER at 1633 hours. Lt. Gomez contacted Capt. Patrick
          Whitmore and CID Lt. Jay Worthington. The Medical Examiner's Office and the
          Texas Rangers were notified and the scene was secured. The custodial death is
          currently under investigation by TDPS Ranger Sgt. Steve West and the NCSO is
          awaiting results of both autopsy and investigative report.

          53. The summary of how the death occurred contradicts Dr. Fernandez’ autopsy

conclusion as it states “fall in shower” was the cause of death, not acute

bronchopneumonia, bilateral. There is no evidence in the medical records that a “fall in

shower” occurred.

          V. Nueces County Sheriff’s Office filed First Amended Custodial Death
          Report for Mr. Johnson on January 23, 2019 at same date and time as
                          the Original Custodial Death Report

          54. The Nueces County Sheriff’s Office filed the First Amended Custodial Death

Report for Mr. Johnson on January 23, 2019 at the same date and time as the Original

Custodial Death Report. It appears to be identical.

           W. Nueces County Sheriff’s Office filed Second Amended Custodial
          Death Report for Mr. Johnson on August 22, 2019 changes the manner
                of death to “natural” and medical cause of death to “acute
                               bronchopneumonia, bilateral

          55. The Second Amended Custodial Death Report reporting Mr. Johnson’s death

stated:

          Death Date and Time:12/15/2018 4:33 PM

                                             27
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 28 of 149




  Has a medical examiner or coroner conducted an evaluation to determine a
  cause of death?

  Medical Examiner/Coroner Evaluation?

  Yes, results are available.

  What was the manner of death? (select only one)

  Manner of Death: Natural

  Medical Cause of Death: Acute bronchopneumonia, bilateral.

  Had the decedent been receiving treatment for the medical condition
  that caused the death after admission to your jail’s jurisdiction?

         Medical Treatment: Yes.

  Who Caused the Accident: Not applicable.

  Was the cause of death the result of a pre-existing medical condition or
  did the decedent develop the condition after admission?

         Pre existing medical condition?: Pre-existing medical condition

  If death was an accident, homicide or suicide, what was the means of
  death?

         Means of Death:        Not applicable, cause of death was
                                illness/natural cause
  ……..

  Specific Type of Custody/Facility:

  Jail – single cell

  Where did death occur?

  Scene of incident.
  ………..

                                         28
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 29 of 149




      Summary of How the Death Occurred: (max. 30,000 characters)

      Summary: On Saturday, December 15, 2018 at approximately 1616 hours, Signal
      35U

      On Saturday, December 15, 2018 at approximately 1616 hours, Signal 35U (Inmate
      Down-Unknown) was called in Unit 4R, Cell #30 via radio after Officer Gage
      Hinojosa and Nurse A. Knutson found Inmate David Johnson unresponsive in his
      cell during medication pass. Upon Lt. Christopher Gomez's arrival to the scene, he
      observed Nurse A. Knutson already in progress of administering chest compression
      as Nurse C. Morgan assisted. Nurse C. Morgan then advised Lt. Gomez to call EMS
      as she then applied the automatic external defibrillator. EMS was contacted and
      Medic 1/Engine 1 (CCFD) arrived at approximately 1622 hours and immediately
      took over and administered aid. After several minutes, EMS was unsuccessful at
      resuscitating Inmate Johnson. EMS-Lead Medic (Brannon Thompson) then
      pronounced Inmate Johnson deceased after conferring with hospital ER at 1633
      hours. Lt. Gomez contacted Capt. Patrick Whitmore and CID Lt. Jay Worthington.
      The Medical Examiner's Office and the Texas Rangers were notified and the scene
      was secured. The custodial death is currently under investigation by TDPS Ranger
      Sgt. Steve West and the NCSO is awaiting results of both autopsy and investigative
      report.

      56. The Second Amended Custodial Death Report is not accurate as it states that

Mr. Johnson received treatment for the pre-existing condition which caused his death. Mr.

Johnson’s medical records do not contain any reference, mention, suggestion or any

manner support that he had a condition either similar, like or related to acute

bronchopneumonia, bilateral which is stated as the cause of death by the Chief Medical

Examiner of Nueces County.

         X. On or about August 23, 2019, the Nueces County Sheriff’s Office
             Initiates an Accident/Investigation of Mr. Johnson’s Death

      57. On or about August 23, 2019, the Nueces County Sheriff’s Office initiated an

accident/investigation of Mr. Johnson’s death. David Johnson is identified as the victim in

                                            29
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 30 of 149




the report and Defendants, Zapata, Fielder and Culp, are identified in the report as “other

persons involved.” Under charges, the report states, “in custody death.” The date and time

reported and time found read, “December 15, 2018, 19:19.” There are supplements to this

report which are dated, “December 27, 2018, 9:54:05”8 and, “May 30, 2019, 9:11:08.”

           Y. Defendants Zapata, Fielder and Culp were Indicated and Charged
           with Assault and Other Crimes against Mr. Johnson on October 17, 2019

           58. On October 17, 2019, the grand jury indicted all three correctional officers who

are Defendants in this case, Zapata, Fielder and Culp, for crimes against Mr. Johnson.

                                 a. Indictment Against Defendant Zapata

           59. On October 17, 2019, the grand jury indicted Defendant Zapata with violation

of Texas Penal Code § 37.10 (c)(1). Tampering with Governmental Record with Intent to

Defraud and Harm, violation of Texas Penal Code § 21.15(c) Invasive Visual Recording,

and violation of Texas Penal Code 39.03(d) Official Oppression related to events that

occurred on December 15, 2018 against Mr. Johnson. State of Texas v. Javier Zapata, Jr.,

Case No. 19FC-4813E, In the 148th District Court, Nueces County, Texas. Because Mr.

Johnson did not survive past these unlawful events and died as a result of them, he was not

able to report any of these crimes. A crime perpetrated against Mr. Johnson was easy to

cover up because he was a susceptible victim: incarcerated; had serious mental health

conditions and he was basically homeless.

           60. The indictment filed on October 17, 2019 in State of Texas v. Zapata., Case No.



8
    It is not clear from the record why this supplement predated the investigation.
                                                            30
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 31 of 149




19FC-4813E, In the 148th District Court, Nueces County, Texas reads:

                                    COUNT ONE

      did then and there, with intent to defraud or harm another, namely the Nueces
      County Sheriff’s office, knowingly make a false entry in a governmental
      record, namely a supplemental sheet and/or supplemental report and/or an
      incident report supplemental sheet, the false entry being the defendant’s
      statement concerning the facts surrounding the investigation of the custodial
      death of David Johnson.

                        COUNT TWO-PARAGRAPH ONE

      did then there, with intent to invade the privacy of David Johnson, hereafter
      styled the complainant, and without the consent of the complainant,
      photograph the complainant in a bathroom and/or changing room,

                        COUNT TWO-PARAGRAPH TWO

      did then there, with intent to invade the privacy of David Johnson, hereafter
      styled the complainant, and without the consent of the complainant,
      photograph the genitals OR pubic area OR anus OR buttocks of the
      complainant, and the complainant had a reasonable expectation of privacy
      that the genitals OR pubic area OR anus OR buttocks were not subject to
      public view,

                                   COUNT THREE

      acting alone or together with Richard Culp and/or William Fielder, did then
      and there intentionally subject David Johnson to mistreatment that the
      defendant knew was unlawful, namely assault, and the defendant was then
      and there acting under color of his employment as a Nueces County Sheriff’s
      Office Corrections Officer, against the peace and dignity of the State.

                       b. Indictment Against Defendant Culp

      61. On October 17, 2019, the grand jury indicted Defendant Culp with violation of

Texas Penal Code § 37.10 (c)(1), and violation of Texas Penal Code 39.03(d) Official

Oppression related to events that occurred on December 15, 2018 against Mr. Johnson.
                                           31
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 32 of 149




State of Texas v. Richard Culp., Case No. 19FC-4816E, In the 148th District Court, Nueces

County, Texas. Because Mr. Johnson did not survive past these unlawful events and died

as a result of them, he was not able to report any of these crimes. A crime perpetrated

against Mr. Johnson was easy to cover up because he was a susceptible victim:

incarcerated; had serious mental health conditions and he was basically homeless.

      62. The indictment filed on October 17, 2019 in State of Texas v. Richard Culp,

Case No. 19FC-4816E, In the 148th District Court, Nueces County, Texas reads:

                                     COUNT ONE

      did then and there, with intent to defraud or harm another, namely the Nueces
      County Sheriff’s office, knowingly make a false entry in a governmental
      record, namely a supplemental sheet and/or supplemental report and/or an
      incident report supplemental sheet, the false entry being the defendant’s
      statement concerning the facts surrounding the investigation of the custodial
      death of David Johnson.

                                     COUNT TWO

      acting alone or together with Javier Zapata and/or William Fielder, did then
      and there intentionally subject David Johnson to mistreatment that the
      defendant knew was unlawful, namely assault, and the defendant was then
      and there acting under color of his employment as a Nueces County Sheriff’s
      Office Corrections Officer, against the peace and dignity of the State.

                       c. Indictment Against Defendant Fielder

      63. On October 17, 2019, the grand jury indicted Defendant Fielder with violation

of Texas Penal Code § 37.10 (c)(1), and violation of Texas Penal Code 39.03(d) Official

Oppression related to events that occurred on December 15, 2018 against Mr. Johnson.

State of Texas v. Richard Fielder, 19FC-4815E, In the 148th District Court, Nueces County,

                                            32
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 33 of 149




Texas. Because Mr. Johnson did not survive past these unlawful events and died as a

result of them, he was not able to report any of these crimes. A crime perpetrated against

Mr. Johnson was easy to cover up because he was a susceptible victim: incarcerated; had

serious mental health conditions and he was basically homeless.

        64. The indictment filed on October 17, 2019 in State of Texas v. Richard Fielder,

Case No. 19FC-4815E, In the 148th District Court, Nueces County, Texas reads:

                                      COUNT ONE

        did then and there, with intent to defraud or harm another, namely the Nueces
        County Sheriff’s office, knowingly make a false entry in a governmental
        record, namely a supplemental sheet and/or supplemental report and/or an
        incident report supplemental sheet, the false entry being the defendant’s
        statement concerning the facts surrounding the investigation of the custodial
        death of David Johnson.

                                      COUNT TWO

        acting alone or together with Javier Zapata and/or Richard Culp, did then and
        there intentionally subject David Johnson to mistreatment that the defendant
        knew was unlawful, namely assault, and the defendant was then and there
        acting under color of his employment as a Nueces County Sheriff’s Office
        Corrections Officer, against the peace and dignity of the State.

          Z. Final Custodial Death Report filed with the Attorney General of
                     Texas for Mr. Johnson on November 5, 2019

        65. The Nueces County Sheriff’s Office submitted a Final Custodial Death Report

for Mr. Johnson to the Attorney General of Texas on November 5, 2019 and it appears to

have no changes from the Second Amended Custodial Death Report filed on August 22,

2019.


                                             33
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 34 of 149




       AA. Former Nueces County Sheriff Jim Kaelin and Defendant Sheriff
       Hooper ratified and approved of Defendant Zapata, Fielder and Culp’s
             actions involving Mr. Johnson as being within the policies,
           longstanding practices and customs of the Nueces County Jail

      66. Former Nueces County Sheriff Jim Kaelin and Defendant Sheriff Hooper had

full disclosure of the fact that Defendants Zapata, Fielder and Culp each intentionally,

maliciously and sadistically assaulted and impermissibly punished Mr. Johnson and took

participated in taking pornographic photos and/or video of him and assaulting him causing

him serious bodily injuries which resulted in his death. Further, former Nueces County

Sheriff Jim Kaelin and Defendant Sheriff Hooper had full disclosure that Mr. Johnson was

not provided with adequate medical care by Defendants Zapata, Fielder and Culp for the

injuries they inflicted upon him and others employed by and acting on behalf of the Nueces

County Jail which resulted in Mr. Johnson’s death. With full knowledge of these facts,

former Nueces County Sheriff Jim Kaelin and Defendant Sheriff Hooper ratified

Defendants Zapata, Fielder, Culp’s constitutional violations of Mr. Johnson’s rights under

1983 - Fourteenth Amendment (Excessive Force) - Pretrial Detainees; 42 U.S.C. §1983 -

Fourteenth Amendment - Bodily Integrity; 42 U.S.C. §1983 - Fourteenth Amendment

(Inadequate Medical Care or Conditions of Confinement - Pretrial Detainee); 42 U.S.C.

§1983 - Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic Acts); and

violation of 42 U.S.C. §1983 - Liability in Connection with the Actions of Another Failure

to Intervene/Bystander Liability by allowing each to continue working for Nueces County,

Texas at the Nueces County Jail without appropriate discipline. Also, former Nueces

                                            34
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 35 of 149




County Sheriff Jim Kaelin and Defendant Sheriff Hooper’s final policymaking decision

not to terminate these Defendants’ employment or take appropriate corrective action

supports that Defendants Zapata, Fielder and Culp’s actions were in conformity with

Nueces County, Texas and Nueces County Jail policy, practice and customs.

        V. LIABILITY UNDER 42 U.S.C. §1983, FINAL POLICYMAKING
           OFFICIALS FOR NUECES COUNTY, TEXAS, THE NUCES
             COUNTY JAIL AND LIABILITY OF WELLPATH LLC

               A. Liability under 42 U.S.C. §1983 for Constitutional Violations

       67. Section 1983 of the Civil Rights of 1871, 42 U.S.C. § 1983, prohibits any person

acting under color of state law from depriving any citizen or person of the rights, privileges

and immunities secured by the Constitution.

       68. To establish municipal liability, a plaintiff must prove three elements: (1) a

policymaker; (2) an official policy; and (3) a violation of constitutional rights whose

“moving force” is the formal policy or custom. Monell v. N.Y. City Dept. of Social Servs.,

436 U.S. 658, 694, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978).

       69. For purposes of 42 U.S.C. §1983 official government policy includes:

       (1) official decisions promulgated by a local government’s lawmaking body;
       (2) longstanding practices so persistent and widespread as to fairly represent
       government policy or the force of law; and
       (3) the acts or policies of officials who by law or delegation possess final
       policymaking authority for the local government concerning the action
       alleged to have caused the particular constitutional or statutory violation at
       issue.




                                              35
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 36 of 149




See Pembaur v. Cincinnati, 475 U.S. 469, 480-81 (1986), 475 U.S. at 480-81; Monell v.

New York City Dep’t of Social Servs., 436 U.S. 658, 691 (1978); Adickes v. S.H. Kress &

Co., 398 U.S.144, 167-68 (1970).

                   B. Nueces County Sheriffs are Final Policymakers
               for Law Enforcement and the Nueces County, Texas Jail

       70. “[I]n Texas, the county sheriff is the county’s final policymaker in the area of

law enforcement, not by virtue of delegation by the county’s governing body but, rather,

by virtue of the office to which the sheriff has been elected.” Turner v. Upton County, Tex.

915 F.2d 133, 136 (5th Cir. 1990); see also Bennett v. Pippin, 74 F.3d 578, 586 (5th Cir.

1996). Thus, the sheriff’s “actions are as much the actions of the county as the actions of

th[e] [county] commissioners.” Turner, 915 F.2d at 137. In the present case, former

Nueces County Sheriff Jim Kaelin was a final policymaker in the area of law enforcement

and the Nueces County Jail for Nueces County, Texas from 2006 until October 31, 2018.

Defendant Sheriff Hooper has been the final policymaker in the area of law enforcement

and the Nueces County Jail for Nueces County, Texas from November 1, 2018 to present.

          C. Nueces County Judge and Nueces County Commissioners are
              Final Policymaking Officials for Nueces County, Texas

       71. The Nueces County Judge and the Nueces County Commissioners are also

final policy making officials for Nueces County, Texas. Nueces County’s governing body

is the commissioners court, which is expressly responsible for providing safe and suitable

jail facilities. Tex. Loc. Gov't Code §351.001(a). The commissioners court’s presiding

officer is the county judge. Tex. Loc. Gov't Code §81.001. To the extent that the relevant
                                             36
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 37 of 149




policymaking implicates or overlaps those two areas of responsibility—law enforcement

and jail facilities—the sheriff and the county judge can be considered final policymakers.

In the present case, Nueces County Judge, Sam Neal, Jr., Nueces County Commissioners,

former Nueces County Sheriff Jim Kaelin and Defendant Sheriff Hooper were final policy

making officials on behalf of Nueces County, Texas and each are responsible for, and

publicly commented on the existence of, the policies at issue.

                  D. Nueces County’s Official Policies and Customs
                             for the Nueces County Jail

       72. The Nueces County Sheriff adopts policy for law enforcement and the Nueces

County Jail and its employees, and this final policy making official has also implemented

official customs. Official customs are a practice ‘so persistent and widespread as to

practically have the force of law.’ Peña v. City of Rio Grande City, 879 F.3d 613, 621–22

(5th Cir. 2018). As set-out herein, former Nueces County Sheriff Kaelin and Defendant

Sheriff Hooper have adopted written policies and implemented official longstanding

practices and customs for law enforcement and the Nueces County Jail and its employees.

       73. The Nueces County Judge and the Nueces County Commissioners adopt policy

for Nueces County, Texas and is responsible for providing safe and suitable jail facilities

for Nueces County, and these final policy making officials have also implemented official

practices and customs. Official customs are a practice ‘so persistent and widespread as to

practically have the force of law.’ Peña v. City of Rio Grande City, 879 F.3d 613, 621–22

(5th Cir. 2018). As set-out herein, Nueces County Judge Sam Neal, Jr. and the Nueces

                                            37
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 38 of 149




County Commissioners have adopted written policies and implemented official customs

relevant to the safety and suitability of jail facilities for Nueces County, Texas.

       74. A municipality may be held liable for a single act or decision of a final

policymaker, as when a municipality’s properly constituted legislative body approves and

executes a single unconstitutional decision. See Jett v. Dallas Indep. Sch. Dist., 491 U.S.

701, 737 (1989); City of St. Louis v. Praprotnik, 485 U.S. 112, 123 (1988) (plurality

opinion); Pembaur, 475 U.S. at 480. For example, when a subordinate’s decision is subject

to review by the municipality’s authorized policymakers, they have retained the authority

to measure the official’s conduct for conformance with their policies. If the authorized

policymakers approve a subordinate’s decision and the basis for it, their ratification would

be chargeable to the municipality because their decision is final. City of St. Louis v.

Praprotnik, 485 U.S. 112, 123 (1988) (plurality opinion). As set-out herein, former Nueces

County Sheriff Kaelin and Defendant Sheriff Hooper have retained the authority to

measure Defendant Zapata, Fielder and Culp’s actions and decisions, and other actions

made the basis of this complaint, and approved of those decisions, thereby ratifying the

conduct and making the decision a final decision on behalf of Nueces County, Texas and

supporting that the conduct of Defendants Zapata, Fielder and Culp and others involved in

the incidents made the basis of this lawsuit conformed to policy, practices and customs

implemented by these final policymaking officials for Nueces County, Texas and the

Nueces County Jail.


                                              38
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 39 of 149




            E. Wellpath LLC is a Person Acting Under Color of State Law

       75. Wellpath LLC may be considered as a person acting under color of state law for

purposes of § 1983 because it is a private entity performing a state function. For Wellpath

LLC to be liable under § 1983, Plaintiff must allege facts showing a policy or a custom of

Wellpath LLC that caused his injury. See Monell v. Department of Social Services of City

of New York, 436 U.S. 658, 691–94 (1978) (stating requirements for pursuing a § 1983

claim against a municipality); Dubbs v. Head Start, Inc., 336 F.3d 1194, 1216 (10th Cir.

2003) (extending Monell requirements to a private entity performing a state function);

Wabuyabo v. Correct Care Sols., 723 F. App'x 642, 643 (10th Cir. 2018) (“[T]o state a

claim against CCS, [Plaintiff] must identify an official policy or custom that led to the

alleged constitutional violation.”).

         VI. NUECES COUNTY, TEXAS AND NUECES COUNTY JAIL’S
           POLICY, LONGSTANDING PRACTICE AND CUSTOM OF
            CORRECTIONAL OFFICER SHORTAGES FOR NUECES
                   COUNTY JAIL IS A MOVING FORCE
           BEHIND DEPRIVATION OF CONSTITUTIONAL RIGHTS

                      A. Texas Commission on Jail Standards Sets
                         Standards for Supervision of Inmates

       76. The Texas Commission on Jail Standards sets the standards for Texas Jails

through the publication of regulations found in the Texas Administrative Code.

       77. 37 Tex. Admin. Code § 275.1 Supervision of Inmates, Regular Observation of

Inmates states:

       Every facility shall have the appropriate number of jailers at the facility 24
       hours each day. Facilities shall have an established procedure for
                                             39
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 40 of 149




       documented, face-to-face observation of all inmates by jailers no less than
       once every 60 minutes. Observation shall be performed at least every 30
       minutes in areas where inmates known to be assaultive, potentially suicidal,
       mentally ill, or who have demonstrated bizarre behavior are confined. There
       shall be a two-way voice communication capability between inmates and
       jailers, licensed peace officers, bailiffs, and designated staff at all times.
       Closed circuit television may be used, but not in lieu of the required personal
       observation. Electronic sensors or cameras capable of recording the required
       personal observations of inmates in high-risk cells or groups of cells shall be
       installed no later than August 31, 2020.

       78. 37 Tex. Admin. Code § 275.4 Supervision of Inmates, Staff states:

       Inmates shall be supervised by an adequate number of jailers to comply with
       state law and this chapter. One jailer shall be provided on each floor of the
       facility where 10 or more inmates are housed, with no less than 1 jailer per
       48 inmates or increment thereof on each floor for direct inmate supervision.
       This jailer shall provide documented visual inmate supervision not less than
       once every 60 minutes. Sufficient staff to include supervisors, jailers and
       other essential personnel as accepted by the Commission shall be provided
       to perform required functions. A plan concurred in by both commissioners'
       court and sheriff's office, which provides for adequate and reasonable
       staffing of a facility, may be submitted to the Commission for approval. This
       rule shall not preclude the Texas Commission on Jail Standards from
       requiring staffing in excess of minimum requirements when deemed
       necessary to provide a safe, suitable, and sanitary facility nor preclude
       submission of variance requests as provided by statute or Chapter 299 of this
       title.

       79.   Contrary to the regulations published by the Texas Commission on Jail

Standards, the Nueces County Jail was routinely staffed with insufficient guards, often with

a ratio as much as 72:1 and the Nueces County Jail failed to meet these standards of

supervision of inmates.

        B. Longstanding Policy, Practice and Custom of Staffing Shortages of
                  Correctional Officers at the Nueces County Jail

       80. On July 9, 2018, at the Nueces County Commissioners Court Budget Workshop,
                                             40
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 41 of 149




Nueces County Sheriff Jim Kaelin, told the Nueces County Judge, Samuel L. Neal, Jr., and

Nueces County Commissioners when asking for additional funding for the Nueces County

Jail that staffing levels for the Nueces County Jail average 25 vacancies. Also, during the

meeting, Former Nueces County Sheriff Kaelin told the Nueces County Judge and Nueces

County Commissioners that, “maintaining the staffing in the jail becomes more difficult

everyday of getting people to come down and wanting to make a career of working inside

that environment.” Nueces County Sheriff Kaelin stated there had been up to 35 vacancies

and they “made some noise” and were able to bring that number down. Sheriff Kaelin

stated that he considered 10 or less vacancies for the Nueces County Jail to be fully staffed.

However, an average of 25 vacancies for the Nueces County Jail was causing problems –

both in locating manpower, but also budget problems because even if current employees

are willing to work extra shifts, overtime came into play for both the employee working an

extended shift the jailer working the extra shift which was causing problems for Nueces

County, Texas.

         81. Nueces County, Texas’ policy not to adequately fund the Nueces County Jail to

provide for adequate staffing, as made through the Nueces County Commissioner’s Court

and Nueces County Judge, is a final policymaking decision for purposes of 42 U.S.C.

§1983.

         82. Defendant Sheriff Hooper has also frequently and openly stated that the Nueces

County Jail has a severe staffing shortage. For example, Sheriff Hooper made the following

statements in the Corpus Christi and surrounding media:
                                              41
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 42 of 149




       On August 27, 2019, reported by Monica Lopez with the Caller Times in an
       article entitled, Nueces County Sheriff’s Office reveals new wrapped van for
       recruitment, Sheriff Hooper stated in a published video interview: “We have
       been struggling to stay fully staffed and it is not just something that this
       Sheriff has been dealing with. Every Sheriff before me has been dealing with
       staffing shortages. We’re hiring. That is the message we want to get out there.
       We’re hiring.”

       On August 27, 2019, KIII 3 Television news ran a story entitled, Nueces
       County Sheriff's Office wraps prisoner transport van to recruit new hires in
       which Michael Gibson reported: Sheriff Hooper says that trying to keep
       enough jailers on staff has been a historical problem for the department.
       Right now, they are two dozen people short…..

          C. Former Nueces County Sheriff Kaelin and Defendant Sheriff
       Hooper are Final Policymakers Whose Decision to Resolve the Staffing
       Shortage by Maintaining the Employment of Correctional Officers that
          Violate Inmates Constitutional Rights is a Moving Force Behind
                       Deprivation of Constitutional Rights

       83. The final policymaking officials relative to employment decisions for employees

of the Nueces County Jail, the Nueces County Sheriffs, former Nueces County Sheriff

Kaelin and Defendant Sheriff Hooper, have had a policy, practice and custom that they will

not terminate a correctional officer who violates an inmates’ constitutional rights and/or

law. The policy, custom and practice is that instead of terminating the employment of

correctional officers who violate an inmates’ constitutional rights and/or law, the Nueces

County Sheriff defers to the criminal process to determine whether or not to determine

“guilt” of the correctional officer and then to determine discipline. This policy, custom and

practice is a moving force behind deprivation of inmate’s rights to be free from

constitutional violations of excessive force and violations of bodily integrity.

       84. The final policymaking officials relative to employment decisions for employees
                                             42
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 43 of 149




of the Nueces County Jail, the Nueces County Sheriffs, former Sheriff Kaelin and

Defendant Sheriff Hooper, have had a policy, practice and custom that they fail to provide

serious punishment when charges of excessive force and/or impermissible punishment are

sustained but instead provide trivial punishment that is not designed to act as a deterrent to

the use of excessive force and/or improper punishment and in fact does not deter it. This

policy, custom and practice is a moving force behind deprivation of inmate’s rights to be

free from constitutional violations of excessive force and violations of bodily integrity.

       85. The final policymaking officials relative to employment decisions for employees

of the Nueces County Jail, the Nueces County Sheriffs, former Sheriff Kaelin and

Defendant Sheriff Hooper, have had a policy, practice and custom that they fail to

investigate and discipline individual and groups of officers who have engaged in patterns

of abuse and brutality toward inmates constituting impermissible punishment of inmates in

the Nueces County Jail. This policy, custom and practice is a moving force behind

deprivation of inmate’s rights to be free from constitutional violations of excessive force

and violations of bodily integrity.

       86. The final policymaking officials relative to employment decisions for employees

of the Nueces County Jail, the Nueces County Sheriffs, former Sheriff Kaelin and

Defendant Sheriff Hooper, have had a policy, practice and custom that they fail to

adequately track complaints against correctional officers to identify patterns within the

Nueces County Jail, repeat offending officers, or additional measures that are needed to

prevent constitutional violations by Nueces County Jail correctional officers. This policy,
                                              43
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 44 of 149




custom and practice is a moving force behind deprivation of inmate’s rights to be free from

constitutional violations of excessive force and violations of bodily integrity.

       87. Constitutional violations against inmates are civil, not criminal. Whether or not

a correctional officer is guilty of a crime against an inmate does not mean that the

correctional officer did not violate the inmate’s constitutional rights. Criminal actions have

a higher burden of proof than a civil an action for violation of civil rights. Therefore, this

policy, custom and practice of the Nueces County Sheriffs is not sound and it is a moving

force behind continued constitutional violations by those correctional officers.

       88. As an example of this policy, custom and practice, on August 2, 2017, Katherina

Gail Morin, a Nueces County correctional officer at the Nueces County Jail, allegedly

assaulted and struck an inmate while transferring the inmate between cells. According to

an affidavit, Ms. Morin asked a fellow officer to assist her while transferring the inmate to

another cell. When they arrived at their destination, the officer said Morin entered the cell

with the inmate and proceeded to grab her by the shirt and slam her against the wall. Morin

then threw the inmate onto the bunk and struck her twice in her ribs. Ms. Morin was

arrested for aggravated assault and later charged with assault causing bodily injury, Case

No. 18MC-10231, Nueces County Court at Law 3. Former Nueces County Sheriff Kaelin

briefly suspended Ms. Morin. However, Sheriff Kaelin allowed Ms. Morin to continue

working until she later resigned her position. Ms. Morin had been suspended without pay

for 16 hours approximately eight months earlier for passing around contraband at the

Nueces County Jail, but she was allowed to return and continue working. Even though
                                             44
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 45 of 149




passing around contraband is against the law, Former Nueces County Sheriff Kaelin

allowed Ms. Morin to continue working as a correctional officer. If Ms. Morin had been

terminated upon violating the law, she would not have been in a position to assault and

strike an inmate resulting in constitutional violations of excessive force and bodily

integrity.

       89. As another example of this policy, custom and practice, in a November 21, 2017

news report, former Nueces County Sheriff Jim Kaelin stated to Channel 3 Television news

in regard to the pipe beating of a jail inmate by two Nueces County Jail correctional

officers, Anthony Munoz and Raul Rene Flores, "It's still, it's an accusation, alright, and

they'll have their day in court." However, he did not terminate the employment of the

correctional officers and each later resigned. By Sheriff Kaelin not immediately

terminating Mr. Munoz and Mr. Flores for the constitutional violations of excessive force

and bodily integrity, he sent a message that pipe beating and assault of inmates is acceptable

and within the policy, customs, and practices of the Nueces County Jail. Also, by not

immediately terminating Mr. Munoz and Mr. Flores, they remained in a position to

continue to harm inmates.

       90. Another representation of this policy, custom and practice is when on or about

June 2018, Nueces County Jail inmate, Patrick Durkin, was experiencing psychiatric

problems while in the Nueces County Jail. While in custody, Mr. Durkin had his hands

handcuffed and he was taken to a suicide watch cell that is has a blind spot and the area is

not visible on camera. Mr. Durkin was thrown on the ground resulting in his rib being
                                              45
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 46 of 149




broken. Defendant Zapata participated in the injury to Mr. Durkin. Nueces County failed

to adequately treat Mr. Durkin for his mental health condition and broken ribs. Sheriff

Kaelin allowed Defendant Zapata to continue working despite this clear violation of an

inmate’s constitutional rights. If Sheriff Kaelin had immediately terminated Defendant

Zapata for his unconstitutional behavior involving Mr. Durkin, he would not have been in

a position to violate Mr. Johnson’s constitutional rights leading to his death.

       91. Similarly, this policy, custom and practice was followed when on June 13, 2019,

three Nueces County jailers were indicted for making a false entry in a report related to the

use of force resulting in the injury of Nueces County Jail inmate Christina Martinez. The

three jailers are: Oliver Michael Buendia, Marcus Lopez and Javier Zapata, Jr., who is a

Defendant in this case. Each was charged with a third-degree felony count of tampering

with government records related to the investigation of the complaints made by inmate

Christina Martinez for events occurring on July 6, 2018 which resulted in Ms. Martinez

being injured. Defendant Sheriff Hooper placed Mr. Buendia and Mr. Lopez on paid

administrative leave, but did not terminate their employment. Currently, Mr. Buendia and

Mr. Lopez remain actively working for the Nueces County Jail. By June 13, 2019,

Defendant Zapata had already voluntarily left employment with the Nueces County Jail. By

Sheriff Kaelin and Defendant Sheriff Hooper not immediately terminating Mr. Buendia,

Mr. Lopez and Defendant Zapata for the constitutional violations of excessive force, bodily

integrity and for tampering with a government document covering-up the violations, each

sent a message that this conduct is acceptable and within the policy, customs, and practices
                                             46
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 47 of 149




of the Nueces County Jail. Also, by not immediately terminating Mr. Buendia, Mr. Lopez

and Defendant Zapata, they remained in a position to continue to harm inmates. In fact, the

incident involving Ms. Martinez occurred on July 6, 2018.           If Sheriff Kaelin had

immediately terminated Defendant Zapata for his unconstitutional behavior involving Ms.

Martinez, Defendant Zapata would not have been in a position to violate Mr. Johnson’s

constitutional rights leading to his death.

       92. Another instance of this policy, practice and custom in action is when on

September 2, 2019, an affiant stated that Nueces County Jail Correctional Officer, Bobby

J. Benavides, assaulted an inmate. Surveillance footage captured the assault and showed

Mr. Benavides hit the inmate more than 25 times, resulting in the inmate suffering a

fractured rib. Nueces County Sheriff's Office officials began looking into the suspected

assault on Sept. 18, a day after the office received a form from the inmate about

the assault. Mr. Benavides was arrested on suspicion of aggravated assault causing serious

bodily injury by a public servant, a first-degree felony; tampering with or fabricating

physical evidence with intent to impair, a third-degree felony; and official oppression. Mr.

Benavides was initially placed on leave by Defendant Sheriff Hooper, but later he was

allowed to resign. This is another example of the policy, practice and custom which send

the message that this type of conduct is within Nueces County policy.

       93. This policy, practice and custom was applied to the present case when

on October 23, 2019, Defendant Sheriff Hooper stated to the media in reference to

Defendants Zapata, Fielder and Culp, “their actions around the time of the death were
                                              47
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 48 of 149




policy violations in our mind. And so, they were disciplined retrained and put back to work,

and they're still on the job, the sheriff says they'll continue working at the county jail

throughout the legal process these employees are innocent until proven guilty.” It is

difficult to understand how assaulting an inmate causing serious bodily injury resulting in

death and invading an inmate’s privacy by taking pornographic photographs of Mr.

Johnson without his consent by having his genitals and/or pubic area and/or anus and/or

buttocks photographed are constitutional violations for which nothing less than immediate

termination of employment is appropriate. Defendant Sheriff Hooper’s public admission

that he did not properly train Defendants Zapata, Fielder and Culp and that they had to be

retrained supports that Defendant Sheriff Hooper failed to provide adequate training to

prevent the constitutional violations which occurred to Mr. Johnson made the basis of this

lawsuit. Further, Defendant Sheriff Hooper allowed Defendants Fielder and Culp to

continue in their positions as correctional officers with the opportunity to continue the

serious, disturbing, malicious, sadistic and intentional constitutional violations of excessive

force and bodily integrity against inmates. Also, Defendant Sheriff Hooper’s failure to

implement meaningful discipline is a clear message that Defendants Zapata, Fielder and

Culp’s conduct in violating Mr. Johnson’s constitutional rights and covering-up their

violations is acceptable and within the customs and practices of the Nueces County Jail.

       94. Defendant Sheriff Hooper’s policy that Defendant Zapata, Fielder and Culp

are “innocent until proven guilty” and “we'll let the process work and go from there,”

supports that Defendant Sheriff Hooper’s final policymaking decision is a moving force
                                              48
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 49 of 149




behind these violations because it allows correctional officers to continue working and

continue violating inmate rights. As an example, Defendant Zapata violated several

inmate’s constitutional rights, including Ms. Martinez’ rights and Mr. Durkin’s rights as

set-out above, and was allowed to continue to work under both former Nueces County

Sheriff Kaelin and Defendant Sheriff Hooper. If former Nueces County Sheriff Kaelin and

Defendant Sheriff Hooper had taken proper action to stop Defendant Zapata’s

constitutional violations of inmates’ rights related to excessive force and bodily integrity,

he would not have been in a position to have violated Mr. Johnson’s constitutional rights

leading to his death.

       95. Defendant Zapata voluntarily left his employment with the Nueces County Jail

in January 2019. Neither former Nueces County Sheriff Kaelin nor Defendant Sheriff

Hooper terminated the employment of Defendants Zapata, Fielder or Culp as a result of

their own knowledge that each violated Mr. Johnson’s constitutional rights violation of

§1983 - Fourteenth Amendment (Excessive Force - Pretrial Detainee); 42 U.S.C. §1983 -

Fourteenth Amendment (Bodily Integrity); 42 U.S.C. §1983 - Fourteenth Amendment

(Inadequate Medical Care or Conditions of Confinement -Pretrial Detainee); 42 U.S.C.

§1983 - Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic Acts) and

violation of 42 U.S.C. §1983 - Liability in Connection with the Actions of Another Failure

to Intervene/Bystander Liability. Former Nueces County Sheriff Kaelin and Defendant

Sheriff Hooper’s final policymaking decision for Nueces County related to the employment

of these correctional officers ratifies Defendant Zapata, Fielder and Culp’s conduct and
                                             49
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 50 of 149




shows that their conduct was within Nueces County policy, practices and customs.

       96. The final decisions, policies, customs, failure to train and supervise, made by

former Nueces County Sheriff Jim Kaelin and Defendant Sheriff Hooper, show "deliberate

indifference" to the obvious consequence of the failure to supervise, failure to train and the

policymakers' decisions and policies set-out above which result in the retention of

employees who violate inmate’s constitutional rights, which is the moving force behind the

deprivation of constitutional rights directly causing injury to Nueces County Jail inmates

and Mr. Johnson because it allows the correctional officers to be in a position to continue

with their unconstitutional conduct toward inmates. Former Nueces County Sheriff Jim

Kaelin and Defendant Sheriff Hooper’s final policymaking decisions also support that

Defendants Zapata, Fielder and Culp’s conduct was within the customs, practices and

policies of the Nueces County Jail.

                D. The Policy, Longstanding Practice and Custom of Nueces
       County, Texas and the Nueces County Jail to Fail to Adequately Fund,
       Fail to Recruit and Fail to Keep Qualified Jailers Results in Retaining
                 Jailers that Violate Inmate’s Constitutional Rights

       97. The policy of Nueces County, Texas as made by the Nueces County

Commissioners and Nueces County Judge in not providing appropriate funding to staff

safe and suitable jail facilities for Nueces County, Texas is a final policymaking decision

for purposes of liability under 42 U.S.C. §1983. This policy is discussed in paragraphs 80-

81 of this complaint.

       98. The policy, longstanding practices and custom of the Nueces County Jail as made

                                             50
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 51 of 149




by final policymakers, former Nueces County Sheriff Kaelin and Defendant Sheriff Hooper,

in not adequately recruiting and keeping adequate staffing of jailers is a final policymaking

decision for purposes of liability under 42 U.S.C. §1983. This policy is discussed in

paragraphs 80-96 of this complaint.

       99. The result of these policies, practices and customs is that former Nueces County

Sheriff Kaelin and Defendant Sheriff Hooper make a clear policy and choice to retain

jailers that violate inmate’s constitutional rights in order to keep enough staffing to operate

the Nueces County Jail.

       100. By not having appropriate funding to staff a safe and suitable jail and not

adequately recruiting and keeping adequate staffing of jailers, these policies shows

"deliberate indifference" to the obvious consequence of the policymakers' choice, and it is

the moving force behind a deprivation of constitutional rights directly causing injury to

Nueces County Jail inmates including Mr. Johnson. The constitutional violations being a

violation of an inmate’s constitutional rights violation of §1983 - Fourteenth Amendment

(Excessive Force - Pretrial Detainee); 42 U.S.C. §1983 - Fourteenth Amendment (Bodily

Integrity); 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate Medical Care or

Conditions of Confinement -Pretrial Detainee); and 42 U.S.C. §1983 - Fourteenth

Amendment (Medical Care - Pretrial Detainee/Episodic Acts).




                                              51
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 52 of 149




          VII. NUECES COUNTY, TEXAS AND NUECES COUNTY JAIL’S
            POLICY, LONGSTANDING PRACTICE AND CUSTOM OF
           HOUSING MENTALLY ILL INMATES WITH THE GENERAL
          JAIL POPULATION, WITHOUT PROVISIONS FOR ADEQUATE
           MENTAL HEALTH CARE AND WITHOUT ADDRESSING THE
           SPECIAL NEEDS OF SUCH INMATES IS A MOVING FORCE
             BEHIND DEPRIVATION OF CONSTITUTIONAL RIGHTS

                           A. It is Clearly Recognized that Inmates with
                           Mental Health Disorders Have Special Needs

         101. A significant percentage of county jail inmates have mental disorders. Jails are

not designed or operated to provide a therapeutic setting; the lights, noise, rules, and real

and perceived threats of violence are especially harmful to inmates with mental disorders.9

They are likely to stay for longer periods, have difficulty following facility guidelines, and

spend more time in solitary confinement.10 Often, their mental health deteriorates, making

them harder to manage for staff.11 When untreated, they are more likely to be the victims

of violent behavior or to initiate violent acts.12

         102. In Texas, state health officials estimate that 30 percent of jail inmates have one

or more serious mental illnesses. 13 Inmates with mental illness are more likely to be

subjected to physical attacks and victimization, and to solitary confinement.14




9
   Id.
10
    Preventable Tragedies, How to Reduce Mental Health-Related Deaths in Texas Jails, citing Treatment Action
Center, The Treatment of Persons with Mental Illness in Prisons and Jails: A State Survey, April 2014 7, 14-17 (2014).
11
    Id.
12
    Id.
13
    Preventable Tragedies, How to Reduce Mental Health-Related Deaths in Texas Jails citing Lauren L. Lewis,
Presentation to the Senate Criminal Justice Committee (2015)
14
    Preventable Tragedies, How to Reduce Mental Health-Related Deaths in Texas Jails citing Treatment Action
Center, The Treatment of Persons with Mental Illness in Prisons and Jails: A State Survey, April 2014 7, 14-17 (2014)
                                                         52
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 53 of 149




           103. Nueces County did not properly hire and train law enforcement personnel in

how to recognize and manage Nueces County Jail inmates with mental health conditions

such as Mr. Johnson.15 According to an article published by the Corpus Christi Caller

Times on September 25, 2019, Defendant Sheriff Hooper admitted in October 2018 that he

would find ways to address inmates who had mental health issues, saying they shouldn't

be there [referring to the Nueces County Jail]. This admission by Defendant Sheriff Hooper

supports that Nueces County, Texas’ policy, practice and custom is a moving force behind

inadequate mental health and medical care for Nueces County Jail inmates.

           104. At the Regular Board Meeting of the Nueces County Commissioners held on

March 14, 2018, final policymakers for Nueces County, Texas and the Nueces County Jail

acknowledged the practice of housing mentally ill inmates with the general jail population,

without provisions for adequate mental health care and without addressing the special

needs of such inmates. Final policymaker, Nueces County Judge, Sam Neal, Jr., stated that

counties across Texas, particularly urban counties have the greatest problem of mental

health in their jails, of any county or any state in the United States and Nueces County is

like that. County Judge Neal went on to say that on any given day, we have about 900

prisoners in our jails and statistics say that 20 to 25 percent of jail inmates have mental

problems that indicate that they do not belong in jail; they belong in a treatment facility.

However, despite this issue being a longstanding well-known problem, Nueces County did




15
     See Carrillo v. Buendia, et al, Civil Action No. 2: 20-cv-00028, Order on Motion to Dismiss, page 8.
                                                             53
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 54 of 149




not make a separate treatment facility available for mentally ill inmates such as Mr.

Johnson.16

        105. At the time of Mr. Johnson’s death, Nueces County, Texas and the Nueces

County Jail, through their final policymakers, the Nueces County Commissioners, Nueces

County Judge and Nueces County Sheriffs had a policy of housing mentally ill inmates

with the general population.

        106. Also, the Nueces County Jail had a policy, pattern and practice of not

complying with the legal requirements under the Sandra Bland Act, Texas Code of

Criminal Procedure Art. 16.22. Early identification of defendant suspected of having

mental illness or intellectual disability relevant to inmates at the Nueces County Jail,

including Mr. Johnson, by failing to have the inmate timely and properly evaluated for

mental health conditions and by failing to provide required notices to the magistrate which

denied him protections and rights under the Act.

        107. The policy, practice and custom of receiving, housing, and handling mentally

ill inmates at the Nueces County jail in the same manner as mentally healthy inmates did

not change until a new policy was adopted by the Nueces County Commissioners Court in

September 25, 2019 with an emphasis on “jail diversion.” According to the Corpus Christi

Caller Times, “Jail diversion services will include pre- and post-booking services that will

identify people with mental health and substance abuse issues, the agreement states.



16
  March 14, 2018 Nueces County Commissioners Court – Regular Meeting Minutes; Carrillo v. Buendia, et al, Civil
Action No. 2: 20-cv-00028, Order on Motion to Dismiss, page 8.
                                                      54
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 55 of 149




Officials will then redirect them from jail to treatment and support services, the agreement

states. Jail diversion will also include a crisis intervention services that aim to conduct a

pre-booking assessment to direct people to services they may need before they are taken to

jail, the agreement reads.” This policy was adopted approximately 9 months after Mr.

Johnson’s death.

       108. A majority of the inmates that have died while in custody at the Nueces County

Jail since 2017 also have a history of mental health disabilities such as Mr. Johnson. These

statistics have occurred under the Health Services Agreement between Nueces County,

Texas and Wellpath LLC and its predecessor CCS. According to the Custodial Death

Reports filed by the Nueces County Sheriff’s Office with the Attorney General of Texas,

the last 7 out of 8 inmates that died in custody at the Nueces County Jail had a mental

health condition. Those inmates are:

                     Decedent Inmate’s Name              Date of Death

                     Cristobal Flores                    09/20/2017
                     Danny Carrillo                      03/05/2018
                     David L. Gomez                      07/25/2018
                     David Johnson                       12/15/2018
                     Anthony Thompson                    09/04/2019
                     Maria I. Cabrera                    02/06/2020
                     Mohammed Sahi                       04/26/2020

       109. These statistics support that Nueces County, Texas and the Nueces County Jail

did not have policies in place to take appropriate action to identify, adequately treat and

house inmates with mental health conditions such as Mr. Johnson.


                                             55
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 56 of 149




       110. What is also disturbing is that despite the fact that the Custodial Death Report

requires a disclosure of whether or not the inmate had a mental health condition, the Nueces

County Sheriff’s Office left this portion of the form blank in all reports filed from August

6, 2005 through June 20, 2016, which are the following Custodial Deal Reports filed with

the Attorney General of Texas:

                     Decedent Inmate’s Name              Date of Death

                     Mark D. Golding                     08/06/2005
                     Santos Guajardo                     02/08/2006
                     Howard E. Eller                     06/08/2008
                     Roberto R. Garcia                   08/31/2008
                     William A. Evans                    02/16/2009
                     Samuel Salazar                      02/07/2010
                     Kathy M. Castillo                   07/03/2010
                     Dennis Bridges                      01/06/2011
                     Gregory Cheek                       02/07/2011
                     Cruz Clark                          09/08/2011
                     John R. Wallace                     04/02/2013
                     Samuel E. Toomey                    09/19/2014
                     Pedro Quiroz                        07/24/2015
                     Steven R Maldonado                  09/16/2015
                     Gregg O. Dentler                    04/21/2016
                     Santos Mungia                       06/20/2016

       111. Again, these statistics support that Nueces County, Texas and the Nueces

County Jail did not have policies in place to take appropriate action to identify, treat and

house inmates with mental health conditions and the failure to have these policies in place

lead to the custodial deaths of mentally disabled inmates.

       112. Nueces County has also been on notice of the problem with housing mentally

ill inmates with the regular jail population. For example, in an August 2020 Order, the trial

                                             56
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 57 of 149




court in Armando Carrillo, et al, v. Oliver Buendia, Nueces County, Texas et al, Civil

Action 2:20-cv-00028, In the United States District Court, Southern District of Texas,

Corpus Christi Division, Order on Motion to Dismiss, DE 70, pages 43-44, Judge Nelva

Gonzales Ramos wrote relevant to this issue wrote: “For instance, in Green v. Nueces

County, Texas, Civ. A. No. C-09-316, (S.D. Tex. Mar. 15, 2010), the court recites four

instances of improper treatment of the same mentally ill inmate: (1) an unprovoked beating

and tasing in the jail; (2) being forced to spend three days in his cell without his clothes;

(3) another series of beatings over two days associated with a court appearance; and (4)

trying to prevent the inmate’s mother from seeing him while he was hospitalized. In Cheek

v. Nueces County, Texas, Civ. A. No. 2:13–CV–26, 2013 WL 4017132 (S.D. Tex. August

5, 2013), there were also four instances of improper treatment: (1) the mentally ill inmate

was denied prescribed anti-psychotic medication; (2) he was denied visitation by his

mother because he could not remember her date of birth; (3) his physical illness was left

untreated as it was blamed on his psychotic behavior rather than on the infection he was

suffering; and (4) the denial of his psychiatric medications made him incapable of

communicating his physical complaints, even after it was clear that medical staff needed

his account of his symptoms. The Cheek opinion put the County on notice that the pleading

of a claim for unconstitutional conditions facing inmates with psychiatric illnesses could

be sustained under Monell. Yet five years later, the same policy was in place, not decried

by the policymakers until days after Carrillo’s death. Without determining whether these


                                             57
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 58 of 149




facts are sufficient to sustain liability after trial, the Court finds them sufficient to state a

plausible claim of a policy maintained with deliberate indifference at the pleading stage.”

        113. The Court in Armando Carrillo, et al, Order on Motion to Dismiss, DE 70,

page 42, further wrote, “This policy is alleged to be widespread in that it affects conditions

of confinement and vulnerability to excessive force applicable to 20 to 25 percent of the

jail population. Such persons have medical needs that cannot be adequately addressed in

the County jail. And this is the case regardless of whether the policy regularly manifests in

situations sufficient to give rise to justiciable claims of excessive force or failure to provide

medical care.17 That is the import of the policymakers’ alleged admissions: there was a

widespread policy of unconstitutional conditions of confinement (particularly lack of

mental health medical care) that set the stage for occasional, but significant, personal injury

and death from excessive force.”

        114. Nueces County, Texas has been aware of prior constitutional violations based

upon the Carrillo, Green and Cheek cases cited above. The existence of prior constitutional

violations supports deliberate indifference relevant to causation or the “moving force” of

the policy. In the present case, Mr. Johnson was placed in general population, where there

is insufficient medical monitoring, treatment and protection of his physical and mental

conditions. Nueces County, Texas, Nueces County Jail and Wellpath LLC were aware



17
  FN9 of the Order, “Plaintiffs do not need to identify numerous similar cases to demonstrate a practice or custom so
widespread as to constitute policy because the admissions already satisfy that issue. Rather, the existence of prior
cases of constitutional violations—which need not be numerous—support the deliberate indifference relevant to
causation or the “moving force” of the policy.”
                                                          58
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 59 of 149




that Mr. Johnson had a mental health condition, schizoaffective disorder, depressive type,

and that he needed special treatment for that condition. In general population, the Nueces

County Jail correctional officers are not hired and trained to identify and handle the needs

of inmates with mental health conditions such as Mr. Johnson leaving them not only

lacking in medical, psychological and/or psychiatric services, but also placing these

vulnerable individuals in a position to be easy targets of violence, assaults, excessive force

and similar acts of violation of bodily integrity as were perpetrated by Defendants Zapata,

Fielder and Culp against Mr. Johnson. Mr. Johnson was improperly treated by: (1)

repeatedly not being provided with adequate medical care for his mental health and medical

conditions when he refused his medication and was displaying problems associated with

his mental health conditions; (2) his privacy invaded by Defendants Zapata, Fielder and

Culp by without his consent by having his genitals and/or pubic area and/or anus and/or

buttocks photographed; (3) an unprovoked assault by Defendants Zapata, Fielder and Culp

causing serious injury and death; (4) being denied appropriate protection and adequate

medical care even though he yelled for help, was found with a wound to his head and he

was so weak that he could not stand on his own power; (5) being neglected by being left in

his jail cell to die, and (6), plead in the alternative, if Mr. Johnson had acute

bronchopneumonia, bilateral, he was denied medical care for this condition.

       115. The policy of Nueces County, Texas and the Nueces County Jail of housing

mentally ill inmates with the general jail population, without provisions for adequate

mental health care and without addressing the special needs and vulnerabilities to violence
                                              59
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 60 of 149




of such inmates. Nueces County is liable for the actions of its employee jailers who injured

and failed to provide appropriate mental health and medical care to Mr. Johnson leading to

his death because the events and conditions that resulted in his death were direct results of

the County’s 2018 policy, practice and custom of admitting mentally ill inmates and

housing and handling them in the same manner as the general jail population. The custom

or policy obviously existed, since a new policy replaced it in September 2019. The former

and current Nueces County Judge’s and Nueces County Sheriff’s own words prove the

prior custom was well known. The policy is the moving force for the constitutional

deprivations.

        VIII. NUECES COUNTY, TEXAS AND NUECES COUNTY JAIL’S
        POLICY, LONGSTANDING PRACTICE AND CUSTOM OF NOT
           HAVING ENOUGH INMATE BEDS IS A MOVING FORCE
           BEHIND DEPRIVATION OF CONSTITUTIONAL RIGHTS

       116. Another policy, longstanding custom and practice of the Nueces County Jail is

not having enough inmate beds at the Nueces County Jail which is a moving force behind

deprivations of constitutional rights. Inmate beds include a classification system that

determines who get beds and where the beds are located.

       117. Former Nueces County Sheriff Jim Kaelin in a July 31, 2018 interview with

KRIS 6 News stated that inmate overcrowding at the jail is nearing a crisis point. Sheriff

Jim Kaelin stated that the classification system that determines who gets beds is a

contributing factor. In July 2018, the Nueces County Jail reached 97% capacity. KRIS 6

News reported that former Sheriff Jim Kaelin stated that jail overcrowding is a consistent

                                             60
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 61 of 149




problem and it's one that county can't ignore. Sheriff Kaelin said to lock down a solution

the county needs to financially commit to expanding the jail. The county jail is consistently

overcrowded with 1068 beds, but it gets very complicated when you get involved with jail

standards. That's because beds are assigned based on how an inmate is classified. That

classification determines where they are housed. This is for their protection. Sheriff Jim

Kaelin stated in the interview, “We run out of places to put people because one

classification area may be full just like the jail population.” This problem has been building

up over decades. Sheriff Kaelin continued, “This county hasn't really added any beds since

1991. In those more than 20 years, the community has grown. but you have to add more

beds to keep up with your growth.” Sheriff Kaelin stated, “we have to add more beds, then

we wouldn't be in bad shape. Now. It's just a matter of saying we must start. Well, nobody

started.”

       118. In regard to inmate classification referenced by former Nueces County Sheriff

Kaelin, 37 Tex. Admin. Code § 271.1 states:

       (a) Each sheriff/operator shall develop and implement an objective
       classification plan approved by the Commission by January 1, 1997. The plan
       shall include principles, procedures, instruments and explanations for
       classification assessments, housing assignments, reassessments and inmate
       needs. Plans utilizing an approved objective classification system shall be
       submitted and approved by the Commission. The following principles and
       procedures shall be addressed:

              (1) inmates shall be classified and housed in the least restrictive
              housing available without jeopardizing staff, inmates or the public,
              utilizing risk factors which include any or all of the following:

                     (A) current offense or conviction;
                                              61
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 62 of 149




               (B) offense history;
               (C) escape history;
               (D) institutional disciplinary history;
               (E) prior convictions;
               (F) alcohol and/or drug abuse; and
               (G) stability factors.

        (2) classification criteria shall not include race, ethnicity or religious
        preference;
        (3) custody levels and special housing needs shall be assessed to
        include minimum, medium and maximum custody levels and the
        placement and release of inmates to and from special units including
        protective custody, administrative separation, disciplinary separation
        and mental and medical health housing including known pregnant
        inmates;
        (4) minimum and maximum custody level inmates shall be housed
        separately. All other custody level inmates should be housed
        separately. When under direct, visual supervision, inmates of different
        custody levels may simultaneously participate in work and program
        activities;
        (5) juveniles shall be separated by sight and sound from adults in
        accordance with the Family Code, §51.12;
        (6) female inmates shall be separated by sight and sound from male
        inmates. When under direct, visual and proximate supervision, males
        and females may simultaneously participate in work and program
        activities;
        (7) when housed together and separately from all other inmates,
        contracted TDCJ-ID and federal inmates may be classified solely by
        approved TDCJ-ID and federal classification policies and procedures,
        respectively. Housing units for contracted TDCJ-ID and federal
        inmates shall be approved by TDCJ-ID and federal officials,
        respectively, to ensure that the inmates' custody level does not exceed
        the construction security level of the assigned housing;
         (8) the following shall apply to prisoners in transit:
                   (A) an inmate is a prisoner in transit if the agency charged
                with the custody of the inmate is transporting the inmate from
                one jail or detention facility to another jail or detention facility;
                   (B) when housed together and separately from all other
                inmates, prisoners in transit transported by another agency may
                be temporarily housed in a facility if the transporting agency

                                         62
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 63 of 149




                provides a written statement that the prisoners can be safely
                housed together;
                   (C) when housed they shall be confined in maximum
                construction level housing;
                   (D) females shall be separated by sight and sound from
                males;
                   (E) observation shall be performed at least every 30 minutes;
                   (F) they shall not be held in a facility for more than 48
                consecutive hours;
                   (G) the facility providing temporary housing is not required
                to check prisoners in transit against the Department of State
                Health Services' CCQ system to determine if the prisoner has
                previously received state mental healthcare; and
                   (H) a transporting agency may include a private correctional
                company engaged in the transportation of prisoners;
        (9) persons assigned to a detoxification cell shall be transferred to a
        housing or holding area as soon as they can properly care for
        themselves;
        (10) the status of persons confined to a violent cell shall be reassessed
        and documented at least every 24 hours for continuance of status;
        (11) inmates who require protection or those who require separation
        to protect the safety and security of the facility may be housed in
        administrative separation. The status of inmates placed in
        administrative separation shall be reviewed and documented at least
        every 30 days for continuance of status. Inmates housed in
        administrative separation shall retain access to services and activities,
        unless the continuance of the services and activities would adversely
        affect the safety and security of the facility; and
        (12) single cells may be utilized for disciplinary or administrative
        separation. Inmates in administrative separation shall be provided
        access to a day room for at least one hour each day. Inmates in
        disciplinary separation shall be provided a shower every other day.

  (b) The following classification procedures shall be conducted utilizing the
  approved classification instruments.

        (1) Intake Screening. To be completed immediately on all inmates
        admitted for purposes of identifying any medical, mental health or
        other special needs that require placing inmates in special housing
        units;

                                       63
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 64 of 149




              (2) Initial Custody Assessment. To be completed on all newly
              admitted inmates prior to housing assignments to determine custody
              levels.
              (3) Custody Reassessment/Review. A custody reassessment shall be
              conducted within 30 - 90 days of the Initial Custody Assessment and
              immediately upon any disciplinary action and/or change in legal status
              which would affect classification. A documented classification review
              to determine the necessity for a complete reassessment shall be
              conducted every 30 - 90 days thereafter.

       (c) A Needs Assessment Instrument may be used to assess the needs and
       qualifications of inmates for participation in vocational, educational, mental
       health, substance abuse and other treatment or work programs.

       119. In regard to 37 Tex. Admin. Code § 271.1(a)(3), neither the Nueces County

Commissioners Court and Nueces County Judge funded nor did the former Nueces County

Sheriff Kaelin and Defendant Sheriff Hooper implement a plan to establish appropriate

mental and medical health housing.

       120. The policy, longstanding practice and custom of not having enough inmate beds

to serve all inmate classifications, including inmates with medical and mental health

problems such as Mr. Johnson, is a moving force behind the deprivation of the

constitutional rights of Nueces County Jail inmates, including Mr. Johnson. This policy,

longstanding practice and custom results in inmates with mental health disabilities such as

Mr. Johnson being placed in regular population where correctional officers and other staff

are not trained to handle the special medical and other needs of individuals with mental

health disabilities. Further, it places inmates such as Mr. Johnson in a vulnerable position

to be the victim of violent acts constituting unconstitutional punishments and violations of

bodily integrity in violation of the Fourteenth Amendment to the United States
                                             64
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 65 of 149




Constitution. Also, this policy denies adequate medical and mental health care required by

law to inmates.

       121. By the Nueces County Commissioners Court and Nueces County Judge not

providing appropriate funding to have enough inmate beds to serve all inmate

classifications, including inmates with medical and mental health problems, such as Mr.

Johnson, this intentional lack of funding and lack of adopting a policy shows "deliberate

indifference" to the obvious consequence of the policymakers' choice, and it is the moving

force behind a deprivation of constitutional rights directly causing injury to inmates with

mental health conditions including Mr. Johnson. By failing to provide appropriate inmate

housing for inmates with medical and mental health conditions, Nueces County, Texas and

Nueces County Jail chose to leave this vulnerable inmate population open to violence from

corrections officers and other inmates resulting in constitutional violations.         The

deprivation of constitutional rights being a violation of an inmate’s constitutional rights

under §1983 - Fourteenth Amendment (Excessive Force - Pretrial Detainee); 42 U.S.C.

§1983 - Fourteenth Amendment (Bodily Integrity); 42 U.S.C. §1983 - Fourteenth

Amendment (Inadequate Medical Care or Conditions of Confinement -Pretrial

Detainee); and 42 U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial

Detainee/Episodic Acts).




                                            65
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 66 of 149




          IX. NUECES COUNTY, TEXAS, NUECES COUNTY JAIL,
          DEFENDANT SHERIFF HOOPER, INDIVIDUALLY, AND
        WELLPATH LLC FAILED TO PROPERLY AND ADEQUATELY
           HAVE AND ENFORCE POLICIES AND PROCEDURES
        MANDATED BY THE TEXAS COMMISSION JAIL STANDARDS
        FOR APPROPRIATE MEDICAL CARE INCLUDING MENTAL
          HEALTH AND ACUTE AND EMERGENCY SITUATIONS

           A. Nueces County, Texas Contracted with Correct Care Solutions,
                  which Later Became Wellpath, for Nueces County
                                Inmate Medical Care

       122. On December 1, 2015, the Nueces County Commissioners Court and Nueces

County Judge entered into a Heath Services Agreement with Correct Care Solutions for

Medical Services for Inmates at Jail Facilities and Residents at the Juvenile Center.

(Nueces County, RFP No. 2993-15).

       123. CCS took over Nueces County Jail inmate care services on or about December

1, 2015.    Nueces County Commissioners, Nueces County Judge and former Nueces

County Sheriff Kaelin actively participated in the investigation, selection and negotiation

process awarding CCS the contract. The Health Services Agreement specifically provided

for the delivery of reasonable and necessary medical, mental health, nursing, dental care,

and related supporting services to all inmates at the Nueces County Jail facilities, including

work release inmates, in the custody of the County Sheriff, and to provide for the medical

and mental screening of all persons brought to the facilities for booking.

       B. Health Services Agreement is a policy of Nueces County, Texas and
       Wellpath which is inadequate to address inmate mental health, medical
                  care and acute and emergency health situations

       124. Section 1.2 of the Health Services Agreement states:
                                             66
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 67 of 149




      1.2 Scope of General Services. The responsibility of CCS to deliver
      reasonably necessary health care services to an inmate commences with the
      physical placement of an inmate into the Facilities, which is considered the
      official booking. CCS shall provide health care services for all inmates,
      including Work Release Inmates. CCS shall provide, twenty four (24) hours
      a day, seven (7) days a week, at full staffing, all professional medical, dental,
      mental health, and nursing, allied health, administrative, and support services
      as described in Appendix A. CCS's services shall include but are not limited
      to (i) intake medical and mental health assessments, health care services for
      chronic, infirmary, and sick call care, routine and preventive care, including
      health assessments, and acute and emergency care; (ii) laboratory, radiology,
      pharmacy, physical therapy, and other supporting ancillary services and
      supplies; (iii) other related non-ancillary support services; and (iv) related
      technical and administrative services for all inmates under the custody and
      control of the County Sheriff at the Facilities.

      CCS shall provide the services specified herein, which shall constitute
      reasonable health care services in accordance with the standards and/or
      requirements promulgated by (i) the National Commission on Correctional
      Health Care relating to health services in jails (hereinafter referred to as the
      "NCCHC"); (ii) the American Correctional Association relating to health
      services (hereinafter referred to as the "ACA"), and (iii) Texas
      Administrative Code Title 37, Part 9, Chapter 273, (the Texas Commission
      on Jail Standards related to health services) and any other applicable state
      and federal statutes, including any other applicable Order of a Court.

      125. Nueces County, Texas retained control over CCS’ employees, later Wellpath’s

employees, in Section 2.4 of the Health Services Agreement:

      2.4 County's Satisfaction with HealthCare Personnel. If County should
      become dissatisfied with any health care personnel provided by CCS, County
      will give written notice to CCS of its reasons for dissatisfaction, except as
      noted in Article 2.4(A), below. CCS agrees to cooperate with the County
      Sheriff and respond to inquiries or complaints about its personnel, including
      lack thereof, or contractors in a timely manner, should the County Sheriff
      have security or other concerns about CCS's employee's and/or contractors'
      fitness or ability to perform at the Facilities. CCS will exercise its best efforts
      to resolve the problem or other concerns, including lack of personnel. And,
      if the problem involving fitness or ability is not resolved, CCS will remove

                                              67
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 68 of 149




       the individual according to CCS's personnel policy or independent contractor
       agreement.

               A. All CCS personnel, subcontractors, and agents shall meet
               minimum standards as determined by the County prior to receiving a
               security clearance to enter the Facilities. If, at any time during the
               course of their employment or contract engagement, any CCS
               employee or subcontractor engages in conduct (either on or off duty)
               which threatens the security of the Facilities or would otherwise
               render that person ineligible for a security clearance, notwithstanding
               any other provision of this Agreement, County reserves the right to
               withdraw that person's security clearance and shall immediately notify
               CCS.

               B. Initial and continued assignment of staff and subcontractors by
               CCS shall be subject to approval of the County. All persons employed
               by CCS or its subcontractors shall not be deemed to be the employees
               of County by reason of any provision of this Agreement.

               C. CCS shall continuously maintain personnel files (or copies thereof)
               of all employees assigned to the Facilities.

       126. The staffing plan under the Health Services Agreement included attachments

which identified the specific staffing required and agreed by both parties as acceptable

levels. The Health Services Agreement is detailed as to specify the position, days of the

week, shift and number of hours that each Wellpath position would work at the Nueces

County Jail.

       127. The Health Services Agreement between Nueces County, Texas and Wellpath

represents the official policy of both of these entities as it was negotiated and signed by the

final policymaking officials representing Nueces County, Texas, the Nueces County Judge,

and Wellpath LLC, CEO, each agreed to and entered into the contractual terms.


                                              68
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 69 of 149




       128. Defendant Nueces County, Texas and Defendant Wellpath maintained a policy

of not having an appropriate level of medical staff on duty to handle acute and emergency

medical situations; not including an on-duty jail supervisory staff with authority to transfer

an inmate to a medical facility and a policy of inadequate monitoring of pretrial detainees

which amounted to a denial of medical care. Also, Defendants Nueces County and

Defendant Wellpath maintained a policy of failing to provide training to employees to

recognize when and how adequate medical care should be administered to inmates such as

Mr. Johnson. The Health Services Agreement omitted training of employees related to

inmate healthcare, but it did contain a provision related to privacy and security training –

supporting that healthcare was intentionally omitted by the parties. These policies are

supported by the terms of the Health Services Agreement and its amendments entered into

by the final decisionmakers for the parties.

       129. In reviewing this information and considering the adequacy of the staffing, it

is important to keep in mind that Former Nueces County Judge Sam Neal, Jr. stated that

“we have about 900 prisoners in our jails and statistics say that 20 to 25 percent of jail

inmates have mental problems.” This means that, on average, between 180 to 225 Nueces

County Jail inmates at any given time are incarcerated and need mental health and medical

care. This number does not consider non-mental health care. Also, many of the inmates

with mental health problems are incarcerated specifically because they are experiencing

mental problems and need to see a physician and psychiatrist.


                                               69
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 70 of 149




                   C. Staffing Plan is inadequate to meet inmate
                       mental health and medical care needs

      130. The Staffing Plan attached and incorporated into the Health Services

Agreement reads:




                                        70
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 71 of 149




      131. The Staffing Plan only provides for a Physician/Medical Director for 4 hours

on Tuesdays and Thursdays; a Psychiatrist for 5 hours on Tuesdays; and a Mental Health

Nurse Practitioner for 8 hours on Tuesdays. This staffing level is clearly insufficient to

provide adequate medical and mental health care to the Nueces County Jail inmate

population, including Mr. Johnson. The policy of understaffing for these positions is a

moving force behind the constitutional deprivations by Defendant Nueces County, Texas

and Defendant Wellpath LLC under 42 U.S.C. §1983 - Fourteenth Amendment

(Inadequate Medical Care or Conditions of Confinement -Pretrial Detainee); and 42

U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic Acts).

                    D. Compensation is inadequate to meet inmate
                        mental health and medical care needs

      132. The compensation under the Health Services Agreement paid by Nueces

County, Texas to CSS, later Wellpath LLC, is:

       • Initial Three-Year Agreement Term (three [3] years beginning December
      1, 2015 through November 30, 2018): $9,547,446 to be paid in equal monthly
      installments of $265,206.83.

      • Optional Year Four Term (one [1] year beginning December 1, 2018 and
      ending November 30, 2019): $3,339,556 to be paid in equal monthly
      installments of $278,296.33.

      • Optional Year Five Term (one [1] year beginning December 1, 2019 and
      ending November 30, 2020): $3,504,484 to be paid in equal monthly
      installments of $292,040.33.

Both Defendant Nueces County, Texas and Defendant Wellpath LLC knew that these rates

are inadequate to pay for necessary mental health and medical care for the inmate

                                            71
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 72 of 149




population of the Nueces County Jail. Further, Wellpath LLC has a policy, practice and

custom of not providing higher levels of medical and mental health care in order to

maximize their profits. This policy, practice and custom is a moving force behind the

constitutional deprivations by Defendant Nueces County, Texas and Defendant Wellpath

LLC under 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate Medical Care or

Conditions of Confinement -Pretrial Detainee); and 42 U.S.C. §1983 - Fourteenth

Amendment (Medical Care - Pretrial Detainee/Episodic Acts).

                    E. Amendments to Health Services Agreement

       133. Amendment No. 1 to the Health Services Agreement was entered into on

August 22, 2018 and it provided that the parties mutually agree: (1) To exercise the renewal

option of one (1) year as set out in Article 7.1 of the Agreement extending the termination

date of the Agreement to November 30, 2019. (2.) All other provisions of Agreement shall

remain the same. (Nueces County, RFP No. 2993-15).

       134. Amendment No. 2 to the Health Services Agreement was entered into on

March 27, 2019 and it provided that the parties mutually agree: (1.) Any reference to

Correct Care Solutions, LLC will now be changed to Wellpath LLC.; and (2.) All other

provisions of Agreement shall remain the same. (Nueces County, RFP No. 2993-15).

       135. Amendment No. 3 to the Health Services Agreement was entered into on or

about December 4, 2019 and it provided that the parties mutually agree: (1) To exercise

the renewal option of one (1) year as set out in Article 7.1 of the Agreement extending the


                                             72
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 73 of 149




termination date of the Agreement to November 30, 2020; and (2) All other provisions of

Agreement shall remain the same.

                  F. Wellpath’s History of Inadequate Medical Care

       136. According to an article, Please Help Me Before it is Too Late, by Blake

Ellis and Melanie Hicken, CNN, Published June 25, 2019, “after being acquired by a

multibillion-dollar private equity firm and combined with a smaller competitor, Wellpath

is the nation’s largest for-profit provider of health care to correctional facilities. The

company has won government contracts that span more than 500 facilities in 34 states. It

promises to provide better services than its competitors and to save agencies money while

doing it. But internal documents and emails, medical records, autopsy reports, audits,

interviews with more than 50 current and former employees and scathing correspondence

from government clients show that amid a focus on “cost containment” and massive

corporate growth, the company has provided substandard care that has led to deaths and

other serious outcomes that could have been avoided. CNN’s investigation looked at

complaints and problems at nearly 120 locations in 32 states.”

       137. The CNN article also reports, “Based in Nashville, the company oversees the

medical treatment of inmates at facilities including small county jails, sprawling state

prisons and juvenile and immigrant detention centers. It is responsible for around 300,000

people in custody every day, including more than 6,000 juveniles, and it is projected to

bring in $1.5 billion in annual revenue.”


                                            73
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 74 of 149




      138. Before the Nueces County Commissioners and Nueces County Judge decided

to extend the Health Services Agreement and prior to each renewal and amendment, each

knew or had reasonable available to them that CCS, later Wellpath, is known to provide

constitutionally inadequate medical care. A few examples of publicly available information

about CCS’ and Wellpath’s constitutionally inadequate medical care are:

      a. lawsuits filed between 2014 and 2018 found that CCS, now Wellpath, has
      been accused of contributing to more than 70 deaths.

      b. According to an article, The Private Option, written by Marsha McLeod
      and published in The Atlantic on September 12, 2019, Wellpath’s
      predecessor, Correct Care Solutions, had been sued at least 1,395 times in
      federal courts over the past decade citing a document published by the Project
      on Government Oversight.
      c. “Please help me before its to(o) late,” wrote 60-year-old Henry Clay
      Stewart from the Hampton Roads Regional Jail in Virginia in 2016 to CSS.
      Stewart reported abdominal pain, blackouts and an inability to keep down
      food or water. He asked to see a doctor or nurse “ASAP” and begged to be
      sent to the emergency room. Mr. Stewart died on August 6, 2016, of what
      later was found to be bleeding from a perforated stomach ulcer.
      d. “Help, I am very sick,” wrote Jeff Lillis to CSS who was booked into
      Colorado’s Arapahoe County jail in 2014. The 37-year-old, who had a
      history of drug- and theft-related charges, was never seen by a doctor. He
      died in a pool of blood and vomit. An autopsy showed he died of sepsis after
      a case of pneumonia became so severe that his left lung nearly doubled in
      weight from the infection.
      e. In a March 25, 2016 communication, Pierce County, Washington, Office
      of the Prosecuting Attorney, wrote that it terminated its contract with CSS
      after less than two years called the company’s performance “morally
      reprehensible and left the County open to lawsuits.” The letter was to both
      CSS and Conmed. CCS acquired Conmed in 2012.




                                            74
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 75 of 149




  f. In a May 23, 2018 communication, Clarke County Washington Sheriff’s
  Office, Commander Mike Anderson wrote:




  g. In a March 2, 2016 email, Charles Adams, the Jail Administrator of Collin
  County, Texas wrote about CSS:




  h. In a 2015 report from the New York State Commission of Corrections,
  “McNulty’s complaints of chest pain were mismanaged by nursing staff from
  [CSS], resulting in a 90 minute delay in receiving physician ordered
  treatment…had McNulty been given appropriate emergency medical care
  and sent to a hospital in a timely manner his death may have been prevented.”
  i. In 2016, a jail sergeant in Illinois told investigators that she was about to
  call an ambulance for 59-year-old Paul Clifton Jr., who had been having
  difficulty breathing, when CCS employees said his condition had improved
                                        75
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 76 of 149




  and that it was unnecessary to send him out. His blood pressure remained
  dangerously high and he complained of chest pains, but an ambulance still
  wasn’t called until he was unresponsive. The man died around 32 hours after
  entering the jail.
  j. An autopsy report determined that the 2013 death of a 37-year-old woman
  housed in the City of Las Vegas Detention Center was a “Medical Diagnostic
  Misadventure or Avoidable Accident.” The report said she died from a severe
  complication of diabetes, calling it an “expected and foreseeable risk” and
  stating a diabetes diagnosis should have been made. CCS said in a court filing
  that there was no evidence its employees actually knew the woman had
  diabetes, but the medical examiner said in a deposition that he reviewed CCS
  records that included this fact.
  k. A coroner’s report stated that a 38-year-old man committed to the
  Columbia Regional Care Center, a South Carolina psychiatric facility, died
  in 2017 of “acute mixed drug toxicity” after records show CCS employees
  had given him a dangerous cocktail of drugs. The “level of medications”
  found in his system, according to the coroner’s report, “would cause death.”
  CCS said in court documents that its employees “exercised that degree of
  skill and care required of them by law at all times.”
  l. A judge in Tennessee released inmates from the Silverdale Detention
  Center who he believed were not receiving adequate treatment from CCS.
  This included a man who said his cancer wasn’t being treated and that he was
  only receiving Tylenol for an injury that left a bone protruding from his
  shoulder. “I think the medical care that you’ve been receiving at Silverdale,
  for reasons I don’t understand, is inexcusable,” the judge told the inmate in
  court in 2017, according to a transcript. CoreCivic, which operates the jail,
  didn’t comment on specifics but said it “is committed to providing high-
  quality healthcare to those entrusted to our care.”

  n. In a deposition in a South Carolina lawsuit, a CCS medical director at
  Richland County’s Alvin S. Glenn Detention Center, where employees
  waited days to send a badly-injured inmate to the emergency room, said in
  2014 that the company made it clear that employees who “run up the tab”
  wouldn’t be around very long. He said there was pressure on him from both
  the county and CCS to limit emergency room transfers because of the “severe
  expense” involved -- regardless of who had to foot the bill. The company
  said there was no reason for physicians to feel this kind of pressure, since it
  purposely does not share details of financial arrangements with providers. It
  also said that the majority of its nearly 15,000 employees do not feel this

                                        76
Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 77 of 149




  way. The county didn’t comment on the doctor’s statement but said
  “detention center employees follow medical instructions from the facility’s
  medical providers.”

  o. After inspecting an immigrant detention center in Adelanto, California,
  where CCS was the provider, a Department of Homeland Security watchdog
  found that detainees did not “have timely access to proper medical care.”
  According to the September 2018 report, detainees said they had not been
  seen for months or received their medications and doctors were indicating
  they had seen patients they didn’t actually visit. US Immigration and
  Customs Enforcement, which oversees the facility, said at the time that it
  takes the findings seriously and would be conducting a review to ensure
  standards are now being met.

  p. Within a period of 24 days in May 2017, two men died in Forsyth County
  Georgia’s jail. Deshawn Lamont Coley had made written requests begging
  for his asthma inhaler and Correct Care Services failed to get him medical
  treatment. However, those requests were denied and he died from
  complications from asthma. The second, Stephen Antwan Patterson, was
  found without a pulse about a week after he was booked and Correct Care
  Services failed to treat his high blood-pressure. Previously, two legal
  settlements were reached—one for $180,000, and the other for an
  undisclosed amount, about six months earlier, according to the Triad City
  Beat—in the deaths of two other inmates, Dino Vann Nixon in 2013 and
  Jennifer McCormack Schuler in 2014. Diane Nixon filed a lawsuit on July
  31, 2015, in Forsyth Superior Court against Correct Care Solutions LLC, the
  jail’s medical provider, several Correct Care employees and Forsyth County
  officials, including Sheriff Bill Schatzman. The lawsuit alleged that the jail’s
  medical doctors and nurses neglected the worsening physical condition of
  Nixon’s husband, Dino Vann Nixon, resulting in his death.

  q. In March 2015, Jennifer Lobato, 38, was suffering from heroin withdrawal
  when she was booked into the Jefferson County jail in Golden, Colorado for
  shoplifting. Though vomiting profusely, she was told she wouldn’t receive
  treatment until she cleaned up the mess she had made. About 20 minutes after
  her requests for medical care were ignored, her cellmate noticed she was no
  longer breathing. Ms. Lobato died of an easily-treatable electrolyte
  imbalance. Her family filed a lawsuit that named CCS, the jail’s privately-
  contracted medical provider, as a defendant.


                                        77
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 78 of 149




      139. The Nueces County Commissioners and Nueces County Judge decided to

renew the Health Services Agreement and each knew facts which support that CCS was

providing constitutionally inadequate medical care at the Nueces County Jail. In addition

to examples cited throughout this complaint, the following are additional examples:

      a. From the time that CCS took over the Heath Services Agreement in
      December 2015 until the time of Mr. Johnson’s death, the Nueces County
      Jail experienced a higher level of deaths than in preceding years. These
      deaths totaled 9 in less than a 32 month period and the inmates who died in
      custody during this time are:

      Decedent Inmate             Date of Death        Report of Post Mortem
                                                       Examination Status on
                                                       Custodial Death Report

      Gregg O. Dentler            04/21/2016           Pending
      Santos Mungia               06/20/2016           Pending
      Tami R. Bond                02/07/2017           Pending
      Gabriel Murrieta            04/20/2017           Pending
      Gabriel Trevino             12/05/2017           Pending
      Cristobal Flores            09/20/2017           Pending
      Danny Carrillo              03/05/2018           Yes
      David L. Gomez              07/25/2018           Pending
      David Johnson               12/15/2018           Yes, but not properly reported

      Of these 9 deaths, 7 of the deaths did not reveal the results of an autopsy on
      the Custodial Death Report and merely recited that the results were pending.

      b. On 12/5/2017 at approximately 0035 hours, Officer Austin Wood
      conducted a security check of the Infirmary (Unit 3R) of the Nueces County
      Jail. When he checked on Cell #5, Officer Wood observed Inmate Gabriel
      Trevino, a 32 year old male, kneeling adjacent to his bed with his head face
      down on the mattress. Officer Wood knocked on the cell door several times,
      but Inmate Trevino did not respond. Officer Wood called a Signal 35U
      (Inmate Down -Unknown) via radio. Security and Medical staff arrived at
      approximately 0043 hours. Medical personnel began chest compression after
      they were unable to find a pulse. 911 was contacted, and paramedics arrived
      on scene at approximately 0052 hours and began to administer aid but were
                                            78
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 79 of 149




      unsuccessful. At approximately 0113 hours, Inmate Trevino was pronounced
      dead from hospital staff via telephone. Paramedics departed for the hospital
      with Inmate Trevino at approximately 0135 hours. Medical cause of death
      unknown/pending.

      c. On March 5, 2018, Danny Carrillo, died of a heart attack after Nueces
      County Jailers used a stun gun on him. Mr. Carrillo had mental problems
      which included schizophrenia, major depression, anxiety disorder, and
      bipolar disease for which he did not receive adequate medical care which
      resulted in his death. A lawsuit is pending styled Armando Carrillo v. Oliver
      Buendia, et al In the Southern District of Texas, Corpus Christi Division,
      Civil Action No: 2:20-cv-00028. Nueces County is a defendant in this
      lawsuit.

      d. In or about June 2018, Nueces County Jail inmate, Patrick Durkin, was
      experiencing psychiatric problems while in the Nueces County Jail. While
      in custody, Mr. Durkin had his hands handcuffed and he was taken to a
      suicide watch cell that is has a blind spot and the area is not visible on camera.
      Mr. Durkin was thrown on the ground resulting in his rib being broken.
      Defendant Zapata participated in the injury to Mr. Durkin. Nueces County
      failed to adequately treat Mr. Durkin for his mental health condition and
      broken ribs.

      e. On July 25, 2018 at 11:04 hours, unit officer checked on subject. David L.
      Gomez was unresponsive. Officer called for assistance, medical staff arrived
      and attempted to revive subject. EMS was contacted and arrived at 11:12
      hours. EMS was unsuccessful and subject was declared deceased at 11:20
      hours. The Medical Examiner's office and Texas Rangers were notified to
      perform a custodial death investigation. Mr. Gomez was 65 at the time of
      death. Mr. Gomez had mental health problems. The Custodial Death
      Report was filed on August 10, 2018 and states that the coroner results are
      pending.

      140. The Nueces County Commissioners Court, the Nueces County Judge, former

Nueces County Sheriff Kaelin Defendant Sheriff Hooper and Wellpath LLC were aware

that Wellpath LLC, formerly CCS, provided grossly deficient medical care in the past and

that Wellpath could not provide competent medical and mental health care to Nueces

                                             79
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 80 of 149




County Jail inmates at the rates under the Health Services Agreement and that the staffing

identified in that Agreement was inadequate. Despite this knowledge, the Nueces County

Commissioners Court, the Nueces County Judge, former Nueces County Sheriff Kaelin,

Defendant Sheriff Hooper and Wellpath LLC adopted a policy, practice and custom of

entrusting and accepting treatment of inmate’s serious medical and mental health

conditions to Wellpath LLC who employed insufficient numbers of medical and mental

health providers and provided this care in greatly insufficient dates and times to the inmate

population of the Nueces County Jail to meet their adequate medical and mental health care

needs.

         141. Defendants Nueces County, Texas, former Nueces County Sheriff Kaelin,

Defendant Sheriff Hooper, individually, and Wellpath LLC failed to properly and

adequately have and enforce policies and procedures mandated by the Texas Commission

on Jail Standards. Those state rules require jails to implement “procedures for efficient and

prompt care for acute and emergency situations.” 37 Tex. Admin. Code § 273.2. Defendant

Nueces County, Texas, through the Nueces County Commissioners Court and Nueces

County Judge, former Nueces County Sheriff Kaelin and Defendant Sheriff Hooper,

individually, selected and/or retained Wellpath LLC for the purpose of providing mental

health and medical care to the Nueces County Jail inmates. However, these final

policymaking officials knew that the Health Services Agreement with Wellpath LLC was

inadequate to provide adequate mental health and medical care because it was not specific

as to the requirements, policies and needs of inmates with mental health conditions and
                                             80
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 81 of 149




medical problems and it did not provide adequate funding, staffing, services, including

outpatient, acute and emergency care for inmates. Further, the Health Services Agreement

provided an incentive for Wellpath LLC not to provide adequate mental health and medical

care to inmates because of the method of compensation would provide a higher margin of

profit for Wellpath LLC by withholding services to inmates. Although Mr. Johnson had a

mental health condition, he neither saw a psychiatrist, physician nor had been provided

with appropriate housing and care for his mental health conditions. Further, Mr. Johnson

had cried for help, was bleeding from his head and could not stand, there was inadequate

medical care provided to him for his acute and emergency medical needs. Weak and unable

to stand, with his hands handcuffed behind his back, Mr. Johnson was simply returned to

his cell. Within a few hours, the injuries caused by the assaults by Defendants Zapata,

Fielder and Culp and the failure to provide adequate medical care for those injuries lead to

Mr. Johnson’s death. Plead alternatively under FRCP 8, if Mr. Johnson did in fact have

bronchopneumonia, bilateral, Defendants Zapata, Culp, Fielder, Nueces County, Texas,

Wellpath LLC, Peeler, Bocanegra, Roberson, and Flint failed to provide him with adequate

medical care for this medical condition resulting in his death. The failure to provide

adequate mental health care and medical care and to have policies and procedures for

efficient and prompt care for acute and emergency situations supports that Defendant

Nueces County, Texas, Defendant Sheriff Hooper, individually, and Wellpath had little

regard for the medical standards imposed by the state. The inadequate mental health care

and medical care for the injuries caused by the assaults resulted in Mr. Johnson’s death.
                                             81
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 82 of 149




The policies, customs and practices of Nueces County, Texas, Defendant Sheriff Hooper

and Wellpath were moving forces behind Mr. Johnson’s constitutional deprivation under

42 U.S.C. §1983 - Fourteenth Amendment (Inadequate Medical Care or Conditions of

Confinement-Pretrial Detainee); and 42 U.S.C. §1983 - Fourteenth Amendment (Medical

Care - Pretrial Detainee/Episodic Acts).

       142. Mr. Johnson’s case is not the first time that the Nueces County Jailed failed

to provide adequate medical care to an inmate which supports that Nueces County Jail has

a policy, longstanding practice and custom of failing to properly and adequately have and

enforce policies and procedures mandated by the Texas Commission on Jail Standards for

acute and emergency medical care. In a lawsuit, Adam A. Balle v. City of Corpus Christi,

et al, Civil Action 2:14-cv-00066, In the United States District Court, Southern District of

Texas, Corpus Christi Division, Mr. Balle sued Nueces County, Texas in federal court for

constitutional violations. Mr. Balle's amended complaint alleged that Nueces County failed

“to properly and adequately enforce policies and procedures mandated by the Texas

Commission on Jail Standards.” Balle v. Nueces County, Texas, 952 F.3d 552, 559 (Cir.

2017). Those state rules require jails to implement “procedures for efficient and prompt

care for acute and emergency situations.” 37 Tex. Admin. Code § 273.2. Id. The United

States Fifth Circuit Court of Appeals in reviewing a Motion to Dismiss on appeal noted

that Mr. Balle's allegations regarding the consistently slow and inefficient medical care he

received suggest that Nueces County had little regard for the medical standards imposed

by the state. Id. According to the amended complaint, when Mr. Balle soiled himself and
                                             82
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 83 of 149




was unable to clean himself, jail personnel merely took him to the showers and gave him a

change of clothes. No medical attention was provided at that time. Id at 560. The complaint

also indicates that when Mr. Balle subsequently complained he was unable to control his

bodily functions and was experiencing severe muscle spasms, he was not given medical

attention until the following day. Id. Even then, Mr. Balle was allegedly “[c]hecked” and

“cleared” by medical staff, and no further action was taken. Id. Finally, the complaint states

that when Mr. Balle complained that he was paralyzed and unable to walk, medical staff

“checked and cleared” him once again and simply reported that Balle was “refusing to

move.” Id. The Fifth Circuit found that the complaint in specific terms alleges that jail

personnel did not provide Mr. Balle with even minimally adequate medical care for his

acute and emergency needs and made little effort to transfer him to a hospital, despite his

numerous complaints that he was experiencing a medical emergency. Id. This pattern of

failures defied state law requiring that Nueces County implement procedures to efficiently

and promptly treat inmates during “acute and emergency situations.” Id. Reasonable

inferences can clearly be drawn that Nueces County had an unwritten policy or a

widespread practice that fairly represents municipal policy of consistent noncompliance

with required state medical standards and that this policy or practice of noncompliance was

the moving force behind the unconstitutional injuries—the Eighth Amendment

violations—inflicted upon Mr. Balle. Id. The amended complaint pleaded facts sufficient

to support a municipal liability claim that is plausible on its face. Id. The Fifth Circuit held


                                              83
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 84 of 149




that the district court erred in dismissing Balle's claims against Nueces County under Rule

12(b)(6). Id.

       143. Similarly to Mr. Balle’s case and the others cited, Mr. Johnson has stated facts

in this complaint in specific terms that jail personnel did not provide him with adequate

mental health and medical care for his acute and emergency needs, despite his yelling for

help, finding a wound on his head with blood, and his inability to stand on his own because

he was too weak. Plead alternatively under FRP 8, if Mr. Johnson had acute

bronchopneumonia, bilateral, there is no evidence that jail personnel provided him with

adequate care. This pattern of failures defied state law requiring that Nueces County and

Wellpath to implement procedures to efficiently and promptly treat inmates during “acute

and emergency situations.” Reasonable inferences can clearly be drawn that Nueces

County and Wellpath had an unwritten policy or a widespread practice that fairly represents

municipal policy of consistent noncompliance with required state medical standards and

that this policy or practice of noncompliance was the moving force behind the

unconstitutional injuries—the Fourteenth Amendment violations—inflicted upon Mr.

Johnson.




                                            84
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 85 of 149




           X. NUECES COUNTY JAIL AND WELLPATH’S POLICY,
            LONGSTANDING PRACTICE AND CUSTOM OF NOT
        ACCURATELY COMPLETING CUSTODIAL DEATH REPORTS
        FILED WITH THE ATTORNEY GENERAL OF TEXAS AND NOT
           COOPERATING WITH OUTSIDE INVESTIGATIONS IS A
        MOVING FORCE BEHIND CONSTITUTIONAL DEPRIVATIONS

       144. From April 21, 2016 through August 6, 2020, the Nueces County Sheriff’s

Office reported to the Attorney General of Texas, in 13 custodial deaths, an autopsy was

pending in 9 of the cases when the report was filed.

       Inmate Decedent             Date of Death       Report of Post Mortem
                                                       Examination Status on
                                                       Custodial Death Report

       Gregg O. Dentler            04/21/2016          Pending
       Santos Mungia               06/20/2016          Pending
       Tami R. Bond                02/07/2017          Pending
       Gabriel Murrieta            04/20/2017          Pending
       Gabriel Trevino             12/05/2017          Pending
       Cristobal Flores            09/20/2017          Pending
       Danny Carrillo              03/05/2018          Yes
       David L. Gomez              07/25/2018          Pending
       David Johnson               12/15/2018          Yes
       Anthony Thompson            09/04/2019          Yes
       Maria I. Cabrera            02/06/2020          Yes
       Mohammed Sahi               04/26/2020          Pending
       Theodore Allen              08/06/2020          Pending

       145. In Mr. Johnson’s case when the autopsy was completed by December 17, 2018,

the Custodial Death Report was not filed until January 23, 2019 and the report stated,

“Medical Cause of Death: Pending Autopsy.” This was not true as the Report of Post

Mortem Examination was completed on December 17, 2018 and the report determined that

Mr. Johnson’s manner of death was natural and the cause of death was acute

                                            85
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 86 of 149




bronchopneumonia, bilateral. The Nueces County Sheriff’s Office filed 4 different

Custodial Death Reports for Mr. Johnson with the Attorney General of Texas. The fact

that the Nueces County Sheriff’s Office is not accurate and intentionally withholding

clearly known information about the cause of death from the Post Mortem Examination

conducted by the Nueces County Medical Examiner in their reports of custodial deaths to

the Attorney General of Texas is aimed at covering-up and not reporting the true cause of

inmate deaths.

      146. The Nueces County Jail and Wellpath have a policy, longstanding practice and

custom of not accurately completing custodial death reports filed with the Attorney General

of Texas which show a deliberately indifferent attitude towards official misconduct. This

policy, practice and custom is a moving force in the constitutional deprivation of inmate

rights relative to violation of an inmate’s constitutional rights, including Mr. Johnson’s

rights, in violation of §1983 - Fourteenth Amendment (Excessive Force - Pretrial

Detainee); 42 U.S.C. §1983 - Fourteenth Amendment (Bodily Integrity); 42 U.S.C. §1983

- Fourteenth Amendment (Inadequate Medical Care or Conditions of Confinement -

Pretrial Detainee); and 42 U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial

Detainee/Episodic Acts) because it is part of a cover-up of these violations which allows

the constitutional violations to be condoned and continue.

      147. The Nueces County Jail has a policy, longstanding practice of responding to

outside investigators investigating Nueces County Jail inmate excessive force claims,

assault claims and/or deaths by providing inaccurate and/or omitting relevant information
                                            86
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 87 of 149




to outside investigators leading to inadequate investigations and findings calculated to

mislead the public and other law enforcement authorities and which show a deliberately

indifferent attitude towards official misconduct. This policy, practice and custom is a

moving force in the constitutional deprivation of inmate rights relative to violation of an

inmate’s constitutional rights, including Mr. Johnson’s rights, in violation of §1983 -

Fourteenth Amendment (Excessive Force - Pretrial Detainee); 42 U.S.C. §1983 -

Fourteenth Amendment (Bodily Integrity); 42 U.S.C. §1983 - Fourteenth Amendment

(Inadequate Medical Care or Conditions of Confinement -Pretrial Detainee); and 42

U.S.C. §1983 - Fourteenth Amendment (Medical Care - Pretrial Detainee/Episodic Acts)

because it is part of a cover-up of these violations which allows the constitutional violations

to be condoned and continue.

                                            XI. CAUSES OF ACTION

                           A. 42 U.S.C. §1983 - Fourteenth Amendment –
                               Excessive Force- Pretrial Detainees18

                                                1. Background

           148. Plaintiff incorporates by reference the allegations set-out in paragraphs 1 - 75

of this Complaint as if fully set-out herein.

           149. Plaintiff pleads this claim in the alternative as allowed under FRCP 8 to the

extent the facts of this claim and his other claims in this lawsuit are inconsistent.




18
     See Fifth Circuit Pattern Jury 10.7B
                                                     87
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 88 of 149




      150. Plaintiff brings claims for violations of his rights under 42 U.S.C. §1983 and

the Fourteenth Amendment (Excessive Force) — Pretrial Detainees against the following

Defendants:

      Employees of Nueces County, Texas who are individual defendants acting
      under color of state law for purposes of 42 U.S.C. § 1983: Javier Zapata, Jr.,
      in his individual capacity, William Fielder, in his individual capacity,
      Richard Culp, in is individual capacity

      Individual Defendant Policymaker and Supervisor who is an individual
      defendant acting under color of state law for purposes of 42 U.S.C. § 1983:
      John Chris Hooper, Nueces County Sheriff, in his individual capacity

      Defendant Municipality: Nueces County, Texas

      151. Section 1983 of the Civil Rights of 1871, 42 U.S.C. § 1983, prohibits any

person acting under color of state law from depriving any citizen or person of the rights,

privileges and immunities secured by the Constitution.

      152. Pretrial detainees, such as Mr. Johnson at the time of the events made the basis

of this lawsuit, are protected from excessive force by the Due Process Clause of the

Fourteenth Amendment. Cupit v. Jones, 835 F.2d 82, 84–85 (5th Cir. 1987). The United

States Supreme Court clearly established the law in Kingsley v. Hendrickson, 135 S. Ct.

2466, 2473 (2015), “that a pretrial detainee must show only that the force purposely or

knowingly used against him was objectively unreasonable.”

      153. At the time of the actions made the basis of this lawsuit, Mr. Johnson clearly

had rights under the Fourteenth Amendment to the United States Constitution from

excessive force from the acts of those “acting under color of state law.” At issue in this

                                            88
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 89 of 149




case are the assaults by Defendants Zapata, Fielder and Culp which caused serious bodily

injury to Mr. Johnson ultimately leading to his death.

          2. Claims against Individual Defendants Zapata, Fielder and Culp

       154. The assaults, actions and force purposely or knowingly used against Mr.

Johnson by Defendants Zapata, Fielder, and Culp, individually, were objectively

unreasonable as set out specifically in paragraphs 33-66 herein and their actions and

inactions were the proximate cause of Mr. Johnson’s injuries and death. These Defendants

do not have qualified immunity because the law related to excessive force under the

Fourteenth Amendment was clearly established at the time of the events made the basis of

this lawsuit.

       155. The actions of Defendants Zapata, Fielder and Culp, individually, are acts

under color of state law as they were correctional officers employed by Nueces County,

Texas and assigned to work at the Nueces County Jail.

       156. Mr. Johnson did nothing to invite or in any other manner give any legal

justification for the assaults and violations of excessive force that are raised in this lawsuit.

Defendants, Zapata, Fielder, Culp, intentionally assaulted Mr. Johnson without legal

justification causing him serious bodily injury ultimately resulting in death. The force each

used on Mr. Johnson was objectively unreasonable and a reasonable officer possessing

Defendants, Zapata, Fielder, Culp’s knowledge of the circumstances at the scene would

have viewed the force and assault as unreasonable or excessive.


                                               89
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 90 of 149




                       3. Claims against Defendant Nueces County, Texas19

           157. Plaintiff claims that Defendant Nueces County, Texas violated his

Fourteenth Amendment right to be protected from excessive and unnecessary force and

impermissible punishment.

           158. The Fourteenth Amendment to the Constitution of the United States

protects pretrial detainees like Plaintiff from punishment, including excessive and

unnecessary force and impermissible punishment because Mr. Johnson had not been

convicted.

           159. A county is not liable for the actions of its employees unless the

constitutional violation was caused by a county’s policy or custom.

           160. Plaintiff has plead detailed facts in paragraphs 1-75 (background facts),

paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121 (relevant to housing

mentally ill inmates with the inmates who are not mentally ill), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which support:

           a. Official policies, longstanding practices and/or customs existed for
           Nueces County, Texas, which were implemented by the final policymaking
           officials for Nueces County, Texas who are the Nueces County
           Commissioners Court and the Nueces County Judge. Official policies,
           longstanding practices and/or customs existed for the Nueces County, Texas
           Jail which were implemented by the final policymaking officials for the
           Nueces County Jail who are former Nueces County Sheriff Jim Kaelin and

19
     Texas Pattern Jury Charge 10.5
                                               90
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 91 of 149




      Defendant Sheriff Hooper.

      b. policymakers for Nueces County, Texas, specifically, the Nueces
      County Commissioners Court, Nueces County Judge, former Nueces
      County Sheriff Jim Kaelin and Defendant Sheriff Hooper, knew or should
      have known about the policies and/or customs identified herein;

      c. the policymakers, the Nueces County Commissioners Court, Nueces
      County Judge, former Nueces County Sheriff Kaelin and Defendant
      Sheriff Hooper, were deliberately indifferent; and

      d. the policies and/or customs were the moving force leading to the
      constitutional violation being the excessive force used against Mr. Johnson
      causing him injury and death.

      161. Plaintiff has also plead facts that support:

      the training and hiring procedures of the municipality’s policymaker were
      inadequate,

      the municipality’s policymakers were deliberately indifferent in adopting the
      hiring or training policy, and

      the inadequate hiring or training policy directly caused the plaintiff's injury.

      Baker v. Putnal, 75 F.3d 190, 200 (5th Cir. 1996).

      162. A “policy” can be a policy statement, ordinance, regulation, or decision

officially adopted and promulgated by Nueces County’s officers, in this case, Nueces

County Commissioners Court, Nueces County Judge, former Nueces County Sheriff

Kaelin and Defendant Sheriff Hooper.

      163. A “custom” is a persistent, widespread practice of Nueces County, Texas’

officials or employees that, although not formally adopted, is so common and well-

settled that it fairly represents Nueces County, Texas’ policy. Nueces County

                                             91
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 92 of 149




Commissioners Court, Nueces County Judge, former Nueces County Sheriff Kaelin and

Defendant Sheriff Hooper, established the longstanding practices and customs for the

Nueces County Jail made the basis of this lawsuit which have been specifically plead

in paragraphs 1-75 (background facts), paragraphs 76-100 (relevant to staff shortages),

paragraphs 116-121 (relevant to housing mentally ill inmates with the inmates who are

not mentally ill), paragraphs 122-143 (relevant to inadequate mental health and medical

care) and paragraphs 144-147 (relevant to not accurately completing custodial death

reports and not cooperating with outside investigations) which are incorporated as if set-

out fully herein.

       164. Nueces County, Texas’ final policy making officials for the Nueces

County Jail, Nueces County Commissioners Court, Nueces County Judge, former

Nueces County Sheriff Kaelin and Defendant Sheriff Hooper knew or should have

known about the customs set-out in paragraphs 1-75 (background facts), paragraphs 76-

100 (relevant to staff shortages), paragraphs 116-121 (relevant to housing mentally ill

inmates with the inmates who are not mentally ill), paragraphs 122-143 (relevant to

inadequate mental health and medical care) and paragraphs 144-147 (relevant to not

accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein.

       165. A local government entity violates §1983 where its official policy or custom

serves to deprive an individual of his or her constitutional rights. Monell, 436 U.S. at 692-


                                             92
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 93 of 149




94. A city's custom or policy can be unconstitutional in two ways: 1) facially

unconstitutional as written or articulated, or 2) facially constitutional but consistently

implemented to result in constitutional violations with explicit or implicit ratification by

city policymakers. Id. Where the identified policy is itself facially lawful, the plaintiff

“must demonstrate the municipal action was taken with deliberate indifference as to its

known or obvious consequences. A showing of simple or even heightened negligence will

not suffice." Bd. of County Comm'rs v. Brown, 520 U.S. 397, 407 (1997) citing City of

Canton, 489 U.S. at 388. "Deliberate indifference is a stringent standard of fault, requiring

proof that a municipal actor disregarded a known or obvious consequence of his action."

Brown, 520 U.S. at 410, 117 S.Ct. 1382. In other words, the risk of a constitutional

violation arising as a result of the inadequacies in the municipal policy must be "plainly

obvious." City of Canton, 489 U.S. at 383, 388. In the present case, Mr. Johnson had plead

facts supporting deliberate indifference especially as Nueces County, Texas has been aware

of prior constitutional violations based upon the Carrillo, Green and Cheek cases cited

above.

         166. For an official to act with deliberate indifference, the official must both be

aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists, and he must also draw the inference.

         167. Plaintiff has plead facts to support that Defendant, Nueces County, Texas was

deliberately indifferent because it disregarded known or obvious consequence of its actions

and actually changed its policy regarding the housing of mentally ill inmates and adopted
                                              93
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 94 of 149




a new policy approximately 9 months after Mr. Johnson’s death.

                            4. Claims against Final Policymaker/Supervisor,
                                      Defendant Sheriff Hooper20

           168. Plaintiff brings a claim against Defendant Sheriff Hooper, in his individual

capacity, for his own conduct which denied Plaintiff his constitutional rights. In this case,

Plaintiff contends that Defendant Sheriff Hooper, in his individual capacity, violated his

constitutional rights by implementing unconstitutional policies that caused the

constitutional violations; by failing to train and/or supervise the subordinates,

Defendants Zapata, Fielder and Culp, involved in the violation of Plaintiff’s rights.

           169. Defendant Sheriff Hooper, acted with deliberate indifference, because he was:

(1) aware of facts from which the inference could be drawn that a substantial risk of

serious harm exists; and (2) did actually draw that inference. Deliberate indifference

requires a showing of more than negligence or even gross negligence.

           170. Defendant Sheriff Hooper also failed to adopt policies when he knew that a

failure to adopt a policy was deliberately indifferent when it is obvious that the likely

consequence of not adopting a policy will be a deprivation of constitutional rights related

to excessive force under the Fourteenth Amendment to the United States Constitution. This

is especially true in light of the Carrillo, Green and Cheek cases.

           171. A failure to adopt a policy can be deliberately indifferent when it is obvious

that the likely consequence of not adopting a policy will be a deprivation of constitutional



20
     Fifth Circuit Pattern Jury Instructions 10.4
                                                    94
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 95 of 149




rights.

          172. To satisfy the deliberate indifference prong of a failure-to-train claim,

Plaintiff must prove that Defendant Sheriff Hooper knew or should have known that

a particular omission in the training program would cause employees to violate the

constitutional rights of inmates that they encounter, but Defendant Sheriff Hooper,

nevertheless chose to retain that program. To prove deliberate indifference in this way,

Plaintiff must show a pattern of similar constitutional violations by improperly trained

employees as has been specifically plead in this case.

          173. In this case, Plaintiff contends that Defendant Sheriff Hooper violated his

constitutional rights by implementing unconstitutional policies that are set-out in detail in

this complaint; failing to implement policies when it is obvious that the likely consequence

of not adopting a policy will be a deprivation of constitutional rights which are

incorporated by reference causing the constitutional violation; and failure to train and

supervise Defendants Zapata, Culp and Fielder which caused the constitutional violations

suffered by Mr. Johnson.

          174. To prevail in Plaintiff’s claim against Defendant, Sheriff Hooper, in his

individual capacity, Plaintiff has plead facts that support:

          a. Defendants Zapata, Fielder and Culp, all under Defendant Sheriff
          Hooper’s supervision, violated Plaintiff’s constitutional rights;

          b. Defendant Sheriff Hooper’s implemented unconstitutional policies; failed
          to implement policies when it is obvious that the likely consequence of not
          adopting a policy will be a deprivation of constitutional rights, excessive
          force; failed to train (to which Defendant Sheriff Hooper admitted during an
                                               95
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 96 of 149




       interview); and failed to supervise Defendants Zapata, Culp and Fielder.

       c. The implementation of unconstitutional policies; failure to implement
       policies when it is obvious that the likely consequence of not adopting a
       policy will be a deprivation of constitutional rights, excessive force; failed
       to train (to which Defendant Sheriff Hooper admitted during an interview);
       and failed to supervise Defendants Zapata, Culp and Fielder caused the
       violation of the Plaintiff’s rights; and

       d. Defendant, Nueces County Sheriff Hooper’s acted and failed to act with
       deliberate indifference.

                                       5. Damages

                                        a. Survival

       175. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Johnson suffered severe and permanent injuries and damages, severe shock, extreme

and excruciating physical pain and mental suffering, including fear of impending death,

conscious pre-death fear and apprehension of impending death, loss of enjoyment of life,

aggravation, inconvenience, humiliation, shame, shock, funeral and burial expenses and

loss of income and earnings up and until the time of his death.

                                   b. Wrongful Death

       176. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Longoria has been deprived of the services, comfort of his society and companionship

as well as other pleasures and rights that have pecuniary value, which attend to immediate

family relationships.




                                             96
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 97 of 149




                                 c. Punitive and/or Exemplary Damages

         177. The actions and omissions of Individuals Defendants: Javier Zapata, Jr., in his

individual capacity, William Fielder, in his individual capacity, Richard Culp, in is

individual capacity; Individual Defendant Policymaker and Supervisor: John Chris

Hooper, Nueces County Sheriff, in his individual capacity; Defendant Municipality:

Nueces County, Texas identified herein were unlawful, unconstitutional, shocking to the

conscience, and were performed maliciously, recklessly, fraudulently, sadistically,

intentionally, willfully, wantonly and in complete and utter disregard of Mr. Johnson’s

constitutional rights and privileges guaranteed to Mr. Johnson pursuant to 42 U.S.C. §1983.

Defendants’ outrageous and unconscionable conduct warrants an award of exemplary and

punitive damages in an amount appropriate to punish and make an example of Defendants

and deter Defendants and others from like conduct in the future.

             B. 42 U.S.C. §1983 - Fourteenth Amendment - Bodily Integrity21

                                                   1. Background

         178. Plaintiff incorporates by reference the allegations set-out in paragraphs 1 - 75

of this Complaint as if fully set-out herein.



21
   "[t]he existence of this right to ultimate bodily security... is unmistakably established in our constitutional decisions
as an attribute of the ordered liberty that is the concern of substantive due process. Numerous cases in a variety of
contexts recognize it as a last line of defense against those literally outrageous abuses of official power...." Hall v.
Tawney, 621 F.2d 607, 613 (4th Cir.1980). For example, in a case involving rape by a police officer after a traffic
stop, the Eighth Circuit emphasized that the officer's sexual assault "was a violation of the most intimate kind of bodily
integrity," and concluded that the district court did not err in concluding that the officer's "egregious sexual violation"
deprived the victim of a due process right. Rogers v. City of Little Rock, 152 F.3d 790, 796 (8th Cir.1998). In a case
with nearly identical facts, the Fourth Circuit described the due process right at issue as a "right ... not to be subjected
by anyone acting under color of state law to the wanton infliction of physical harm." Jones v. Wellham, 104 F.3d 620,
628 (4th Cir.1997). 796 (8th Cir.1998).
                                                              97
    Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 98 of 149




       179. Plaintiff pleads this claim in the alternative as allowed under FRCP 8 to the

extent the facts of this claim and his other claims in this lawsuit are inconsistent.

       180. Plaintiff brings claims for violations of his rights under 42 U.S.C. §1983 and

the Fourteenth Amendment – Bodily Integrity against the following Defendants:

       Employees of Nueces County, Texas who are individual defendants acting
       under color of state law for purposes of 42 U.S.C. § 1983: Javier Zapata, Jr.,
       in his individual capacity, William Fielder, in his individual capacity,
       Richard Culp, in is individual capacity

       Individual Defendant Policymaker and Supervisor who is an individual
       defendant acting under color of state law for purposes of 42 U.S.C. § 1983:
       John Chris Hooper, Nueces County Sheriff, in his individual capacity

       Defendant Municipality: Nueces County, Texas

       181. Section 1983 of the Civil Rights of 1871, 42 U.S.C. § 1983, prohibits any

person acting under color of state law from depriving any citizen or person of the rights,

privileges and immunities secured by the Constitution.

       182. It was clearly established at the time of the events made the basis of this lawsuit

that citizens, such as Mr. Johnson, have the right of substantive due process under the

Fourteenth Amendment to "[t]he right to be free of state-occasioned damage to ... bodily

integrity” from the acts of those “acting under color of state law.” Scott v. Moore, 85 F.3d

230, 235 (5th Cir. 1996) citing Partridge v. Two Unknown Police Officers of the City of

Houston, 791 F.2d 1182, 1186 (5th Cir.1986). At issue in this case are the assaults and

related violations of Mr. Johnson’s bodily integrity of photographing intimate areas of his

body by force by Defendants Zapata, Fielder and Culp which seriously injured Mr. Johnson

                                              98
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 99 of 149




ultimately leading to his death.

             2. Claims against Individual Defendants Zapata, Fielder and Culp

         183. The assaults, actions and force purposely or knowingly used against Mr.

Johnson by Defendants Zapata, Fielder, and Culp, individually, were objectively

unreasonable and were so egregious, so outrageous, that it may fairly be said to shock the

contemporary conscience.22 These specific acts are set out specifically in paragraphs 32-

66 and their actions and inactions were the proximate cause of Mr. Johnson’s physical and

emotional injuries and death. These Defendants do not have qualified immunity because

the law related to bodily integrity under the Fourteenth Amendment was clearly established

at the time of the events made the basis of this lawsuit.

         184. The actions of Defendants Zapata, Fielder and Culp, individually, are acts

under color of state law.

         185. Mr. Johnson did nothing to invite or in any other manner give any legal

justification for the assaults and violations of his bodily integrity that are raised in this

lawsuit. Defendants, Zapata, Fielder, Culp, intentionally assaulted and violated Mr.

Johnson’s bodily integrity without legal justification.




22
   Conduct sufficient to shock the conscience for substantive due process purposes has been described in several
different ways. It has been described as conduct that " violates the decencies of civilized conduct" ; conduct that is "
so brutal and offensive that it [does] not comport with traditional ideas of fair play and decency" ; conduct that "
interferes with rights implicit in the concept of ordered liberty" ; and conduct that " is so egregious, so outrageous,
that it may fairly be said to shock the contemporary conscience."

                                                          99
      Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 100 of 149




                   3. Claims against Defendant Nueces County, Texas23

           186. Plaintiff claims that Defendant Nueces County, Texas violated his

substantive due process rights under the Fourteenth Amendment right to be protected

from violations of his bodily integrity.

           187. The substantive due process clause of the Fourteenth Amendment to the

Constitution of the United States protects citizens like Plaintiff from violations of

their bodily integrity.

           188. A county is not liable for the actions of its employees unless the

constitutional violation was caused by a county’s policy or custom.

           189. Plaintiff has plead detailed facts in paragraphs 1-75 (background facts),

paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121 (relevant to housing

mentally ill inmates with the inmates who are not mentally ill), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein, which support:

           a. Official policies, longstanding practices and/or customs existed for
           Nueces County, Texas, which were implemented by the final policymaking
           officials for Nueces County, Texas who are the Nueces County
           Commissioners Court and the Nueces County Judge. Official policies,
           longstanding practices and/or customs existed for the Nueces County, Texas
           Jail which were implemented by the final policymaking officials for the
           Nueces County Jail who are former Nueces County Sheriff Jim Kaelin and
           Defendant Sheriff Hooper.


23
     Texas Pattern Jury Charge 10.5
                                              100
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 101 of 149




      b. policymakers for Nueces County, Texas, specifically, the Nueces
      County Commissioners Court, Nueces County Judge, former Nueces
      County Sheriff Kaelin and Defendant Sheriff Hooper, knew or should
      have known about the policies and/or customs;

      c. the policymakers, the Nueces County Commissioners Court, Nueces
      County Judge, former Nueces County Sheriff Kaelin and Defendant
      Sheriff Hooper, were deliberately indifferent; and

      d. the policies and/or customs were the moving force leading to the
      constitutional violation being the bodily integrity violation against Mr.
      Johnson causing him emotional and physical injury and death.

      190. Plaintiff has also plead facts that support:

      the training or hiring procedures of the municipality’s policymaker were
      inadequate,

      the municipality’s policymakers were deliberately indifferent in adopting the
      hiring or training policy, and

      the inadequate hiring or training policy directly caused the plaintiff's injury.

      Baker v. Putnal, 75 F.3d 190, 200 (5th Cir. 1996).

      191. A “policy” can be a policy statement, ordinance, regulation, or decision

officially adopted and promulgated by a final policymaker for Nueces County, Texas

which are the Nueces County Commissioners Court, Nueces County Judge, former Nueces

County Sheriff Kaelin and Defendant Sheriff Hooper.

      192. A “custom” is a persistent, widespread practice of Nueces County, Texas’

officials or employees that, although not formally adopted, is so common and well-

settled that it fairly represents Nueces County, Texas’ policy. The Nueces County

Commissioners Court, Nueces County Judge, former Nueces County Sheriff Kaelin and

                                            101
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 102 of 149




Defendant Sheriff Hooper, established the policies, practices and customs for the

Nueces County Jail made the basis of this lawsuit which have been specifically plead

in paragraphs 1-75 (background facts), paragraphs 76-100 (relevant to staff shortages),

paragraphs 116-121 (relevant to housing mentally ill inmates with the inmates who are

not mentally ill), paragraphs 122-143 (relevant to inadequate mental health and medical

care) and paragraphs 144-147 (relevant to not accurately completing custodial death

reports and not cooperating with outside investigations) which are incorporated as if set-

out fully herein.

       193. Nueces County, Texas’ final policy making officials for the Nueces County

Jail, Nueces County Commissioners Court, Nueces County Judge, former Nueces County

Sheriff Kaelin and Defendant Sheriff Hooper, knew or should have known about the

customs set-out in the facts portion of this lawsuit in paragraphs 1-75 (background facts),

paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121 (relevant to housing

mentally ill inmates with the inmates who are not mentally ill), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein.

       194. A local government entity violates §1983 where its official policy or custom

serves to deprive an individual of his or her constitutional rights. Monell, 436 U.S. at 692-

94. A city's custom or policy can be unconstitutional in two ways: 1) facially


                                             102
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 103 of 149




unconstitutional as written or articulated, or 2) facially constitutional but consistently

implemented to result in constitutional violations with explicit or implicit ratification by

city policymakers. Id. Where the identified policy is itself facially lawful, the plaintiff

“must demonstrate the municipal action was taken with deliberate indifference as to its

known or obvious consequences. A showing of simple or even heightened negligence will

not suffice." Bd. of County Comm'rs v. Brown, 520 U.S. 397, 407 (1997) citing City of

Canton, 489 U.S. at 388. "Deliberate indifference is a stringent standard of fault, requiring

proof that a municipal actor disregarded a known or obvious consequence of his action."

Brown, 520 U.S. at 410, 117 S.Ct. 1382. In other words, the risk of a constitutional

violation arising as a result of the inadequacies in the municipal policy must be "plainly

obvious." City of Canton, 489 U.S. at 383, 388. In the present case, Mr. Johnson had plead

facts supporting deliberate indifference especially as Nueces County, Texas has been aware

of prior constitutional violations based upon the Carrillo, Green and Cheek cases and other

events cited above.

       195. For an official to act with deliberate indifference, the official must both be

aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists, and he must also draw the inference.

       196. Plaintiff has plead facts to support that Defendant, Nueces County, Texas was

deliberately indifferent because it disregarded known or obvious consequence of its

actions.


                                             103
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 104 of 149




            4. Claims against Policymaker/Supervisor, Defendant Sheriff Hooper24

           197. Plaintiff brings a claim against Defendant Sheriff Hooper, in his

individual capacity, for his own conduct which denied Plaintiff his constitutional

rights. In this case, Plaintiff contends that Defendant, Sheriff Hooper, in his individual

capacity, violated his constitutional rights by implementing unconstitutional policies

that caused the constitutional violations; by failing to train and or supervise the

subordinates involved in the violation of Plaintiff’s rights.

           198. Defendant Sheriff Hooper, acted with deliberate indifference, because he was:

(1) aware of facts from which the inference could be drawn that a substantial risk of

serious harm exists; and (2) did actually draw that inference. Deliberate indifference

requires a showing of more than negligence or even gross negligence.

           199. Defendant Sheriff Hooper also failed to adopt policies when he knew that a

failure to adopt a policy was deliberately indifferent when it is obvious that the likely

consequence of not adopting a policy would be a deprivation of constitutional rights

related to bodily integrity such as what occurred to Mr. Johnson.

           200. To satisfy the deliberate indifference prong of a failure-to-train claim,

Plaintiff must prove that Defendant Sheriff Hooper, knew or should have known that

a particular omission in the training program would cause employees to violate the

constitutional rights of inmates they encounter, but Defendant Sheriff Hooper,



24
     Fifth Circuit Pattern Jury Instructions 10.4
                                                    104
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 105 of 149




nevertheless chose to retain that program. To prove deliberate indifference in this way,

Plaintiff must show a pattern of similar constitutional violations by improperly trained

employees as has been specifically plead in this case.

       201. In this case, Plaintiff contends that Defendant Sheriff Hooper violated his

constitutional rights by implementing unconstitutional policies that are set-out in detail in

the facts portion of this complaint; failing to implement policies when it is obvious that the

likely consequence of not adopting a policy will be a deprivation of constitutional rights

which are incorporated by reference causing the constitutional violation; and failure to train

and supervise Defendants Zapata, Culp and Fielder which caused the constitutional

violations suffered by Mr. Johnson.

       202. To prevail in Plaintiff’s claim against Defendant Sheriff Hooper, in his

individual capacity, Plaintiff has plead facts that support:

       a. Defendants Zapata, Fielder and Culp, all under Defendant Sheriff
       Hooper’s supervision, violated Plaintiff’s constitutional rights;

       b. Defendant Sheriff Hooper’s implemented unconstitutional policies; failed
       to implement policies when it is obvious that the likely consequence of not
       adopting a policy will be a deprivation of constitutional rights, violation of
       bodily integrity; failed to train (to which Defendant Sheriff Hooper admitted
       during an interview); and failed to supervise Defendants Zapata, Culp and
       Fielder.

       c. The implementation of unconstitutional policies; failure to implement
       policies when it is obvious that the likely consequence of not adopting a
       policy will be a deprivation of constitutional rights; failed to train (to which
       Defendant Sheriff Hooper admitted during an interview); and failed to
       supervise Defendants Zapata, Culp and Fielder caused the violation of the
       Plaintiff’s rights – violation of bodily integrity; and

                                             105
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 106 of 149




       d. Defendant, Nueces County Sheriff Hooper’s acted and failed to act with
       deliberate indifference.

                                       5. Damages

                                       a. Survival

       203. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Johnson suffered severe and permanent injuries and damages, severe shock, extreme

and excruciating physical pain and mental suffering, including fear of impending death,

conscious pre-death fear and apprehension of impending death, loss of enjoyment of life,

aggravation, inconvenience, humiliation, shame, shock, funeral and burial expenses and

loss of income and earnings up and until the time of his death.

                                   b. Wrongful Death

       204. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Longoria has been deprived of the services, comfort of his society and companionship

as well as other pleasures and rights that have pecuniary value, which attend to immediate

family relationships.

                        c. Punitive and/or Exemplary Damages

       205. The actions and omissions of Individuals Defendants: Javier Zapata, Jr., in his

individual capacity, William Fielder, in his individual capacity, Richard Culp, in is

individual capacity; Individual Defendant Policymaker and Supervisor: John Chris

Hooper, Nueces County Sheriff, in his individual capacity; Defendant Municipality:

Nueces County, Texas identified herein were unlawful, unconstitutional, shocking to the

                                            106
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 107 of 149




conscience, and were performed maliciously, recklessly, fraudulently, sadistically,

intentionally, willfully, wantonly and in complete and utter disregard of Mr. Johnson’s

constitutional rights and privileges guaranteed to Mr. Johnson pursuant to 42 U.S.C. §1983.

Defendants’ outrageous and unconscionable conduct warrants an award of exemplary and

punitive damages in an amount appropriate to punish and make an example of Defendants

and deter Defendants and others from like conduct in the future.

               C. 42 U.S.C. §1983 - Fourteenth Amendment (Inadequate Medical
                   Care or Conditions of Confinement — Pretrial Detainee)25

                                                      1. Background

           206. Plaintiff incorporates by reference the allegations set-out in paragraphs 1-75 of

this Complaint as if fully set-out herein.

           207. Plaintiff pleads this claim in the alternative as allowed under FRCP 8 to the

extent the facts of this claim and his other claims in this lawsuit are inconsistent.

           208. Plaintiff brings claims for violations of his rights under 42 U.S.C. §1983 and

the Fourteenth Amendment (Inadequate Medical Care or Conditions of Confinement —

Pretrial Detainee) against the following Defendants:

           Employees of Nueces County, Texas who are individual defendants acting
           under color of state law for purposes of 42 U.S.C. § 1983: Javier Zapata, Jr.,
           in his individual capacity, William Fielder, in his individual capacity,
           Richard Culp, in is individual capacity

           Individual Defendant Policymaker and Supervisor who is an individual
           acting under color of state law for purposes of 42 U.S.C. § 1983: John Chris
           Hooper, Nueces County Sheriff, in his individual capacity

25
     Fifth Circuit Pattern Jury Instructions 10.10.

                                                           107
     Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 108 of 149




         Municipality: Nueces County, Texas

         Person acting under color of state law for purposes of 42 U.S.C. § 1983:
         Wellpath LLC

         Employees of Wellpath who are individuals defendants acting under color of
         state law for purposes of 42 U.S.C. § 1983: Tera Peeler, in her individual
         capacity, Edra Bocanegra, in her individual capacity, Randee Roberson, in
         her individual capacity, and Stacey Dawn Flint, in her individual capacity

         209. Section 1983 of the Civil Rights of 1871, 42 U.S.C. § 1983, prohibits any

person acting under color of state law from depriving any citizen or person of the rights,

privileges and immunities secured by the Constitution.

         210. Plaintiff claims that Defendants violated his Fourteenth Amendment right to

adequate medical care while he was detained at the Nueces County Jail based upon

inadequate medical care or conditions of confinement.

         211. A pretrial detainee who has not been convicted of a crime has a right under

the Fourteenth Amendment to the United States Constitution to be protected from

impermissible punishment like the denial of or delay in providing certain medical care.26

As a pretrial detainee, Mr. Johnson had a clearly established Fourteenth Amendment right

not to be denied, by deliberate indifference, attention to his serious medical needs. Hare v.


26
   Inadequate medical care claims fall into two categories of “episodic acts or omissions” and “conditions of
confinement.” Hare v. City of Corinth, Mississippi, 74 F.3d 633, 644-50 (5th Cir. 1996) (en banc) and Shepherd v.
Dallas County, 591 F.3d 445, 452–55 (5th Cir. 2009). An “episodic” claim is one that focuses on one individual's
misconduct and requires proof of that individual's specific intent— that one or more state actors acted or failed to act
with deliberate indifference to the defendant’s needs. Hare, 74 F.3d at 648. In contrast, the “conditions” claim focuses
on a policy that is so unreasonable as to demonstrate deliberate indifference in its development and which causes
unconstitutional treatment of the defendant. Id. at 645; Shepherd, 591 F.3d at 452 (citing Bell v. Wolfish, 441 U.S.
520, 539 (1979)).

                                                          108
      Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 109 of 149




City of Corinth, 74 F.3d 633, 650 (5th Cir. 1996) (en banc).

               2. Claims against Individual Defendants Zapata, Fielder and Culp

           212. The assaults, actions and force purposely or knowingly used against Mr.

Johnson by Defendants Zapata, Fielder, and Culp, individually, were objectively

unreasonable as set out specifically in paragraphs 32-66 and their actions and inactions

were the proximate cause of Mr. Johnson’s injuries and death. Defendants Zapata, Fielder,

and Culp are individually liable to Plaintiff for their failure to provide adequate medical

care for the injuries that they caused Mr. Johnson. These Defendants do not have qualified

immunity because the law related to inadequate medical care under the Fourteenth

Amendment was clearly established at the time of the events made the basis of this lawsuit.

           213. The actions of Defendants Zapata, Fielder and Culp, individually, are acts

under color of state law.

           214. Mr. Johnson did nothing to invite or in any other manner give any legal

justification for the failure to provide adequate medical care by Defendants, Zapata, Fielder

and Culp. In fact, he repeatedly tried to get help and yelled, “Help me.”

                        3. Claims against Defendant Nueces County, Texas27

           215. Plaintiff claims that Defendant Nueces County, Texas violated his rights

under 42 U.S.C. §1983 and the Fourteenth Amendment (Inadequate Medical Care or

Conditions of Confinement — Pretrial Detainee) which protects pretrial detainees like




27
     Fifth Circuit Pattern Jury Charge 10.5
                                               109
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 110 of 149




Plaintiff from punishment, including the denial of adequate medical care.

       216. A county is not liable for the actions of its employees unless the

constitutional violation was caused by a county’s policy or custom.

       217. To support this alleged constitutional violation, Plaintiff has plead the

following facts specifically in paragraphs 1-75 (background facts), paragraphs 76-100

(relevant to staff shortages), paragraphs 116-121 (relevant to housing mentally ill inmates

with the inmates who are not mentally ill), paragraphs 122-143 (relevant to inadequate

mental health and medical care) and paragraphs 144-147 (relevant to not accurately

completing custodial death reports and not cooperating with outside investigations) which

are incorporated as if set-out fully herein which support:

       1. the existence of an identifiable or intended condition, policy, or practice
       of inadequate medical care; and

       2. that the condition, policy, or practice was not reasonably related to a
       legitimate governmental objective.

       218. As to the first element, a condition usually results from an explicit policy or

restriction. But a pattern may demonstrate an unstated or de facto policy. To show such a

policy, Plaintiff must show more than isolated instances of inadequate or even negligent

medical care. It is likewise not enough to show that Plaintiff suffered from episodic acts or

omissions of jail officials. Instead, Plaintiff must show that the disputed acts are indicative

of a system-wide problem that has been extended or pervasive. In other words, if Plaintiff

relies on an act or omission of a particular jail officer to prove his claim, the act or omission

must be the result of an established policy, or it must be part of, or typical of, an extended
                                              110
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 111 of 149




or pervasive practice to prove that Defendant Nueces County, Texas intended the condition

or practice. Defendant Nueces County, Texas clearly knew of the policies, practices and

customs as evidenced by the Carrillo, Green and Cheek cases. As well, Nueces County,

Texas changed its policy regarding the housing of mentally ill inmates approximately 9

months after Mr. Johnson’s death.

       219. To establish the second element, Plaintiff must prove that the condition

constituted impermissible punishment to show that it was not reasonably related to a

legitimate governmental objective. Not every denial or delay of medical care imposed

during pretrial detention amounts to “punishment” in the constitutional sense. The effective

management of a detention facility is a valid objective that may justify imposing conditions

and restrictions. Pretrial detainees are not entitled to the best medical care available or to

the level of medical care that may be available to persons who are not detained or

incarcerated. But a facility must provide for a detainee’s basic human needs. Clearly, Mr.

Johnson’s basic human needs were not met when he cried for help and was denied adequate

medical care to address his injuries which resulted in his death.

       220. To satisfy this element, Plaintiff must prove that the level of medical care

provided generally at the Nueces County Jail was so inadequate that it resulted in a serious

deprivation of his basic human needs, and that the level of care provided was not reasonably

related to a legitimate governmental objective. Simply returning Mr. Johnson to his cell,

unmonitored, was clearly not adequate medical care and denied him basic human needs.

Mr. Johnson never saw a physician nor a psychiatrist. Plead alternatively, under FRCP 8,
                                             111
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 112 of 149




if Mr. Johnson had bronchopneumonia, bilateral, he had no treatment for this condition

leading to his death which is a denial of basic human needs. There was no legitimate

government interest in denying Mr. Johnson adequate medical care.

      221. Plaintiff has plead detailed facts in paragraphs 1-75 (background facts),

paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121 (relevant to housing

mentally ill inmates with the inmates who are not mentally ill), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein which support:

      a. Official policies, longstanding practices and/or customs existed for
      Nueces County, Texas, which were implemented by the final policymaking
      officials for Nueces County, Texas who are the Nueces County
      Commissioners Court and the Nueces County Judge. Official policies,
      longstanding practices and/or customs existed for the Nueces County, Texas
      Jail which were implemented by the final policymaking officials for the
      Nueces County Jail who are former Nueces County Sheriff Jim Kaelin and
      Defendant Sheriff Hooper.

      b. policymakers for Nueces County, Texas, specifically, the Nueces
      County Commissioners Court, Nueces County Judge, former Nueces
      County Sheriff Kaelin and Defendant Sheriff Hooper, knew or should
      have known about the policies and/or customs;

      c. the policymakers, Nueces County, Texas, specifically, the Nueces
      County Commissioners Court, Nueces County Judge, former Nueces
      County Sheriff Kaelin and Defendant Sheriff Hooper, were deliberately
      indifferent; and

      d. the policies and/or customs were the moving force leading to the
      constitutional violation being the failure to provide adequate medical care for
      Mr. Johnson causing him injury and death.

                                           112
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 113 of 149




       222. Plaintiff has also plead facts that support:

       the training and hiring procedures of the municipality’s policymaker were
       inadequate,

       the municipality’s policymakers were deliberately indifferent in adopting the
       hiring or training policy, and

       the inadequate hiring or training policy directly caused the plaintiff's injury.”

       Baker v. Putnal, 75 F.3d 190, 200 (5th Cir. 1996).

       223. A “policy” can be a policy statement, ordinance, regulation, or decision

officially adopted and promulgated by Nueces County’s officers, in this case, former

Nueces County Sheriff Kaelin and Defendant Sheriff Hooper.

       224. A “custom” is a persistent, widespread practice of Nueces County, Texas’

officials or employees that, although not formally adopted, is so common and well-

settled that it fairly represents Nueces County, Texas’ policy. F ormer Nueces County

Sheriff Kaelin and Defendant Sheriff Hooper, established the customs for the Nueces

County Jail made the basis of this lawsuit which have been specifically plead 1-75

(background facts), paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121

(relevant to housing mentally ill inmates with the inmates who are not mentally ill),

paragraphs 122-143 (relevant to inadequate mental health and medical care) and

paragraphs 144-147 (relevant to not accurately completing custodial death reports and not

cooperating with outside investigations) which are incorporated as if set-out fully herein.

       225. Nueces County, Texas’ final policymaking officials for the Nueces County


                                             113
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 114 of 149




Jail, former Nueces County Sheriff Kaelin and Defendant Sheriff Hooper knew or

should have known about the customs set-out in paragraphs 1-75 (background facts),

paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121 (relevant to housing

mentally ill inmates with the inmates who are not mentally ill), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein.

       226. A local government entity violates §1983 where its official policy or custom

serves to deprive an individual of his or her constitutional rights. Monell, 436 U.S. at 692-

       227. A city's custom or policy can be unconstitutional in two ways: 1) facially

unconstitutional as written or articulated, or 2) facially constitutional but consistently

implemented to result in constitutional violations with explicit or implicit ratification by

city policymakers. Id. Where the identified policy is itself facially lawful, the plaintiff

“must demonstrate the municipal action was taken with deliberate indifference as to its

known or obvious consequences. A showing of simple or even heightened negligence will

not suffice." Bd. of County Comm'rs v. Brown, 520 U.S. 397, 407 (1997) citing City of

Canton, 489 U.S. at 388. "Deliberate indifference is a stringent standard of fault, requiring

proof that a municipal actor disregarded a known or obvious consequence of his action."

Brown, 520 U.S. at 410, 117 S.Ct. 1382. In other words, the risk of a constitutional

violation arising as a result of the inadequacies in the municipal policy must be "plainly

obvious." City of Canton, 489 U.S. at 383, 388.
                                             114
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 115 of 149




           228. For an official to act with deliberate indifference, the official must both be

aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists, and he must also draw the inference.

           229. Plaintiff has plead facts to support that Defendant, Nueces County, Texas was

deliberately indifferent because it disregarded known or obvious consequence of its actions

plead in paragraphs 1-75 (background facts), paragraphs 76-100 (relevant to staff

shortages), paragraphs 116-121 (relevant to housing mentally ill inmates with the inmates

who are not mentally ill), paragraphs 122-143 (relevant to inadequate mental health and

medical care) and paragraphs 144-147 (relevant to not accurately completing custodial

death reports and not cooperating with outside investigations) which are incorporated as

if set-out fully herein. Defendant Nueces County, Texas clearly knew of the policies,

practices and customs as evidenced by the Carrillo, Green and Cheek cases. As well,

Nueces County, Texas changed its policy regarding the housing of mentally ill inmates

approximately 9 months after Mr. Johnson’s death.

            4. Claims against Policymaker/Supervisor Defendant Sheriff Hooper28

           230. Plaintiff brings a claim against Defendant Sheriff Hooper, in his

individual capacity, for his own conduct which denied Plaintiff his constitutional

rights. In this case, Plaintiff contends that Defendant, Sheriff Hooper, in his individual

capacity, violated his constitutional rights by implementing unconstitutional policies




28
     Fifth Circuit Pattern Jury Instructions 10.4
                                                    115
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 116 of 149




that caused the constitutional violations; by failing to train and or supervise the

subordinates involved in the violation of Plaintiff’s rights.

       231. Defendant Sheriff Hooper, acted with deliberate indifference, because he was:

(1) aware of facts from which the inference could be drawn that a substantial risk of

serious harm exists; and (2) did actually draw that inference. Deliberate indifference

requires a showing of more than negligence or even gross negligence.

       232. Defendant Sheriff Hooper also failed to adopt policies when he knew that a

failure to adopt a policy was deliberately indifferent when it is obvious that the likely

consequence of not adopting a policy would be a deprivation of constitutional rights

related to inadequate medical care such as what occurred to Mr. Johnson.

       233. To satisfy the deliberate indifference prong of a failure-to-train claim,

Plaintiff must prove that Defendant Sheriff Hooper, knew or should have known that

a particular omission in the training program would cause employees to violate the

constitutional rights of inmates they encounter, but Defendant Sheriff Hooper,

nevertheless chose to retain that program. To prove deliberate indifference in this way,

Plaintiff must show a pattern of similar constitutional violations by improperly trained

employees as has been specifically plead.

       234. In this case, Plaintiff contends that Defendant Sheriff Hooper violated his

constitutional rights by implementing unconstitutional policies that are set-out in detail in

the facts portion of this complaint; failing to implement policies when it is obvious that the

likely consequence of not adopting a policy will be a deprivation of constitutional rights
                                             116
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 117 of 149




which are incorporated by reference causing the constitutional violation; and failure to train

and supervise Defendants Zapata, Culp and Fielder which caused the constitutional

violations suffered by Mr. Johnson.

       235. To prevail in Plaintiff’s claim against Defendant Sheriff Hooper, in his

individual capacity, Plaintiff has plead facts that support:

       a. Defendants Zapata, Fielder and Culp, who were under Defendant Sheriff
       Hooper’s supervision violated Plaintiff’s constitutional rights to adequate
       medical care for inmates;

       b. Defendant Sheriff Hooper implemented unconstitutional policies related
       to inadequate medical care; failed to implement policies when it is obvious
       that the likely consequence of not adopting a policy will be a deprivation
       of constitutional rights related to adequate medical care for inmates; failed
       to train related to adequate medical care for inmates; and failed to supervise
       Defendants Zapata, Culp and Fielder related to adequate medical care for
       inmates.

       c. The implementation of unconstitutional policies; failure to implement
       policies when it is obvious that the likely consequence of not adopting a
       policy will be a deprivation of constitutional rights; failed to train; and failed
       to supervise Defendants Zapata, Culp and Fielder caused the violation of the
       Plaintiff’s rights to inadequate medical care; and

       d. Defendant, Nueces County Sheriff Hooper’s acted and failed to act with
       deliberate indifference.

          5. Claims Against WellPath LLC acting as a person under color of
               state law for purposes of 42 U.S.C. § 1983: Wellpath LLC

       236. Plaintiff claims that Wellpath LLC violated his rights under 42 U.S.C.

§1983 and the Fourteenth Amendment (Inadequate Medical Care or Conditions of

Confinement — Pretrial Detainee) which protects pretrial detainees like Plaintiff from

punishment, including the denial of adequate medical care.
                                              117
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 118 of 149




       237. Wellpath may be considered as a person acting under color of state law for

purposes of § 1983 because it is a private entity performing a state function. For Wellpath

to be liable under § 1983, Plaintiff must allege facts showing a policy or a custom of

Wellpath that caused his injury. See Monell v. Department of Social Services of City of

New York, 436 U.S. 658, 691–94 (1978) (stating requirements for pursuing a § 1983 claim

against a municipality); Dubbs v. Head Start, Inc., 336 F.3d 1194, 1216 (10th Cir. 2003)

(extending Monell requirements to a private entity performing a state function); Wabuyabo

v. Correct Care Sols., 723 F. App'x 642, 643 (10th Cir. 2018) (“[T]o state a claim against

CCS, [Plaintiff] must identify an official policy or custom that led to the alleged

constitutional violation.”).

       238. To support this alleged constitutional violation, Plaintiff has plead the

following facts specifically in paragraphs 1-75 (background facts), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein which support:

       1. the existence of an identifiable or intended condition, policy, or practice
       of inadequate medical care; and

       2. that the condition, policy, or practice was not reasonably related to a
       legitimate governmental objective.

       239. The Health Services Agreement that was entered into by Defendant Nueces

County, Texas and Wellpath clearly made a deliberate choice and knew that the policies,

practices and customs do not provide for adequate medical care for Nueces County
                                            118
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 119 of 149




inmates.

       240. The level of medical care provided by Wellcare generally at the Nueces County

Jail was so inadequate that it resulted in a serious deprivation of his basic human needs,

and that the level of care provided was not reasonably related to a legitimate governmental

objective. Simply returning Mr. Johnson to his cell, unmonitored, was clearly not adequate

medical care and denied him basic human needs. Mr. Johnson never saw a physician nor a

psychiatrist.   There was no legitimate government interest in denying Mr. Johnson

adequate medical care.

       241. Plaintiff has plead detailed facts in paragraphs 1-75 (background facts),

paragraphs 122-143 (relevant to inadequate mental health and medical care) and

paragraphs 144-147 (relevant to not accurately completing custodial death reports and not

cooperating with outside investigations) which are incorporated as if set-out fully herein

which support:

       a. Official policies, longstanding practices and/or customs existed for
       Wellpath in relation to the Nueces County Jail which were implemented by
       the final policymaking officials for Wellpath who entered into the Health
       Services Agreement with Nueces County, Texas. Official policies,
       longstanding practices and/or customs existed for the Wellpath which were
       implemented by the final policymaking officials for Wellpath.

       b. policymakers for Wellpath knew or should have known about the
       policies and/or customs;

       c. the policymakers for Wellpath were deliberately indifferent; and

       d. the policies and/or customs were the moving force leading to the
       constitutional violation being the failure to provide adequate medical care for
       Mr. Johnson causing him injury and death.
                                            119
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 120 of 149




      242. A “custom” is a persistent, widespread practice of Wellpath’s officials or

employees that, although not formally adopted, is so common and well-settled that it

fairly represents Wellpath’s policy.

      243. Wellpath’s final policymaking officials knew or should have known about

the customs set-out in paragraphs 1-75 (background facts), paragraphs 122-143 (relevant

to inadequate mental health and medical care) and paragraphs 144-147 (relevant to not

accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein.

      244. Wellpath acted with deliberate indifference, as the official must both be

aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists, and he must also draw the inference.

      245. Plaintiff has plead facts to support that Defendant Wellpath was deliberately

indifferent because it disregarded known or obvious consequence of its actions plead in

paragraphs 1-75 (background facts), paragraphs 122-143 (relevant to inadequate mental

health and medical care) and paragraphs 144-147 (relevant to not accurately completing

custodial death reports and not cooperating with outside investigations) which are

incorporated as if set-out fully herein. Defendant Wellpath clearly knew of the policies

as evidenced by the Health Services Agreement.




                                           120
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 121 of 149




             6. Claims Against Employees of Wellpath who are individual
               defendants acting under color of state law for purposes of
            42 U.S.C. § 1983: Tera Peeler, in her individual capacity, Edra
           Bocanegra, in her individual capacity, Randee Roberson, in her
        individual capacity, and Stacey Dawn Flint, in her individual capacity

       246. Defendants Peeler, Bocanegra, Roberson and Flint are individually liable to

Plaintiff for their failure to provide adequate medical care for Mr. Johnson’s injuries caused

by the assaults by Defendants Zapata, Fielder and Culp. Pursuant to FRCP 8, pleaded

alternatively, Defendants Peeler, Bocanegra, Roberson and Flint are individually liable to

Plaintiff for their failure to provide adequate medical care for Mr. Johnson’s acute

bronchopneumonia, bilateral. These Defendants do not have qualified immunity because

the law related to inadequate medical care under the Fourteenth Amendment was clearly

established at the time of the events made the basis of this lawsuit.

       247. The actions of Defendants Peeler, Bocanegra, Roberson and Flint, individually,

are acts under color of state law.

       248. Mr. Johnson did nothing to invite or in any other manner give any legal

justification for the failure to provide adequate medical care by Defendants, Peeler,

Bocanegra, Roberson and Flint. In fact, he repeatedly tried to get help and yelled, “Help

me.”

                                        5. Damages

                                        a. Survival

       249. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Johnson suffered severe and permanent injuries and damages, severe shock, extreme
                                             121
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 122 of 149




and excruciating physical pain and mental suffering, including fear of impending death,

conscious pre-death fear and apprehension of impending death, loss of enjoyment of life,

aggravation, inconvenience, humiliation, shame, shock, funeral and burial expenses and

loss of income and earnings up and until the time of his death.

                                    b. Wrongful Death

       250. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Longoria has been deprived of the services, comfort of his society and companionship

as well as other pleasures and rights that have pecuniary value, which attend to immediate

family relationships.

                         c. Punitive and/or Exemplary Damages

       251. The actions and omissions of Individuals Defendants: Javier Zapata, Jr., in his

individual capacity, William Fielder, in his individual capacity, Richard Culp, in is

individual capacity; Individual Defendant Policymaker and Supervisor: John Chris

Hooper, Nueces County Sheriff, in his individual capacity; Defendant Municipality:

Nueces County, Texas; Defendant Wellpath, LLC and Defendants: Tera Peeler, in her

individual capacity; Edra Bocanegra, in her individual capacity; Randee Roberson, in her

individual capacity; and Stacey Dawn Flint, in her individual capacity identified herein

were unlawful, unconstitutional, shocking to the conscience, and were performed

maliciously, recklessly, fraudulently, sadistically, intentionally, willfully, wantonly and in

complete and utter disregard of Mr. Johnson’s constitutional rights and privileges

guaranteed to Mr. Johnson pursuant to 42 U.S.C. §1983. Defendants’ outrageous and
                                             122
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 123 of 149




unconscionable conduct warrants an award of exemplary and punitive damages in an

amount appropriate to punish and make an example of Defendants and deter Defendants

and others from like conduct in the future.

                           D. 42 U.S.C. §1983 - Fourteenth Amendment
                         (Medical Care —Pretrial Detainee/Episodic Acts)29

                                                     1. Background

           252. Plaintiff incorporates by reference the allegations set-out in paragraphs 1-75 of

this Complaint as if fully set-out herein.

           253. Plaintiff pleads this claim in the alternative as allowed under FRCP 8 to the

extent the facts of this claim and his other claims in this lawsuit are inconsistent.

           254. Plaintiff brings claims for violations of his rights under 42 U.S.C. §1983 and

the Fourteenth Amendment (Medical Care — Pretrial Detainee/Episodic Acts) against the

following Defendants:

           Employees of Nueces County, Texas who are individual defendants acting
           under color of state law for purposes of 42 U.S.C. § 1983: Javier Zapata, Jr.,
           in his individual capacity, William Fielder, in his individual capacity,
           Richard Culp, in is individual capacity

           Individual Defendant Policymaker and Supervisor who is an individual
           defendant acting under color of state law for purposes of 42 U.S.C. § 1983:
           John Chris Hooper, Nueces County Sheriff, in his individual capacity

           Municipality: Nueces County, Texas

           Person acting under color of state law for purposes of 42 U.S.C. § 1983:
           Wellpath, LLC


29
     Fifth Circuit Pattern Jury Instructions 10.11

                                                          123
      Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 124 of 149




           Employees of Wellpath who are individual defendants acting under color of
           state law for purposes of 42 U.S.C. § 1983: Tera Peeler, in her individual
           capacity, Edra Bocanegra, in her individual capacity, Randee Roberson, in
           her individual capacity, and Stacey Dawn Flint, in her individual capacity

           255. Section 1983 of the Civil Rights of 1871, 42 U.S.C. § 1983, prohibits any

person acting under color of state law from depriving any citizen or person of the rights,

privileges and immunities secured by the Constitution.

           256. Plaintiff claims that Defendants violated his Fourteenth Amendment right to

adequate medical care while he was detained at the Nueces County Jail based upon episodic

acts.30

           257. A pretrial detainee who has not been convicted of a crime has a right under

the Fourteenth Amendment to the United States Constitution to be protected from

impermissible punishment like the denial of or delay in providing certain medical care and

this right was clearly established at the time of the events made the basis of this lawsuit.31

            2. Claims against the Individual Defendants Zapata, Fielder and Culp

           258. Defendants Zapata, Fielder, and Culp are individually liable to Plaintiff for

their failure to provide adequate medical care for the injuries that they caused Mr. Johnson.

These Defendants do not have qualified immunity because the law related to the rights of

pre-trial detainees be protected from impermissible punishment like the denial of or delay

in providing certain medical care under the Fourteenth Amendment was clearly established

at the time of the events made the basis of this lawsuit.


30
     See Footnote 26.
31
     See Footnote 26.
                                               124
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 125 of 149




           259. The actions of Defendants Zapata, Fielder and Culp, individually, are acts

under color of state law.

           260. Mr. Johnson did nothing to invite or in any other manner give any legal

justification for the failure to be protected from impermissible punishment like the denial

of or delay in providing certain medical care by Defendants, Zapata, Fielder and Culp. In

fact, he repeatedly tried to get help and yelled, “Help me.”

           261. As specifically supported by facts plead in this complaint in paragraphs 1-75

           1. Plaintiff was exposed to a substantial risk of serious harm;

           2. Defendants, Zapata, Fielder and Culp, displayed deliberate indifference to that
           risk; and

           3. the deliberate indifference harmed the Plaintiff.

                             3. Claims against Defendant Nueces County, Texas32

           262. Plaintiff claims that Defendant Nueces County, Texas violated his rights

under 42 U.S.C. §1983 and the Fourteenth Amendment (Medical Care — Pretrial

Detainee/Episodic Acts) which protects                pretrial   detainees   like   Plaintiff from

punishment, including the right to be protected from impermissible punishment like the

denial of or delay in providing certain medical care.

           263. A county is not liable for the actions of its employees unless the

constitutional violation was caused by a county’s policy or custom.

           264. To support this alleged constitutional violation, Plaintiff has plead the



32
     Fifth Circuit Pattern Jury Instructions 10.5
                                                    125
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 126 of 149




following facts specifically in paragraphs 1-75 (background facts), paragraphs 76-100

(relevant to staff shortages), paragraphs 116-121 (relevant to housing mentally ill inmates

with the inmates who are not mentally ill), paragraphs 122-143 (relevant to inadequate

mental health and medical care) and paragraphs 144-147 (relevant to not accurately

completing custodial death reports and not cooperating with outside investigations) which

are incorporated as if set-out fully herein which support:

       1. Plaintiff was exposed to a substantial risk of serious harm;

       2. Defendant, Nueces County, Texas, displayed deliberate indifference to that risk;
       and

       3. the deliberate indifference harmed the Plaintiff.

       265. The first element asks whether a reasonable person would view Plaintiff’s

illness or injury as sufficiently serious based on all of the circumstances that existed. This

inquiry asks what a reasonable person would conclude and does not consider Defendant’s

state of mind.

       266. The second element—deliberate indifference— requires proof of egregious

conduct. Plaintiff must prove Defendant knew of and disregarded an excessive risk to

Plaintiff’s health or safety.

       267. Plaintiff must prove that Defendant:

                 (1) was aware of facts from which the inference could be drawn
                 that a substantial risk of serious harm existed; and

                 (2) actually drew that inference. An inmate’s disagreement
                 with the type, amount, or timing of medical treatment he
                 receives is not enough to meet this test.
                                              126
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 127 of 149




      268. Plaintiff has plead detailed facts in paragraphs 1-75 (background facts),

paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121 (relevant to housing

mentally ill inmates with the inmates who are not mentally ill), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein which support:

      a. Official policies, longstanding practices and/or customs existed for
      Nueces County, Texas, which were implemented by the final policymaking
      officials for Nueces County, Texas who are the Nueces County
      Commissioners Court and the Nueces County Judge. Official policies,
      longstanding practices and/or customs existed for the Nueces County, Texas
      Jail which were implemented by the final policymaking officials for the
      Nueces County Jail who are former Nueces County Sheriff Jim Kaelin and
      Defendant Sheriff Hooper.

      b. policymakers for Nueces County, Texas, specifically, the Nueces
      County Commissioners Court, Nueces County Judge, former Nueces
      County Sheriff Kaelin and Defendant Sheriff Hooper, knew or should
      have known about the policies and/or customs;

      c. the policymakers, Nueces County, Texas, specifically, the Nueces
      County Commissioners Court, Nueces County Judge, former Nueces
      County Sheriff Kaelin and Defendant Sheriff Hooper, were deliberately
      indifferent; and

      d. the policies and/or customs were the moving force leading to the
      constitutional violation being the failure to protect inmates from
      impermissible punishment like the denial of or delay in providing certain
      medical care to Mr. Johnson causing him injury and death.

      269. A “policy” can be a policy statement, ordinance, regulation, or decision

officially adopted and promulgated by Nueces County’s officers, in this case, the Nueces

                                          127
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 128 of 149




County Commissioners Court, Nueces County Judge, former Nueces County Sheriff

Kaelin and Defendant Sheriff Hooper.

       270. A “custom” is a persistent, widespread practice of Nueces County, Texas’

officials or employees that, although not formally adopted, is so common and well-

settled that it fairly represents Nueces County, Texas’ policy. The Nueces County

Commissioners Court, Nueces County Judge, former Nueces County Sheriff Kaelin and

Defendant Sheriff Hooper, established the customs for the Nueces County Jail made

the basis of this lawsuit which have been specifically plead in paragraphs 1-75

(background facts), paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121

(relevant to housing mentally ill inmates with the inmates who are not mentally ill),

paragraphs 122-143 (relevant to inadequate mental health and medical care) and

paragraphs 144-147 (relevant to not accurately completing custodial death reports and not

cooperating with outside investigations) which are incorporated as if set-out fully herein.

       271. Nueces County, Texas’ final policymaking officials for the Nueces County

Jail, The Nueces County Commissioners Court, Nueces County Judge, former Nueces

County Sheriff Kaelin and Defendant Sheriff Hooper, knew or should have known

about the customs set-out in the facts portion of this lawsuit in paragraphs 1-75

(background facts), paragraphs 76-100 (relevant to staff shortages), paragraphs 116-121

(relevant to housing mentally ill inmates with the inmates who are not mentally ill),

paragraphs 122-143 (relevant to inadequate mental health and medical care) and


                                            128
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 129 of 149




paragraphs 144-147 (relevant to not accurately completing custodial death reports and not

cooperating with outside investigations) which are incorporated as if set-out fully herein.

       272. A local government entity violates §1983 where its official policy or custom

serves to deprive an individual of his or her constitutional rights. Monell, 436 U.S. at 692-

       273. A city's custom or policy can be unconstitutional in two ways: 1) facially

unconstitutional as written or articulated, or 2) facially constitutional but consistently

implemented to result in constitutional violations with explicit or implicit ratification by

city policymakers. Id. Where the identified policy is itself facially lawful, the plaintiff

“must demonstrate the municipal action was taken with deliberate indifference as to its

known or obvious consequences. A showing of simple or even heightened negligence will

not suffice." Bd. of County Comm'rs v. Brown, 520 U.S. 397, 407 (1997) citing City of

Canton, 489 U.S. at 388. "Deliberate indifference is a stringent standard of fault, requiring

proof that a municipal actor disregarded a known or obvious consequence of his action."

Brown, 520 U.S. at 410, 117 S.Ct. 1382. In other words, the risk of a constitutional

violation arising as a result of the inadequacies in the municipal policy must be "plainly

obvious." City of Canton, 489 U.S. at 383, 388.

       274. For an official to act with deliberate indifference, the official must both be

aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists, and he must also draw the inference.

       275. In the present case, Mr. Johnson had plead facts supporting deliberate

indifference especially as Nueces County, Texas has been aware of prior constitutional
                                             129
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 130 of 149




violations based upon the Carrillo, Green and Cheek cases and other examples cited above.

Plaintiff has plead facts to support that Defendant, Nueces County, Texas was deliberately

indifferent because it disregarded known or obvious consequence of its actions.

            4. Claims against Policymaker/Supervisor, Defendant Sheriff Hooper33

           276. Plaintiff brings a claim against Defendant Sheriff Hooper, in his

individual capacity, for his own conduct which denied Plaintiff his constitutional

rights. In this case, Plaintiff contends that Defendant, Sheriff Hooper, in his individual

capacity, violated his constitutional rights by implementing unconstitutional policies

that caused the constitutional violations; by failing to train and or supervise the

subordinates involved in the violation of Plaintiff’s rights.

           277. Defendant Sheriff Hooper, acted with deliberate indifference, because he was:

(1) aware of facts from which the inference could be drawn that a substantial risk of

serious harm exists; and (2) did actually draw that inference. Deliberate indifference

requires a showing of more than negligence or even gross negligence.

           278. Defendant Sheriff Hooper also failed to adopt policies when he knew that a

failure to adopt a policy was deliberately indifferent when it is obvious that the likely

consequence of not adopting a policy would be a deprivation of constitutional rights

related to inadequate medical care such as what occurred to Mr. Johnson.

           279. To satisfy the deliberate indifference prong of a failure-to-train claim,



33
     Fifth Circuit Pattern Jury Instructions 10.4
                                                    130
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 131 of 149




Plaintiff must prove that Defendant Sheriff Hooper, knew or should have known that

a particular omission in the training program would cause employees to violate the

constitutional rights of inmates they encounter, but Defendant Sheriff Hooper,

nevertheless chose to retain that program. To prove deliberate indifference in this way,

Plaintiff must show a pattern of similar constitutional violations by improperly trained

employees as has been specifically plead.

       280. In this case, Plaintiff contends that Defendant Sheriff Hooper violated his

constitutional rights by implementing unconstitutional policies that are set-out in detail in

the facts portion of this complaint; failing to implement policies when it is obvious that the

likely consequence of not adopting a policy will be a deprivation of constitutional rights

which are incorporated by reference causing the constitutional violation; and failure to train

and supervise Defendants Zapata, Culp and Fielder which caused the constitutional

violations suffered by Mr. Johnson.

       281. To prevail in Plaintiff’s claim against Defendant Sheriff Hooper, in his

individual capacity, Plaintiff has plead facts that support:

       a. Defendants Zapata, Fielder and Culp, who were under Defendant Sheriff
       Hooper’s supervision violated Plaintiff’s constitutional rights to adequate
       medical care for inmates;

       b. Defendant Sheriff Hooper implemented unconstitutional policies related
       to inadequate medical care; failed to implement policies when it is obvious
       that the likely consequence of not adopting a policy will be a deprivation
       of constitutional rights related to adequate medical care for inmates; failed
       to train related to adequate medical care for inmates; and failed to supervise
       Defendants Zapata, Culp and Fielder related to adequate medical care for
       inmates.
                                             131
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 132 of 149




       c. The implementation of unconstitutional policies; failure to implement
       policies when it is obvious that the likely consequence of not adopting a
       policy will be a deprivation of constitutional rights; failed to train; and failed
       to supervise Defendants Zapata, Culp and Fielder caused the violation of the
       Plaintiff’s rights to inadequate medical care; and

       d. Defendant, Nueces County Sheriff Hooper’s acted and failed to act with
       deliberate indifference.

               5. Person acting under color of state law for purposes of
                          42 U.S.C. § 1983: Wellpath, LLC

       282. Plaintiff claims that Defendant Wellpath violated his rights under 42

U.S.C. §1983 and the Fourteenth Amendment (Medical Care — Pretrial Detainee/Episodic

Acts) which protects pretrial detainees like Plaintiff from punishment, including the

right to be protected from impermissible punishment like the denial of or delay in

providing certain medical care.

       283. Wellpath may be considered as a person acting under color of state law for

purposes of § 1983 because it is a private entity performing a state function. For Wellpath

to be liable under § 1983, Plaintiff must allege facts showing a policy or a custom of

Wellpath that caused his injury. See Monell v. Department of Social Services of City of

New York, 436 U.S. 658, 691–94 (1978) (stating requirements for pursuing a § 1983 claim

against a municipality); Dubbs v. Head Start, Inc., 336 F.3d 1194, 1216 (10th Cir. 2003)

(extending Monell requirements to a private entity performing a state function); Wabuyabo

v. Correct Care Sols., 723 F. App'x 642, 643 (10th Cir. 2018) (“[T]o state a claim against




                                              132
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 133 of 149




CCS, [Plaintiff] must identify an official policy or custom that led to the alleged

constitutional violation.”).

       284. To support this alleged constitutional violation, Plaintiff has plead the

following facts specifically in paragraphs 1-75 (background facts), paragraphs 122-143

(relevant to inadequate mental health and medical care) and paragraphs 144-147 (relevant

to not accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein which support:

       1. Plaintiff was exposed to a substantial risk of serious harm;

       2. Defendant, Nueces County, Texas, displayed deliberate indifference to that risk;
       and

       3. the deliberate indifference harmed the Plaintiff.

       285. The first element asks whether a reasonable person would view Plaintiff’s

illness or injury as sufficiently serious based on all of the circumstances that existed. This

inquiry asks what a reasonable person would conclude and does not consider Defendant’s

state of mind.

       286. The second element—deliberate indifference— requires proof of egregious

conduct. Plaintiff must prove Defendant knew of and disregarded an excessive risk to

Plaintiff’s health or safety.

       287. Plaintiff must prove that Defendant:

                 (1) was aware of facts from which the inference could be drawn
                 that a substantial risk of serious harm existed; and


                                              133
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 134 of 149




             (2) actually drew that inference. An inmate’s disagreement
             with the type, amount, or timing of medical treatment he
             receives is not enough to meet this test.

      288. Plaintiff has plead detailed facts in paragraphs 1-75 (background facts),

paragraphs 122-143 (relevant to inadequate mental health and medical care) and

paragraphs 144-147 (relevant to not accurately completing custodial death reports and not

cooperating with outside investigations) which are incorporated as if set-out fully herein

which support:

      a. Official policies, longstanding practices and/or customs existed for
      Wellpath in relation to the Nueces County Jail which were implemented by
      the final policymaking officials for Wellpath who entered into the Health
      Services Agreement with Nueces County, Texas. Official policies,
      longstanding practices and/or customs existed for the Wellpath which were
      implemented by the final policymaking officials for Wellpath.

      b. policymakers for Wellpath knew or should have known about the
      policies and/or customs;

      c. the policymakers for Wellpath were deliberately indifferent; and

      d. the policies and/or customs were the moving force leading to the
      constitutional violation being the failure to provide adequate medical care for
      Mr. Johnson causing him injury and death.

      289. A “custom” is a persistent, widespread practice of Wellpath’s officials or

employees that, although not formally adopted, is so common and well-settled that it

fairly represents Wellpath’s policy.

      290. Wellpath’s final policymaking officials knew or should have known about

the customs set-out in paragraphs 1-75 (background facts), paragraphs 122-143 (relevant

to inadequate mental health and medical care) and paragraphs 144-147 (relevant to not
                                           134
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 135 of 149




accurately completing custodial death reports and not cooperating with outside

investigations) which are incorporated as if set-out fully herein.

       291. Wellpath acted with deliberate indifference, as the official must both be

aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists, and he must also draw the inference.

       292. Plaintiff has plead facts to support that Defendant Wellpath was deliberately

indifferent because it disregarded known or obvious consequence of its actions plead in

paragraphs 1-75 (background facts), paragraphs 122-143 (relevant to inadequate mental

health and medical care) and paragraphs 144-147 (relevant to not accurately completing

custodial death reports and not cooperating with outside investigations) which are

incorporated as if set-out fully herein. Defendant Wellpath clearly knew of the policies

as evidenced by the Health Services Agreement.

       6. Employees of Wellpath who are individual defendants acting under
       color of state law for purposes of 42 U.S.C. § 1983: Tera Peeler, in her
          individual capacity, Edra Bocanegra, in her individual capacity,
                  Randee Roberson, in her individual capacity, and
                    Stacey Dawn Flint, in her individual capacity

       293. Defendants Peeler, Bocanegra, Roberson and Flint are individually liable to

Plaintiff for their failure to provide adequate medical care for the inadequate medical care

that they caused Mr. Johnson. These Defendants do not have qualified immunity because

the law related to the rights of pre-trial detainees be protected from impermissible

punishment like the denial of or delay in providing certain medical care under the


                                            135
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 136 of 149




Fourteenth Amendment was clearly established at the time of the events made the basis of

this lawsuit.

       294. The actions of Defendants Peeler, Bocanegra, Roberson and Flint, individually,

are acts under color of state law.

       295. Mr. Johnson did nothing to invite or in any other manner give any legal

justification for the failure to be protected from impermissible punishment like the denial

of or delay in providing certain medical care by Defendants, Peeler, Bocanegra, Roberson

and Flint. In fact, he repeatedly tried to get help and yelled, “Help me.”

       296. As specifically supported by facts plead in this complaint in paragraphs 1-75

       1. Plaintiff was exposed to a substantial risk of serious harm;

       2. Defendants, Peeler, Bocanegra, Roberson and Flint, displayed deliberate
       indifference to that risk; and

       3. the deliberate indifference harmed the Plaintiff.

                                        5. Damages

                                        a. Survival

       297. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Johnson suffered severe and permanent injuries and damages, severe shock, extreme

and excruciating physical pain and mental suffering, including fear of impending death,

conscious pre-death fear and apprehension of impending death, loss of enjoyment of life,

aggravation, inconvenience, humiliation, shame, shock, funeral and burial expenses and

loss of income and earnings up and until the time of his death.

                                             136
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 137 of 149




                                    b. Wrongful Death

       298. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Longoria has been deprived of the services, comfort of his society and companionship

as well as other pleasures and rights that have pecuniary value, which attend to immediate

family relationships.

                         c. Punitive and/or Exemplary Damages

       299. The actions and omissions of Individuals Defendants: Javier Zapata, Jr., in his

individual capacity, William Fielder, in his individual capacity, Richard Culp, in is

individual capacity; Individual Defendant Policymaker and Supervisor: John Chris

Hooper, Nueces County Sheriff, in his individual capacity; Defendant Municipality:

Nueces County, Texas; Defendant Wellpath, LLC and Defendants: Tera Peeler, in her

individual capacity; Edra Bocanegra, in her individual capacity; Randee Roberson, in her

individual capacity; and Stacey Dawn Flint, in her individual capacity identified herein

were unlawful, unconstitutional, shocking to the conscience, and were performed

maliciously, recklessly, fraudulently, sadistically, intentionally, willfully, wantonly and in

complete and utter disregard of Mr. Johnson’s constitutional rights and privileges

guaranteed to Mr. Johnson pursuant to 42 U.S.C. §1983. Defendants’ outrageous and

unconscionable conduct warrants an award of exemplary and punitive damages in an

amount appropriate to punish and make an example of Defendants and deter Defendants

and others from like conduct in the future.


                                              137
      Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 138 of 149




                E. 42 U.S.C. §1983 - Liability in Connection with the Actions of
                      Another Failure to Intervene/Bystander Liability34

                                                 1. Background

           300. Plaintiff incorporates by reference the allegations set-out in paragraphs 1-75 of

this Complaint as if fully set-out herein.

           301. Plaintiff pleads this claim in the alternative as allowed under FRCP 8 to the

extent the facts and law of this claim and his other claims in this lawsuit are inconsistent.

           302. Plaintiff brings this claim against Defendants Zapata, Fielder, Culp and Sheriff

Hooper.

                              2. Claims against Zapata, Fielder and Culp

           303. Bystander liability may be established where an officer (1) knows that a fellow

officer is violating an individual’s constitutional rights; (2) has a reasonable opportunity to

prevent the harm; and (3) chooses not to act.

           304. Plaintiff brings claims for violations of his rights under 42 U.S.C. §1983 and

the Fourteenth Amendment for failure to intervene in the present against the individual

Defendants Zapata, Fielder and Culp as they were each present during the assaults, related

violations of Mr. Johnson’s bodily integrity, failure to provide adequate medical care

and/or contemporaneously aware of the assaults, related violations of Mr. Johnson’s bodily

integrity, failure to provide adequate medical care and each had a reasonable opportunity

to prevent the harm, and yet choose not to act. Each is liable to Plaintiff for failure to



34
     Third Court of Appeals, Instructions for Civil Rights Claims Under Section 1983, 4.6.2
                                                           138
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 139 of 149




intervene/bystander liability for the assaults, related violations of bodily integrity, failure

to provide adequate medical care brought in this lawsuit.

       305. Section 1983 of the Civil Rights of 1871, 42 U.S.C. § 1983, prohibits any

person acting under color of state law from depriving any citizen or person of the rights,

privileges and immunities secured by the Constitution.

       306. The actions of Defendants Zapata, Fielder and Culp, individually, are acts

under color of state law.

       307. Mr. Johnson did nothing to invite or in any other manner give any legal

justification for the failure of Defendants, Zapata, Fielder and Culp to intervene and stop

the constitutional violations. In fact, Mr. Johnson repeatedly tried to get help and yelled,

“Help me.”

       308. Mr. Johnson’s constitutional rights were violated as set-out in the facts portion

of this complaint 1-75. Specifically: Defendant Zapata and/or Defendant Culp and/or

Fielder violated Mr. Johnson’s rights under 42 U.S.C. §1983 - Fourteenth Amendment

(Excessive Force)— Pretrial Detainees and 42 U.S.C. §1983 - Fourteenth Amendment -

Bodily Integrity) by subjecting Mr. Johnson, a pre-trial detainee at the Nueces County Jail,

to impermissible punishment by correctional officers Defendants Zapata, Fielder and Culp,

namely assault causing serious bodily injury; without his consent, being photographed in

the bathroom and/or changing room of the Nueces County Jail; and having his privacy

invaded without his consent by having his genitals and/or pubic area and/or anus and/or


                                             139
       Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 140 of 149




buttocks photographed; and having inadequate medical care as a result of the injuries he

sustained resulting in Mr. Johnson’s death.

           309. Defendant Zapata and/or Defendant Culp and/or Defendant Fielder had a duty

to intervene to stop the constitutional violations perpetrated against Mr. Johnson by

Defendant Zapata and/or Defendant Culp and/or Defendant Fielder.

           310. Defendant Zapata and/or Defendant Culp and/or Fielder each had a reasonable

opportunity to intervene to stop the constitutional violations perpetrated against Mr.

Johnson by Defendant Zapata and/or Defendant Culp and/or Fielder.

           311. Defendant Zapata and/or Defendant Culp and/or Fielder violated Mr.

Johnson’s rights under failed to intervene to stop the constitutional violations perpetrated

against Mr. Johnson.

                            3. Claims against Final Policymaker/Supervisor,
                                      Defendant Sheriff Hooper35

           312. Plaintiff brings a claim against Defendant Sheriff Hooper, in his individual

capacity, for his own conduct which denied Plaintiff his constitutional rights. In this case,

Plaintiff contends that Defendant Sheriff Hooper, in his individual capacity, violated his

constitutional rights by implementing unconstitutional policies that caused the

constitutional violations; by failing to train and/or supervise the subordinates,

Defendants Zapata, Fielder and Culp, involved in the violation of Plaintiff’s rights.

           313. Defendant Sheriff Hooper, acted with deliberate indifference, because he was:



35
     Fifth Circuit Pattern Jury Instructions 10.4
                                                    140
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 141 of 149




(1) aware of facts from which the inference could be drawn that a substantial risk of

serious harm exists; and (2) did actually draw that inference. Deliberate indifference

requires a showing of more than negligence or even gross negligence.

          314. Defendant Sheriff Hooper also failed to adopt policies regarding bystander

liability and affirmative requirements to stop violations of inmate’s constitutional

violations when he knew that a failure to adopt a policy was deliberately indifferent when

it is obvious that the likely consequence of not adopting a policy will be a deprivation

of constitutional rights related to excessive force under the Fourteenth Amendment to the

United States Constitution. This is especially true in light of the Carrillo, Green and Cheek

cases.

          315. A failure to adopt a policy can be deliberately indifferent when it is obvious

that the likely consequence of not adopting a policy will be a deprivation of constitutional

rights.

          316. To satisfy the deliberate indifference prong of a failure-to-train claim,

Plaintiff must prove that Defendant Sheriff Hooper knew or should have known that

a particular omission in the training program would cause employees to violate the

constitutional rights of inmates that they encounter, but Defendant Sheriff Hooper,

nevertheless chose to retain that program. To prove deliberate indifference in this way,

Plaintiff must show a pattern of similar constitutional violations by improperly trained

employees as has been specifically plead in this case.

          317. In this case, Plaintiff contends that Defendant Sheriff Hooper violated his
                                              141
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 142 of 149




constitutional rights by implementing unconstitutional policies that are set-out in detail in

this complaint; failing to implement policies when it is obvious that the likely consequence

of not adopting a policy will be a deprivation of constitutional rights which are

incorporated by reference causing the constitutional violation; and failure to train and

supervise Defendants Zapata, Culp and Fielder which caused the constitutional violations

suffered by Mr. Johnson.

       318. To prevail in Plaintiff’s claim against Defendant, Sheriff Hooper, in his

individual capacity, Plaintiff has plead facts that support:

       a. Defendants Zapata, Fielder and Culp, all under Defendant Sheriff
       Hooper’s supervision, violated Plaintiff’s constitutional rights;

       b. Defendant Sheriff Hooper’s implemented unconstitutional policies; failed
       to implement policies when it is obvious that the likely consequence of not
       adopting a policy will be a deprivation of constitutional rights, excessive
       force and bodily integrity and failure to intervene/bystander liability; failed
       to train (to which Defendant Sheriff Hooper admitted during an interview);
       and failed to supervise Defendants Zapata, Culp and Fielder.

       c. The implementation of unconstitutional policies; failure to implement
       policies when it is obvious that the likely consequence of not adopting a
       policy will be a deprivation of constitutional rights, excessive force and
       bodily integrity and failure to intervene/bystander liability; failed to train (to
       which Defendant Sheriff Hooper admitted during an interview); and failed to
       supervise Defendants Zapata, Culp and Fielder caused the violation of the
       Plaintiff’s rights; and

       d. Defendant, Nueces County Sheriff Hooper’s acted and failed to act with
       deliberate indifference.




                                              142
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 143 of 149




                                       4. Damages

                                       a. Survival

       319. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Johnson suffered severe and permanent injuries and damages, severe shock, extreme

and excruciating physical pain and mental suffering, including fear of impending death,

conscious pre-death fear and apprehension of impending death, loss of enjoyment of life,

aggravation, inconvenience, humiliation, shame, shock, funeral and burial expenses and

loss of income and earnings up and until the time of his death.

                                   b. Wrongful Death

       320. As a direct and proximate result of Defendants’ violations, and each of them,

Mr. Longoria has been deprived of the services, comfort of his society and companionship

as well as other pleasures and rights that have pecuniary value, which attend to immediate

family relationships.

                        c. Punitive and/or Exemplary Damages

       321. The actions and omissions of Individuals Defendants: Javier Zapata, Jr., in his

individual capacity, William Fielder, in his individual capacity, Richard Culp, in is

individual capacity; Individual Defendant Policymaker and Supervisor: John Chris

Hooper, Nueces County Sheriff, in his individual capacity; Defendant Municipality:

Nueces County, Texas identified herein were unlawful, unconstitutional, shocking to the

conscience, and were performed maliciously, recklessly, fraudulently, sadistically,

intentionally, willfully, wantonly and in complete and utter disregard of Mr. Johnson’s
                                            143
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 144 of 149




constitutional rights and privileges guaranteed to Mr. Johnson pursuant to 42 U.S.C. §1983.

Defendants’ outrageous and unconscionable conduct warrants an award of exemplary and

punitive damages in an amount appropriate to punish and make an example of Defendants

and deter Defendants and others from like conduct in the future.

                            F. Americans with Disabilities Act
                               (“ADA”), 42 U.S.C. § 12132

       322. Plaintiff repeats and realleges the preceding paragraphs, 1-75, as if fully set

forth in this Count.

       323. Plaintiff pleads this claim in the alternative as allowed under FRCP 8 to the

extent the facts and law of this claim and his other claims in this lawsuit are inconsistent.

       324. This claim is alleged against Defendant, Nueces County, Texas.

       325. Section 12132 of the ADA provides, “Subject to the provisions of this

subchapter, no qualified individual with a disability shall, by reason of such disability, be

excluded from participation in or be denied the benefits of the services, programs, or

activities of a public entity, or be subjected to discrimination by any such entity.” 42 U.S.C.

§ 12132. A “public entity” is defined as “(A) any State or local government” or “(B) any

department, agency, special purpose district, or other instrumentality of a State or States or

local government.” 42 U.S.C. § 12131(1).

       326. Mr. Johnson had schizoaffective disorder, depressive type and is a qualified

person with a disability under the Americans with Disabilities Act, and his disability was

known to the Defendant. Mr. Johnson was an individual with a disability within the

                                             144
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 145 of 149




meaning of 42 U.S.C. §12131(2). His serious mental illnesses, constitute mental

impairments that substantially limit him in several major life activities, including but not

limited to learning, concentrating, thinking, and interacting with others. As a result, the

Defendant had an obligation to accommodate his disability by housing him in a mental

health treatment facility rather than in the Nueces County Jail’s general population. The

Defendant intentionally failed to accommodate Mr. Johnson’s mental health disability, and

these failures led to Mr. Johnson’s assault, serious bodily injury, death. The Defendant

failed to place Mr. Johnson in an appropriate environment to protect him from violent and

unlawful acts of third parties against him which were intentionally perpetrated against him

by Defendants Zapata, Fielder and Culp because of his mental health disabilities and in

discrimination against him because of those disabilities.

       327. Defendant Nueces County, Texas is a public entity as that term is used in 42

U.S.C. §12131(1).

       328. Mr. Johnson was entitled to be free from discrimination under the Americans

with Disabilities Act, 42 U.S.C. §12131 et seq. Defendant failed to accommodate Mr.

Johnson’s mental and medical disabilities and denied him the benefits and services of their

facilities by reason of his disabilities by, inter alia, failing to place Mr. Johnson in a mental

health facility to receive appropriate care, treatment and protection and/or prevent his

interaction with untrained and violent correctional officers resulting in an intentional

assault, deadly bodily injury, and violations of his bodily integrity by Defendants Zapata,


                                              145
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 146 of 149




Fielder and Culp because of Mr. Johnson’s mental health disabilities which left him in a

vulnerable state and susceptible to violent acts and crimes.

       329. Plaintiff seeks all damages available under law, including, but not limited to

compensatory damages, attorney’s fees and other relief, for the intentional violation of his

rights and the discrimination that he suffered in violation of the Americans with Disabilities

Act.

                           G. Section 1988 – Attorney’s Fees.

       330.    The preceding allegations in the Facts portion of this pleading are

incorporated herein as if each was restated and re-alleged in its entirety.

       331. Plaintiff alleges this count against the Defendants, Nueces County, Texas;

Javier Zapata, Jr., in his individual capacity; William Fielder, in his individual capacity;

Richard Culp, in his individual capacity; John Chris Hooper, Nueces County Sheriff, in his

individual capacity; Wellpath LLC, formerly known as Correct Care Solutions, LLC; Tera

Peeler, in her individual capacity; Edra Bocanegra, in her individual capacity; Randee

Roberson, in her individual capacity; and Stacey Dawn Flint, in her individual capacity.

       332. Because the actions of Defendants, Nueces County, Texas; Javier Zapata, Jr.,

in his individual capacity; William Fielder, in his individual capacity; Richard Culp, in his

individual capacity; and John Chris Hooper, Nueces County Sheriff, in his individual

capacity, were taken under color of state law to deprive Mr. Johnson of his rights under the

Fourteenth Amendment to the United States Constitution and his civil rights under §1983,

Plaintiff had to obtain the services of The Bandas Law Firm, P.C. and the Law Office of
                                             146
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 147 of 149




Gay E. Gilson to vindicate the violation of his constitutional and civil rights and has

therefore incurred attorneys’ fees.

       333. Pursuant to 42 U.S.C. §1988, Plaintiff asserts his claim for attorneys’ fees

against Defendants Nueces County, Texas; Javier Zapata, Jr., in his individual capacity;

William Fielder, in his individual capacity; Richard Culp, in his individual capacity; John

Chris Hooper, Nueces County Sheriff, in his individual capacity, Wellpath LLC, formerly

known as Correct Care Solutions, LLC; Tera Peeler, in her individual capacity; Edra

Bocanegra, in her individual capacity; Randee Roberson, in her individual capacity; and

Stacey Dawn Flint, in her individual capacity, if he prevails in his claims under §1983.

                                       Jury Trial Requested

       334. Plaintiff requests a trial by jury.

                                            Prayer

       335. WHEREFORE, Plaintiff prays that the Court enter judgment in his favor and

against Defendants, jointly and severally, and award Plaintiff the following:

       a. Survival damages: As a direct and proximate result of Defendants’ violations, and

each of them, Mr. Johnson suffered severe and permanent injuries and damages, severe

shock, extreme and excruciating physical pain and mental suffering, including fear of

impending death, conscious pre-death fear and apprehension of impending death, loss of

enjoyment of life, aggravation, inconvenience, humiliation, shame, shock, funeral and

burial expenses and loss of income and earnings up and until the time of his death.


                                              147
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 148 of 149




      b. Wrongful death damages: As a direct and proximate result of Defendants’

violations, and each of them, Mr. Longoria has been deprived of the services, comfort of

his society and companionship as well as other pleasures and rights that have pecuniary

value, which attend to immediate family relationships.

      c. Punitive and/or exemplary damages as allowed by law;

      d. Prejudgment interest as allowed by law;

      e. Post-judgment interest as allowed by law;

      f. Plaintiffs are entitled to and seek an award of attorney fees and costs under 42

U.S.C. §1988(b).

      g. All relief as allowed under the Americans with Disabilities Act;

      h. Attorney’s fees as allowed under the Americans with Disabilities Act;

      i. Court costs and expenses as allowed by law;

      j. Such other legal or equitable relief ultimately justified by the proof of this case.

                                                   Respectfully submitted,

                                                   /s/ Robert J. Sigler
                                          By:
                                                   Robert J. Sigler
                                                   Texas State Bar No. 18347750
                                                   BANDAS LAW FIRM, P.C.
                                                   802 N. Carancahua St., Suite 1400
                                                   Corpus Christi, Texas 78401-0353
                                                   Telephone: (361) 698-5200
                                                   Facsimile: (361) 698-5222
                                                   E-mail: rsigler@bandaslawfirm.com
                                                   Attorney for Plaintiff




                                             148
   Case 2:20-cv-00263 Document 1 Filed on 10/27/20 in TXSD Page 149 of 149




OF COUNSEL:

Gay Gilson
Law Office of Gay E. Gilson
5525 S. Staples, Suite B3
Corpus Christi, Texas 78411
TEL 361-887-0552
FAX 361-887-0554
Email: gegilson@gilsonlaw.com




                                     149
